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 Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                                (Consolidated)

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                        ––––––––––––––––––––
ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE COVERED
     PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2,
 A LAW ENFORCEMENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY;
              JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                                  PLAINTIFFS-APPELLEES,
                                  v.
                          WE INFORM LLC, ET AL.
                                                    DEFENDANTS-APPELLANTS.

 On Appeal from the Order and Memorandum of the United States District Court
            for the District of New Jersey dated November 26, 2024

                            JOINT APPENDIX
                              Volume 3 of 4
                          (JA482 through JA820)
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Scott Maloney, Justyna Maloney, Patrick
Colligan, Peter Andreyev and William
Sullivan




ATLAS DATA PRIVACY CORPORATION,                    SUPERIOR COURT OF NEW JERSEY
as assignee ofindividuals who are Covered          LAW DIVISION, BERGEN COUNTY
Persons, JANE DOE-1, a law enforcement             DOCKET NO.: BER-L-_______ -24
officer, JANE DOE-2, a law enforcement
officer, EDWIN MALDONADO, SCOTT                                 CIVIL ACTION
MALONEY, JUSTYNA MALONEY,
PATRICK COLLIGAN, PETER
ANDREYEV, and WILLIAM SULLIVAN,                                  COMPLAINT

              Plaintiffs,
       v.

Z1LLOW, INC., ZILLOW GROUP, INC.,
RICHARD ROES           fictitious names of
unknown individuals and ABC COMPANIES
     fictitious names of unknown entities,

              Defendants.



      Plaintiffs Atlas Data Privacy Corporation (“Atlas’’) as the assignee of individuals who are

Covered Persons under Daniel’s Law along with Jane Doe-1 (a law enforcement officer), Jane

Doe-2 (a law enforcement officer), Edwin Maldonado. Scott Maloney, Justyna Maloney, Patrick



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Colligan. Peter Andreyev, and William Sullivan (collectively, ‘‘Plaintiffs”), by and through their

undersigned counsel, hereby submit this Complaint against Defendants and state as follows:

                                        INTRODUCTION
        1.     In these tumultuous times, it is critical thstt the most sensitive personal information

of those who serve the public be protected from unwarranted disclosure. As set forth below,

Daniel’s Law was passed unanimously by our Legislature to provide judges, law enforcement

officers, and prosecutors - and their families - with the right to prevent the disclosure of their

home addresses and unpublished home telephone numbers, and to enforce those rights against

uncooperative profit-seeking data brokers.

        2.     This complaint seeks to protect those important rights, against companies brokering

data and choosing profit and personal gain over a critical public interest and the unequivocal

mandate of the law. Companies in the business of disclosing this protected information have

avoided accountability for far too long, proffering such information, including home addresses and

unpublished home telephone numbers, without sufficient regard for the risks and consequences

imposed upon individuals who serve critical judicial and law enforcement roles.

        3.     The Legislature and Governor unanimously agree that the basic safety of those who

serve - and their families - must be assured. Here, not only do the data brokers wantonly and

repeatedly disregard the law, but they also demonstrate a callousness towards the well-being of

those who serve. Our judges, law enforcement officers and prosecutors should receive the full

measure of protection afforded to them under the same laws they enforce for the safety of all

citizens.

        4.     With this action. Plaintiffs seek to enforce the important rights granted to judges,

law enforcement officers, and prosecutors under Daniel’s Law. Consistent with the staftitory

provisions, Atlas brings this action as an assignee for certain individuals, including many family

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members of law enforcement officers and prosecutors. Plaintiffs seek all available injunctive relief

and statutory damages, including to prevent any further disclosure by Defendants of information

in violation of Daniel’s Law.

                                          BACKGROUND

          Passage of Daniefs Law in New Jersey

          5.    In July 2020, Daniel Anderl, the son of a New Jersey federal Judge, was shot dead

by a gunman posing as a FedEx delivery man at the front door of the family's New Jersey home.

Daniel, who was just age 20 and a rising junior in college, and who aspired to practice law like his

parents, took a bullet to his chest trying to protect his parents. By the time his mother, a Judge,

came to the door to check on what happened, the killer was gone. But her husband was critically

wounded, and Daniel tragically died from the gunshot.

          6.    During the investigation, the perpetrator was found to have certain political and

personal grievances against the Judge, and went to their home that day intending to kill her.

Instead, he murdered the Judge’s son and almost succeeded in killing her husband as well.

Investigators eventually connected this attack with another shooting of an attorney in California,

who was similarly mortally gunned down answering the door to his residence to pick up a supposed

package from the same disguised gunman. Authorities concluded that the shooter was disgruntled

over certain legal cases with similar political and legal issues to what was pending before Daniel’s

mother.

          7.    Critically, the gunman was able to find the home addresses of both of his murder

victims through the various people finder resources available on the internet.1 the same kind of

data broker services at issue in this case.



1 https://www.cbsnews.com/news/esther-salas-son-murder-rov-den-hollander-48-hours/. .*

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        New Jersey Passes DaniePs Law in 2020

        8.      In response to the shooting of Daniel. New Jersey enacted Daniel’s Law within a

few months, in November 2020 (P.L. 2020, c. 125 codified in N.J.S.A- 47:1 A-l, et seq. and N.J.S.A

56:8-166.1), which prohibits online data brokers from selling, publishing, and distributing, the

name and address of current and former judges, law enforcement officers, and prosecutors and

their eligible family members (i.e., “covered persons”), upon any written request by the covered

person. Law enforcement personnel are expressly covered by the statute, in full recognition that

the public service they provide is no less dangerous or important than those of Judges and

prosecutors.

        9.      Any such covered person may request that a data broker not “disclose or re-disclose

on the Internet or otherwise make available" their home addresses or unpublished home telephone

numbers. Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade,

mail, deliver, transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise,

or offer, and shall include making available or viewable within a searchable list or database,

regardless of whether a search of such list or database is actually performed." Data brokers must

cease disclosure of this protected information within 10 business days of receiving a nondisclosure

request from a covered person.

        Congress Passes Daniel Anderl Judicial Security and Privacy Act in 2022

        10.     Similar to the actions taken by the State of New Jersey, federal judges such as U.S.

Supreme Court Chief Justice John G. Roberts Jr. proposed and supported a federal version of

Daniel’s Law. The Chief Justice was quoted stating, “[t]he law requires every judge to swear an




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oath to perform his or her work without fear or favor, but we must support judges by ensuring their

safety ... [a] judicial system cannot and should not live in fear.”2 *

        11.     The federal bill, which had broad bipartisan support in both the House and Senate,

protected judges’ personally identifiable information from resale by data brokers.         It allowed

federal judges to redact their personal information displayed on federal government internet sites.
                                                           I


        12.     The U.S. Senate voted 83-11 to pass the annual defense authorization bill, with the

Daniel Anderl Judicial Security and Privacy Act attached,-’ and it was signed by President Biden.4

        Violence Against Police Officers and Judges Has Not Stopped

        13.    Judges, law enforcement officers, and prosecutors put their lives on the line every

day, which is clearly exhibited by numerous horrific stories of violence beyond the story of the
                                                       <•
murder of Daniel Anderl. For example, in 2020, three shooters openly fired upon the Camden
                                                   «.
home of two New Jersey police officers and their 10-day old infant. That the officers were

constantly involved in the community doing good afforded them no safety from the perpetrators.5

        14.    More recently, another perpetrator hunted and killed in cold blood a Maryland

Judge, after a child custody ruling.6 The killing followed that of a Wisconsin Judge in 2022, where

the perpetrator killed the retired Judge out of spite for his handling of a criminal case in 2005.7




2 https://www.washin;’tonpost.com/politics/2022/12/31/sunreme-court-roberts-leak-report /.
J https:/A¥ww.uscourts.gov/news/2022/12/16/congress-passes-daniel-anderl-iudicial-security-
and-privacy-act.
4 https://www.ni.com/politics/2022/12/biden-signs-defense-policv-bill-that-remembers-3-new-
iersevans.html.
5 Shooters Open Fire On Home Of New Jersey Police Officers In 'Targeted Attack." Chief Says
(forbes.com).
6 Judge Andrew Wilkinson: Suspect still on the run after killing a judge at his home in a 'targeted
attack' following a child custody ruling, sheriff says I CNN.
7 Former Judge John Roemer was killed in his Wisconsin home in a targeted attack, officials say I
CNN.                                                      f

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                                                                                  V




                                         THE PARTIES
                                         --------------------
       The Individual Plaintiffs
                                                                                      1


       15.     Plaintiff JANE DOE-1, whose name has been anonymized for safety reasons, is a

decorated veteran police officer working in Northern New Jersey. Between 2021 and 2022, Officer

Doe-1 participated in a task force that targeted a major criminal organization operating in the

state. Her efforts ultimately led to the arrest and prosecution of a member of the organization’s

leadership, an individual with an extensive criminal history including threats of violence. In the
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subsequent investigation, digital devices recovered from the organization’s leadership were

analyzed and photographs of Officer Doe-l’s personal residence were identified. Officer Doe-1

lives in the home with her spouse and their young child. Evidence recovered in the investigation

included night-time photography of the young child’s bedroom and playroom windows, with the

light on while the child was playing inside. Further investigation revealed that the criminal

organization’s leadership had hired a private investigator who searched online data broker websites

to obtain the officer’s home address. Having identified her home address, text messages confirmed

that they had initiated surveillance and were tracking Officer Doe-1 ’s movements to and from her

home, immediately prior to the task force initiating arrests.

        16.    Plaintiff JANE DOE-2, whose name has been anonymized for safety reasons, is a

veteran correctional police officer who lives in Northern New Jersey with her husband and two

young children. Earlier in her career. Officer Doe-2 was the subject of a death threat from a hostile

inmate. The inmate stated that they intended to kill Officer Doe-2, and further implied that they

would rely upon a particular private investigator to track down Officer Doe-2’s home address to

facilitate the murder. This death threat was investigated and considered credible enough to result

in a successful criminal prosecution. Part of Officer Doe-2’s current duties include working in her



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correctional facility’s law library, where inmates have access to the Internet including online data

broker websites and services. Recently Officer Doe-2 and her coworkers discovered a note left

behind by an inmate which included the full name and home address of a young female member

of the jail’s administrative staff. The most effective ways to safeguard the security and privacy of

their home addresses - for their own safety and that of their family members - is a frequent topic

of discussion and concern among the correctional police officers working at Officer Doe-2’s

facility.

            17.   Plaintiff Officer EDWIN MALDONADO joined the Plainfield, New Jersey police

department as a patrol officer in 2000. After a few months on the job, he was assigned to street

crimes, where he excelled at field work. In 2005, he became a Detective with Plainfield’s major

crimes unit and joined a Federal task force targeting the Mara Salvatrucha-13 (MS-13) gang in

New Jersey. He worked with the task force for the next two years. During that time period, he

received multiple credible death threats from MS-13 members. Detective Maldonado did not

believe he would be able to safeguard his home address while living in Plainfield and relocated his

family to a remote location from which he commuted to work. In 2009, because his relocation

effort had been successful and MS-13 could not locate his new home address, gang members

targeted Detective Maldonado’s mother instead. They intended to burn down her building with

her inside, but set fire to an adjacent building by mistake. Phone calls between MS-13 members

discussing the premeditated murder of Detective Maldonado and his family, and the premeditated

murder of Detective Maldonado’s mother, were intercepted by jail wiretaps. Later in multiple

criminal trials, evidence was entered into the record regarding these intercepted conversations and

premeditated murders, contributing to numerous successful prosecutions.




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        18.     Plaintiffs Sergeant SCOTT MALONEY (“Sergeant Maloney”) and Officer

JUSTYNA MALONEY (“Officer Maloney”) are husband and wife, both veteran police officers

currently serving with the Rahway, New Jersey Police Department. They live together in New

Jersey with their two young children. In April of 2023% Officer Maloney responded to a routine

call of a suspicious individual outside the Motor Vehicle Commission in Rahway. The individual
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was an online content creator who often solicits police contact and then films himself debating

constitutional rights with the responding officers. A subset of the content creator’s audience is

vocally anti-police and videos posted to his social media channel have historically been the source

of harassment and intimidation campaigns directed at the officers involved. In this case. Officer

Maloney and several other responding officers were filmed discussing a number of legal issues

with the content creator, including whether or not the content creator was required to take his hands

out of his pockets to show that he was unarmed. Overall, -the encounter was routine and ended

uneventfully.

        19.     The resulting video footage was selectively edited and posted to YouTube. Almost

immediately upon the video being posted. Officer Maloney was targeted by followers of the

channel and other individuals who viewed the video. Sergeant Maloney was quickly identified by
                                                         f


viewers as Officer Maloney’s husband, and became a target himself, due to their relationship as a
                                                                                          «
married couple and his own status as a police officer. Web links to dat& broker websites publicly

disclosing the Maloney family’s home address and unpublished home telephone numbers were

posted along with explicit death threats and calls for violence, resulting in dozens of threatening

phone calls and text messages.

       20.      One of the text messages sent to Sergeant Maloney demanded money and stated

that if Sergeant Maloney did not comply then his family would “pay in blood.” The unknown



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messenger went on to state that they knew where the Maloneys lived and sent the full name and

home address of one of the Maloneys’ nearby relatives as proof of the messenger’s ability to gather

sensitive personal information. Sergeant Maloney refused to comply with any demands. He then

received a video of three individuals in ski masks armed with handguns and assault rifles repeating

the extortion demand. In part of the video, a masked individual points a rifle at the camera and

tells Sergeant Maloney that his family is “going to get [their] heads cut off.”

       21.     Several weeks later, one of the Maloneys’ neighbors observed two suspicious

looking individuals in ski masks parked one block away from the home and alerted police.

Responding officers arrested two men - who were armed - for unlawful possession of a firearm.

Video surveillance captured by nearby houses shows the two men circling the Maloneys’ house

immediately prior to their arrest. Officer Maloney and her two young children were at home at

the time.                                                 '

       22.     Plaintiff Detective PATRICK COLLIGAN is a 32-year veteran of the Franklin

Township police department in Somerset, New Jersey. Since 2014, Detective Colligan has served

as the President of the New Jersey State Policemen’s Benevolent Association, representing more

than 33,000 active law enforcement officers throughout the state. During the course of his law

enforcement career, he has received numerous threats .of violence targeted at him and his family

as a result of his public service. The seriousness of certain threats necessitated the installation of

a surveillance camera system and alarm system, and training for his spouse and children about

how to respond in the event of an attack on their home.

       23.     Plaintiff Officer PETER ANDREYEV is a 32-year veteran of the Point Pleasant,

New Jersey police department.       Officer Andreyev currently services as the Executive Vice

President of the New Jersey State Policemen’s Benevolent Association, representing more than



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33,000 active law enforcement officers throughout the state.       During the course of his law

enforcement career, he has received numerous threats of violence* targeted at him and his family

as a result of his public service. Officer Andreyev has counseled many other officers who have

been the target of violent threats on ways to protect themselves and their family members from

harm, whose protected information has been discovered and has responded to specific incidents

where protected information was used by ex-inmates to threaten, harass, or intimidate fellow

officers.

        24.    Plaintiff Officer WILLIAM SULLIVAN is an 18-year veteran of the New Jersey

Department of Corrections. Since 2020, Officer Sullivan has served as the President ofNew Jersey

PBA Local 105, the labor union representing thousands of correctional police officers from the

New Jersey Department of Corrections, the Juvenile Justice Commission, and State Parole. During

the course of his law enforcement career, he has received numerous threats of violence directed at

him and his family as a result of his public service. Inmates incarcerated within New Jersey’s state

prisons frequently attempt to discover the protected information of correctional officers working

in their facility. These attempts and the risks posed by such information being accessible on the

Internet is a frequent topic of discussion and concern among correctional officers and their family

members. Officer Sullivan has counseled many officers whose protected information has been

discovered and has responded to specific incidents where protected information was used by ex­

inmates to threaten, harass, or intimidate fellow officers.

        PlaintiffAtlas and its Assignors

        25.    Plaintiff ATLAS DATA PRIVACY CORPORATION is a Delaware corporation,

with offices at 201 Montgomery Street, Suite 263, Jersey City, New Jersey 07302.




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       26.     As permitted under Daniel's Law, Atlas asserts claims against Defendants as the

assignee of the claims of approximately 14,476 individuals who are all "‘covered persons” under

Daniel’s Law (together, the “Covered Persons”), including a significant number of individuals who

are family members ofjudges, law enforcement officers, and prosecutors.

       27.     The Covered Persons include individuals who reside, work or had previously
                                                               A

resided or worked in New Jersey, and qualify as “covered persons” as that term is defined under

Daniel’s Law, each of whom have claims against Defendants for failing to comply with Daniel’s

Law.

       28.     As set forth in more detail below, the Covered Persons (as well as the Individual

Plaintiffs) each exercised their rights under Daniel’s Law by sending Defendants a written notice

requesting that Defendants cease disclosing or re-disclosing on the Internet or otherwise making

available their protected information on one or more of Defendants’ websites or through other

methods of disclosure.

       29.     Defendants have not responded to these notices and, upon information and belief,

have not complied with the law by ceasing the disclosure or re-disclosure on the Internet or the

otherwise making available of protected information as required under Daniel’s Law for each of

the Covered Persons (as well as each of the Individual Plaintiffs) as required by the law.

       30.     In accordance with Daniel’s Law, each of the Covered Persons has assigned their

rights for claims thereunder against Defendants to Atlas.

       31.     Atlas provides an online platform, including an email service named AtlasMa>T t0

law enforcement officers, prosecutors, judges, and other covered persons. Atlas works with and

provides access to its platform to members of the New Jersey State Policemen’s Benevolent

Association, the Metropolitan Transportation Authority Police Benevolent Association, New



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Jersey PBA Local 105, and the New Jersey State Troopers Fraternal Association, among others.

The goal of these unions and associations, since the first passage of Daniel’s Law in November

2020, was to increase the safety and well-being of their members and associated households by

helping those members to understand and assert the rights provided to them by the law.

       32.          Upon signing up for Atlas, a law enforcement officer or other Covered Person is
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asked a series of questions to collect required personal information and qualify their eligibility as

a covered person under Daniel’s Law. Once eligibility is confirmed, they are shown a page

explaining how the Atlas platform works:



                                          How Atlas Works
              Daniel's Law allows you to send takedown notices to data brokers requesting that
              they not disclose or redisclose your home address or phone number. Atlas
              provides you with tools and services to help make the process more^efhcient.


                1     We identify data brokers that may be disclosing your personal         c
                      information. As of January 2024, our system tracks over 1,000 data
                      brokers who operate in the United States.

                2     You select the data brokers to whom you want to send takedown
                      notices. We have lists of data brokers that we recommend, in order to
                      make the selection process easier and more'efficient. Alternatively, you
                      can select recipients individually

                3     You review takedown notice templates. AtlasMail provides you with
                      templates for takedown notice emails.                   .                  *•

                      You send takedown notices. Your Atlas service includes an AtlasMail email
                      address. You can use this email address to send takedowij notices. More
                      information about AtlasMail will be on the next screen.



                    Back                                                                 Next


        33.         AtlasMail is an email service operated by Atlas. Upon signing up with Atlas, each

law enforcement officer or other Covered Person receives their own AtlasMail account, with a

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unique inbox address (e.g. iohn.doe23@,at]asmail.com) for their personal use. A description of

AtlasMail and more information about how the email service works are provided on a page during

the signup process:



                               How AtlasMail Works
         Daniel's Law allows you to send takedown notices to data brokers requesting that
         they not disclose or redisdose your sensitive personal information.

         Atlas has created an email service, called AtlasMail, for its members to use for
         this purpose.


               Upon completing this signup process, a new email account will be created
               for your personal use. It will be:
               john.doe23@atlasmail.com

               You can access this email account from within the Atlas web application.

               This email account belongs to you and you can use it however you want,
               within certain anti-spam and similar limitations imposed by qur terms of
               service.



              Back                                                                 Next



       34.    Having provided personal information, confirmed their eligibility for Daniel’s Law,

and progressed through several pages explaining the functions of Atlas as a platform and AtlasMail

as an email service, the law enforcement officer or other Covered Person is then presented with a

page on which they can review their home addresses and unpublished home telephone numbers, a

takedown notice template, and a recommended list of data brokers to send notices to. On this page
                                                             I
the law enforcement officer or other Covered Person can choose whether or not to send
                                                                                    ’f takedown

notices. If they choose not to send takedown notices to the recommended list, they can select




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individual recipients at a later page (as shown in the example copied below). Here, each of the

Individual Plaintiffs and Covered Persons sent Defendants a takedown notice.


        Data Brokers Included                                                                               Se ecc al.



                 People Data Labs (pcoplcdatalaDs.com)



                 People Finder Free (Peoplefinderfree.com)                                                    s

                 People Finders ipeopiefinderscom)                                                            □

                 People Looker lpeoplelooker.com)                                                                □

                 People Search lpuoplcsearch.com)                                                                ea

                 People.ai (people.ai)



                 Peoplebackgroundcheck {peoplc-background-check.com)                                             s

                                                                                             Cancel       Save


                      By selecting the personal information and data Crokers aboee and click^g ' Sand
                      Takedowns’ below, you w-H oe sending a large volume of takedown notices from your
                      AtlasMail email address john.doe23@atlasmad.com




       35.       Any reply or response back from a data broker to the law enforcement officer or

other Covered Person is received and displayed in their AtlasMail irib^x. AtlasMail is a fully

featured email service provider, and its users can reply, forward, or use their AtlasMail account as

they would any other email account:




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AtlasMail                                                                                                       Compose


 Q          -



 = ALL MAIL             Q              >■ -jL?ji       ■< ASSIGNMf.: i UNI Il'MAH'/r;..



 John Doe                               Data Subject Request - Redaction/nonoiseiosure Request       11:40 PM
                                                                                     i

 John Doe                               Data Subject Request - Redactionfnondisclosure Request       11:39 PM


 John Doe                               Data Subject Request - Redaetlon/nondisclosure Request      11:39 PM


 John Doe                               Data Subject Request - Redactlonfnondisciosure Request      B:29 PM


 John Doe                              Data subject Request - Redactionftiondisclosure Request      6:29 PM


 John Doe                              Data Subject Request - Redaction/nondisctosure Request       8:29 PM


 John Doe                              Data Subject Request - Redaetlonfnondtsctosure Request       Jan 3


 John Doe                              Data Subject Request - Redaction/nondisclosure Request       Jan 3


 John Doe                              Data Subject Request • Redactiontoondtsclosure Request       Jan 3


 John Doe                              Data Subject Request - Redaction/nondisciosure Request       Jan 3


       i        _   i       ..   -         lo      >




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                                                           JA524
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   Redaction/Nondisclosure Request Confirmation
   To                   jcnn ao<223(a)atl3srna;!.com
    From                privacy@examp|0d3tabroker.com
   Data                 Fn, ;an 26. 202£.8J4 PM




   Dear John.



    Thank you ror your redsction/nondisclcsure request pursuant New jersey iaw P.l 2023. c ' 13. P.L.2O21. c.3?l (as
   amended, the Act") and Section 3 of New Jersey PL.2015, c 226 (0.56.8-166 1) (as amended Chapter 226'). We
   are writing to confirm that Example Data Broker Inc. will honor your request as 'equ.'ed Cv the Act and Chapter
    226.



   Sincerely


    Example Data Broker Inc




                                                                                               Reply       Forward




           36.    With this lawsuit, Atlas seeks to enforce compliance with Daniel’s Law for those

Covered Persons. This lawsuit seeks to protect their privacy without unnecessarily putting those

individuals in the spotlight. Atlas will work with the Court and Defendants to implement a

protective order to then provide Defendants with the assignments and other information for each

of the Covered Persons.

           Defendants

           37.    Defendant Zillow, Inc. is an entity that discloses or re-discloses on the Internet or

otherwise makes available the home addresses and/or unpublished home telephone'Qumbers of

covered persons.




                                                           16




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       38.     Defendant Zillow Group, Inc. is an entity that discloses or re-discloses on the

Internet or otherwise makes available the home addresses and/or unpublished home telephone

numbers of covered persons.

       39.     Defendants Richard Roes 1-10 and ABC Companies 1-10 (collectively with the

defendants identified above referred to as the ‘'Defendants”) are fictitious names of currently

unknown individuals/entities that were also involved with the violations described in this

Complaint who have not yet been identified in part due to what appears to be intentional efforts

by data brokers to conceal the specific entities involved and responsible for the disclosure of data

and information, and individuals responsible for Defendants failures to comply with the law.

       40.     Defendants offer and engage in the disclosure of data and information through one
                                                                                          ♦
or more websites or applications, or otherwise in New Jersey, and to businesses and individuals

who operate or reside in New Jersey. Those websites include:

       zillow.com

       zillowgroup.com

       41.     In accordance with Defendants’ business model, visitors, users, or customers may

obtain a name and home address and/or a name and unpublished home telephone number

(including the name and address and/or unpublished home telephone number of the Individual

Plaintiffs and Covered Persons).

       42.     Daniel’s Law was passed to protect those who serve from the disclosure of this

protected information by such services, which disclose such information of the Individual

Plaintiffs and Covered Persons for their own commercial interests, without sufficient regard to the

risks and consequences imposed on individuals.




                                                 17




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                                 JURISDICTION AND VENUE

       43.     This Court has jurisdiction because the parties reside and/or conduct business in

New Jersey, along with the Covered Persons, and the unlawful actions complained of herein

occurred in New Jersey.

       44.     Venue is proper pursuant to R. 4:3-2, in that Bergen County is the county in which

one or more of the parties and/or Covered Persons reside and/or conduct business. In addition,

many of the events giving rise to this action occurred in this County.

                             FACTS COMMON TO ALL COUNTS

       45.     As set forth above. New Jersey enacted Daniel's Law in November 2020 (P.L. 2020,

c, 125 codified as N.J.S.A. 47:1 A-l, et seq. and N.J.S.A. 56:8-166.1).

       46.     Daniel’s Law prohibits data brokers from disclosing or re-disclosing on the Internet

or otherwise making available the home addresses or unpublished home telephone numbers of

covered persons as defined in the law, upon a written request by those individuals.

       47.      Upon notification, and no later than 10 business days after receipt, a data broker

must not disclose or re-disclose on the Internet or otherwise make available the home addresses or

unpublished home telephone numbers of the covered person.

       48.     This includes a mandate that within 10 business days of receiving a nondisclosure

request, the data broker shall not disclose the protected information of the covered person.

Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade, mail, deliver,

transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise, or offer, and

shall include making available or viewable within a searchable list or database, regardless of

whether a search of such list or database is actually performed.”




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       49.      Daniel’s Law was amended in 2023, as P.L. 2023, c. 113. The amendment was

passed unanimously by the Assembly on May 25, 2023, by the Senate on June 20, 2023, and was
                                                         1
thereafter signed by the Governor on July 20,2023.

       50.     Certain provisions of the amended law, including changes to N.J.S.A. 56:8-166.1,

went into effect immediately.

       51.     As of July 20,2023, Daniel’s Law as codified in N.J.S.A. 56:8-166.1 provided:8


               3.a. (1) Upon notification pursuant to paragraph (2) of this subsection, and
               not later than 10 business days following receipt thereof, a person, business,
               or association shall not disclose or redisclose on the Internet or otherwise
               make available, the home address or unpublished home telephone number
               of any covered person, as defined in subsection d. of this section.
               b. A person, business, or association that violates subsection a. of this
               section shall be liable to the covered person, or the covered person’s
               assignee, who may bring a civil action in the Superior Court.
               c. The court shall award:
                   (1) actual damages, but not less than liquidated damages computed
                   at the rate of $1,000 for each violation of this act;

                   (2) punitive damages upon proof of willful or reckless disregard of
                   the law;
                   (3) reasonable attorney’s fees and other litigation costs reasonably
                   incurred; and
                   (4) any other preliminary and equitable reliefas the court determines
                   to be appropriate.
                                                                                                 «
               d. For the purposes of this section:
                   ...“Disclose” shall mean to solicit, sell, manufacture, give, provide,
                   lend, trade, mail, deliver, transfer, post, publish, distribute, circulate,
                   disseminate, present, exhibit, advertise or offer^and shall include
                   making available or viewable within a searchable list or database,
                   regardless of whether a search of such list or database is actually
                   performed.”




8 https://pub.nileg. state.ni.us/Bills/2022/PL23/l 13 .PDF

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         52.       Starting on or about December 31,2023, each of the Individual Plaintiffs and all of

the Covered Persons (who assigned claims to Atlas) sent Defendants written nondisclosure

requests (via email) in accordance with Daniel’s Law, using AtlasMail.

         53.       For example, a true and correct copy of the email directly from Plaintiff Andreyev
                                                                                       *
(with personal information redacted) is pasted here:


     Data Subject Request - Redaction/nondisclosure Request
    To
    From
    Date


    Zillow
    January 1. 202t


    To Wham It May Concern:


    l am a "Covered Person" as defined by Now Jersey law P L. 2023, c.113, P.L.2021, c.37l (as amended, the "Act ').
    Pursuant to the Act and Section 3 of New Jersey P.L.2O15, c.226 (C.56:8-166.1) (as amended). I hereby request
    that you not disclose or re-disdose on the Internet or otherwise make available, the following protected
    information:


    Name: Peter Andreyev


    Home Address:


    Sincerely,
    Peter Andreyev




         54.       Defendants failed to respond to these notices and, upon information and belief,

cease the disclosure or re-disclosure on the Internet or the otherwise making available of the

protected information of the Individuals Plaintiffs and Covered Persons within the time period

required by Daniel’s Law.

         55.       All of the Covered Persons who sent their nondisclosure requests to Defendants

(not including the Individual Plaintiffs) have assigned their claims against Defendants to Atlas.



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        56.    The Individual Plaintiffs and Atlas hereby assert claims against Defendants based
                                                                 *


on their violation of Daniel’s Law and continuing refusal to comply with that law.

                                          COUNT ONE

                                          (Daniel’s Law)

        57.    The allegations of the Complaint set forth above are included herein as if set forth

at length.
                                                                                    *
        58.    The Individual Plaintiffs and Covered Persons transmitted notice in writing to

Defendants requesting that Defendants cease disclosure of their home address and/or unpublished

home telephone number and cease its disclosure or re-disclosure on the Internet or wherever

Defendants otherwise made it available.

        59.    Defendants had an obligation under Daniel’s Law to comply with the request within

ten (10) business days.

        60.    As of the date of this filing, upon information and belief. Defendants still refuse to

comply with Daniel’s Law. Upon information and belief, the protected information (including

home addresses and/or unpublished home telephone numbers) of the Individual Plaintiffs and the

Covered Persons remains “available or viewable within a searchable list or database” or otherwise

made available.

        61.    Upon information and belief. Defendants did not cease the disclosure or re­

disclosure on the Internet or the otherwise making available of information as required under

Daniel’s Law, and their failure in doing so each constitute a separate violation under the law.

        62.    As a result of Defendants’ failures to comply with Daniel’s Law, Plaintiffs have

suffered damages, and request all available relief.

WHEREFORE, Plaintiffs request that Judgment be entered against Defendants as follows:



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A. Ordering that Defendants immediately comply with Daniel’s Law, and cease the

   disclosure of the Individuals Plaintiffs’ and the Covered Persons’ names, home

   addresses, and unpublished home telephone numbers wherever disclosed or re­

   disclosed on the Internet or otherwise made available;

B. Awarding actual damages, not less than liquidated damages under Daniel’s Law. at
                                                    I

   •‘$1,000 for each violation”;

C. Awarding an additional amount in punitive damages, to be determined by the Court,

   for “willful noncompliance” as allowed under Daniel’s Law;

D. Awarding reasonable attorneys’ fees, interest (pre and post judgment) and litigation

   costs incurred;

E. Ordering injunctive relief requiring that Defendants comply with Daniel’s Law, and

   remove the Individual Plaintiffs’ and the Covered Persons’ protected information

   wherever disclosed;

F. Entering equitable or other permanent injunctive relief requiring Defendants to

   comply with Daniel's law, including the appointment of a qualified independent

   expert to ensure that Defendants prospectively maintain compliance with Daniel's

   Law; and

G. Awarding such other and further relief against Defendants as the Court deems *

   equitable and just.




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                                                       Respectfully Submitted,

                                                       GENOVA BURNS LLC

 Dated: February 8, 2024                                3y:/s/ Rajiv D. Parikh

                                                       Rajiv D. Parikh
                                                       Kathleen Barnett Einhorn
                                                       494 Broad Street
                                                       Newark', New Jersey 07102
                                                       Tel:J973) 533-0777
                                                       Attorneysfor Plaintiffs


                                                       MORGAN & MORGAN COMPLEX
                                                       LITIGATION GROUP
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                                                       Tampa, FL 33602
                                                       Tel.: (813) 223-5505
                                                       jyanchunis@ForThePeople. com
                                                       rmcgee@ForThePeople.com

                                                       (pro hac vice motions to befiled)




                         DESIGNATION OF TRIAL COUNSEL

       The Court is advised that pursuant to New Jersey Court Rules 4:5-1 (c) and 4:25-4, Rajiv

D. Parikh, Esq. is hereby designated as trial counsel for Plaintiffs in this matter.




                                                        GENOVA BURNS LLC

 Dated: February 8,2024                                 By:/.y/ Rajiv D. Parikh

                                                        Rajiv D. Parikh, Esq.




                                                  23




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                   CERTIFICATION PURSUANT TO RULE 4:5-1

       Pursuant to R, 4:5-1, it is hereby stated that the matter in controversy between the parties

hereto is not the subject of any other action pending in any other Court or of a pending arbifration

proceeding to the best of my knowledge and belief. Also, to the best of my knowledge and belief,

no other action or arbitration proceeding between the parlies hereto is contemplated. Further, other

than the parties set forth in this pleading and the previous pleadings, if any, at the present time we

know of no other parties that should be joined in the within action.

                                                        GENOVA BURNS LLC

 Dated: February 8, 2024                               Qy./s/ Rajiv D. Parikh

                                                        Rajiv D. Parikh, Esq.



                 CERTIFICATION PURSUANT TO RULE l:38-7(b)

       Pursuant to Rule 1:38-7(b), it is hereby stated that all confidential personal identifiers have

been redacted from documents now submitted to the Court and will be redacted from all documents

submitted in the future.


                                                       GENOVA BURNS LLC

 Dated: February 8, 2024                               By:A7 Rajiv D. Parikh

                                                       Rajiv D. Parikh, Esq.




                                                                                                I




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 GENOVA BURNS LLC                                   MORGAN & MORGAN
 Rajiv D. Parikh (032462005)                        John A. Yanchunis (pro hac vice to be filed)
 Kathleen Barnett Einhorn (040161992)               201 N. Franklin Street, 7th Floor
 494 Broad Street                                   Tampa, FL 33602
 Newark, New Jersey 07102                           Tel.: (813) 223-5505
 Tel.: (973) 533-0777                               jyanchunis@forthepeople.com
 rparikh@genovaburns.com
 keinhorn@genovaburns.com

 Attorneys for Plaintiffs Atlas Data Privacy
 Corporation, Jane Doe-1, a law
 enforcement officer, Jane Doe-2, a law
 enforcement officer, Patrick Colligan, and
 Peter Andreyev



 ATLAS DATA PRIVACY CORPORATION, SUPERIOR COURT OF NEW JERSEY
 as assignee of individuals who are Covered LAW DIVISION, MIDDLESEX COUNTY
 Persons, JANE DOE-1, a law enforcement     DOCKET NO.: MID-L-_______-24
 officer, JANE DOE-2, a law enforcement
 officer, PATRICK COLLIGAN, and PETER                 CIVIL ACTION
 ANDREYEV,

                Plaintiffs,                                       COMPLAINT
        v.

 DM GROUP, INC, RICHARD ROES 1-10,
 fictitious names of unknown individuals and
 ABC COMPANIES 1-10, fictitious names of
 unknown entities,

                Defendants.



       Plaintiffs Atlas Data Privacy Corporation (“Atlas”) as the assignee of individuals who are

Covered Persons under Daniel’s Law along with Jane Doe-1 (a law enforcement officer), Jane

Doe-2 (a law enforcement officer), Patrick Colligan, and Peter Andreyev (collectively,

“Plaintiffs”), by and through their undersigned counsel, hereby submit this Complaint against

Defendants and state as follows:



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                                       INTRODUCTION
        1.     In these tumultuous times, it is critical that the most sensitive personal information

of those who serve the public be protected from unwarranted disclosure. As set forth below,

Daniel’s Law was passed unanimously by our Legislature to provide judges, law enforcement

officers, and prosecutors – and their families – with the right to prevent the disclosure of their

home addresses and unpublished home telephone numbers, and to enforce those rights against

uncooperative profit-seeking data brokers.

        2.     This complaint seeks to protect those important rights, against companies brokering

data and choosing profit and personal gain over a critical public interest and the unequivocal

mandate of the law. Companies in the business of disclosing this protected information have

avoided accountability for far too long, proffering such information, including home addresses and

unpublished home telephone numbers, without sufficient regard for the risks and consequences

imposed upon individuals who serve critical judicial and law enforcement roles.

        3.     The Legislature and Governor unanimously agree that the basic safety of those who

serve – and their families – must be assured. Here, not only do the data brokers wantonly and

repeatedly disregard the law, but they also demonstrate a callousness towards the well-being of

those who serve. Our judges, law enforcement officers and prosecutors should receive the full

measure of protection afforded to them under the same laws they enforce for the safety of all

citizens.

        4.     With this action, Plaintiffs seek to enforce the important rights granted to judges,

law enforcement officers, and prosecutors under Daniel’s Law. Consistent with the statutory

provisions, Atlas brings this action as an assignee for certain individuals, including many family

members of law enforcement officers and prosecutors. Plaintiffs seek all available injunctive relief



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and statutory damages, including to prevent any further disclosure by Defendants of information

in violation of Daniel’s Law.

                                          BACKGROUND

         Passage of Daniel’s Law in New Jersey

         5.     In July 2020, Daniel Anderl, the son of a New Jersey federal Judge, was shot dead

by a gunman posing as a FedEx delivery man at the front door of the family’s New Jersey home.

Daniel, who was just age 20 and a rising junior in college, and who aspired to practice law like his

parents, took a bullet to his chest trying to protect his parents. By the time his mother, a Judge,

came to the door to check on what happened, the killer was gone. But her husband was critically

wounded, and Daniel tragically died from the gunshot.

         6.     During the investigation, the perpetrator was found to have certain political and

personal grievances against the Judge, and went to their home that day intending to kill her.

Instead, he murdered the Judge’s son and almost succeeded in killing her husband as well.

Investigators eventually connected this attack with another shooting of an attorney in California,

who was similarly mortally gunned down answering the door to his residence to pick up a supposed

package from the same disguised gunman. Authorities concluded that the shooter was disgruntled

over certain legal cases with similar political and legal issues to what was pending before Daniel’s

mother.

         7.     Critically, the gunman was able to find the home addresses of both of his murder

victims through the various people finder resources available on the internet,1 the same kind of

data broker services at issue in this case.




1
    https://www.cbsnews.com/news/esther-salas-son-murder-roy-den-hollander-48-hours/.
                                                 3

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        New Jersey Passes Daniel’s Law in 2020

        8.      In response to the shooting of Daniel, New Jersey enacted Daniel’s Law within a

few months, in November 2020 (P.L. 2020, c. 125 codified in N.J.S.A. 47:1A-1, et seq. and N.J.S.A

56:8-166.1), which prohibits online data brokers from selling, publishing, and distributing the

name and address of current and former judges, law enforcement officers, and prosecutors and

their eligible family members (i.e., “covered persons”), upon any written request by the covered

person. Law enforcement personnel are expressly covered by the statute, in full recognition that

the public service they provide is no less dangerous or important than those of Judges and

prosecutors.

        9.      Any such covered person may request that a data broker not “disclose or re-disclose

on the Internet or otherwise make available” their home addresses or unpublished home telephone

numbers. Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade,

mail, deliver, transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise,

or offer, and shall include making available or viewable within a searchable list or database,

regardless of whether a search of such list or database is actually performed.” Data brokers must

cease disclosure of this protected information within 10 business days of receiving a nondisclosure

request from a covered person.

        Congress Passes Daniel Anderl Judicial Security and Privacy Act in 2022

        10.     Similar to the actions taken by the State of New Jersey, federal judges such as U.S.

Supreme Court Chief Justice John G. Roberts Jr. proposed and supported a federal version of

Daniel’s Law. The Chief Justice was quoted stating, “[t]he law requires every judge to swear an




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oath to perform his or her work without fear or favor, but we must support judges by ensuring their

safety … [a] judicial system cannot and should not live in fear.”2

       11.     The federal bill, which had broad bipartisan support in both the House and Senate,

protected judges’ personally identifiable information from resale by data brokers. It allowed

federal judges to redact their personal information displayed on federal government internet sites.

       12.     The U.S. Senate voted 83-11 to pass the annual defense authorization bill, with the

Daniel Anderl Judicial Security and Privacy Act attached,3 and it was signed by President Biden.4

       Violence Against Police Officers and Judges Has Not Stopped

       13.     Judges, law enforcement officers, and prosecutors put their lives on the line every

day, which is clearly exhibited by numerous horrific stories of violence beyond the story of the

murder of Daniel Anderl. For example, in 2020, three shooters openly fired upon the Camden

home of two New Jersey police officers and their 10-day old infant. That the officers were

constantly involved in the community doing good afforded them no safety from the perpetrators.5

       14.     More recently, another perpetrator hunted and killed in cold blood a Maryland

Judge, after a child custody ruling.6 The killing followed that of a Wisconsin Judge in 2022, where

the perpetrator killed the retired Judge out of spite for his handling of a criminal case in 2005.7




2
  https://www.washingtonpost.com/politics/2022/12/31/supreme-court-roberts-leak-report/.
3
  https://www.uscourts.gov/news/2022/12/16/congress-passes-daniel-anderl-judicial-security-
and-privacy-act.
4
  https://www.nj.com/politics/2022/12/biden-signs-defense-policy-bill-that-remembers-3-new-
jerseyans.html.
5
  Shooters Open Fire On Home Of New Jersey Police Officers In ‘Targeted Attack,’ Chief Says
(forbes.com).
6
  Judge Andrew Wilkinson: Suspect still on the run after killing a judge at his home in a 'targeted
attack' following a child custody ruling, sheriff says | CNN.
7
  Former Judge John Roemer was killed in his Wisconsin home in a targeted attack, officials say |
CNN.
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                                         THE PARTIES

       The Individual Plaintiffs

       15.     Plaintiff JANE DOE-1, whose name has been anonymized for safety reasons, is a

decorated veteran police officer working in Northern New Jersey. Between 2021 and 2022, Officer

Doe-1 participated in a task force that targeted a major criminal organization operating in the

state. Her efforts ultimately led to the arrest and prosecution of a member of the organization’s

leadership, an individual with an extensive criminal history including threats of violence. In the

subsequent investigation, digital devices recovered from the organization’s leadership were

analyzed and photographs of Officer Doe-1’s personal residence were identified. Officer Doe-1

lives in the home with her spouse and their young child. Evidence recovered in the investigation

included night-time photography of the young child’s bedroom and playroom windows, with the

light on while the child was playing inside. Further investigation revealed that the criminal

organization’s leadership had hired a private investigator who searched online data broker websites

to obtain the officer’s home address. Having identified her home address, text messages confirmed

that they had initiated surveillance and were tracking Officer Doe-1’s movements to and from her

home, immediately prior to the task force initiating arrests.

       16.     Plaintiff JANE DOE-2, whose name has been anonymized for safety reasons, is a

veteran correctional police officer who lives in Northern New Jersey with her husband and two

young children. Earlier in her career, Officer Doe-2 was the subject of a death threat from a hostile

inmate. The inmate stated that they intended to kill Officer Doe-2, and further implied that they

would rely upon a particular private investigator to track down Officer Doe-2’s home address to

facilitate the murder. This death threat was investigated and considered credible enough to result

in a successful criminal prosecution. Part of Officer Doe-2’s current duties include working in her



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correctional facility’s law library, where inmates have access to the Internet including online data

broker websites and services. Recently Officer Doe-2 and her coworkers discovered a note left

behind by an inmate which included the full name and home address of a young female member

of the jail’s administrative staff. The most effective ways to safeguard the security and privacy of

their home addresses - for their own safety and that of their family members - is a frequent topic

of discussion and concern among the correctional police officers working at Officer Doe-2’s

facility.

        17.      Plaintiff Detective PATRICK COLLIGAN is a 32-year veteran of the Franklin

Township police department in Somerset, New Jersey. Since 2014, Detective Colligan has served

as the President of the New Jersey State Policemen’s Benevolent Association, representing more

than 33,000 active law enforcement officers throughout the state. During the course of his law

enforcement career, he has received numerous threats of violence targeted at him and his family

as a result of his public service. The seriousness of certain threats necessitated the installation of

a surveillance camera system and alarm system, and training for his spouse and children about

how to respond in the event of an attack on their home.

        18.      Plaintiff Officer PETER ANDREYEV is a 32-year veteran of the Point Pleasant,

New Jersey police department. Officer Andreyev currently services as the Executive Vice

President of the New Jersey State Policemen’s Benevolent Association, representing more than

33,000 active law enforcement officers throughout the state. During the course of his law

enforcement career, he has received numerous threats of violence targeted at him and his family

as a result of his public service. Officer Andreyev has counseled many other officers who have

been the target of violent threats on ways to protect themselves and their family members from

harm. whose protected information has been discovered and has responded to specific incidents



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where protected information was used by ex-inmates to threaten, harass, or intimidate fellow

officers.

        Plaintiff Atlas and its Assignors

        19.    Plaintiff ATLAS DATA PRIVACY CORPORATION is a Delaware corporation,

with offices at 201 Montgomery Street, Suite 263, Jersey City, New Jersey 07302.

        20.    As permitted under Daniel’s Law, Atlas asserts claims against Defendants as the

assignee of the claims of approximately 19,532 individuals who are all “covered persons” under

Daniel’s Law (together, the “Covered Persons”), including a significant number of individuals who

are family members of judges, law enforcement officers, and prosecutors.

        21.    The Covered Persons include individuals who reside, work or had previously

resided or worked in New Jersey, and qualify as “covered persons” as that term is defined under

Daniel’s Law, each of whom have claims against Defendants for failing to comply with Daniel’s

Law.

        22.    As set forth in more detail below, the Covered Persons (as well as the Individual

Plaintiffs) each exercised their rights under Daniel’s Law by sending Defendants a written notice

requesting that Defendants cease disclosing or re-disclosing on the Internet or otherwise making

available their protected information on one or more of Defendants’ websites, mailing lists or

through other methods of disclosure.

        23.    Defendants have not complied with the law by ceasing the disclosure or re-

disclosure on the Internet or the otherwise making available of protected information as required

under Daniel’s Law for each of the Covered Persons (as well as each of the Individual Plaintiffs)

as required by the law.




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       24.     In accordance with Daniel’s Law, each of the Covered Persons has assigned their

rights for claims thereunder against Defendants to Atlas.

       25.     Atlas provides an online platform, including an email service named AtlasMail, to

law enforcement officers, prosecutors, judges, and other covered persons. Atlas works with and

provides access to its platform to members of the New Jersey State Policemen’s Benevolent

Association, the Metropolitan Transportation Authority Police Benevolent Association, New

Jersey PBA Local 105, and the New Jersey State Troopers Fraternal Association, among others.

The goal of these unions and associations, since the first passage of Daniel’s Law in November

2020, was to increase the safety and well-being of their members and associated households by

helping those members to understand and assert the rights provided to them by the law.

       26.     Upon signing up for Atlas, a law enforcement officer or other Covered Person is

asked a series of questions to collect required personal information and qualify their eligibility as

a Covered Person under Daniel’s Law. Once eligibility is confirmed, they are shown a page

explaining how the Atlas platform works:




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       27.    AtlasMail is an email service operated by Atlas. Upon signing up with Atlas, each

law enforcement officer or other Covered Person receives their own AtlasMail account, with a

unique inbox address (e.g. john.doe23@atlasmail.com) for their personal use. A description of

AtlasMail and more information about how the email service works are provided on a page during

the signup process:




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       28.     Having provided personal information, confirmed their eligibility for Daniel’s Law,

and progressed through several pages explaining the functions of Atlas as a platform and AtlasMail

as an email service, the law enforcement officer or other Covered Person is then presented with a

page on which they can review their home addresses and unpublished home telephone numbers, a

takedown notice template, and a recommended list of data brokers to send notices to. On this page

the law enforcement officer or other Covered Person can choose whether or not to send takedown

notices. If they choose not to send takedown notices to the recommended list, they can select

individual recipients at a later page (as shown in the example copied below). Here, each of the

Individual Plaintiffs and Covered Persons sent Defendants a takedown notice.




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       29.     Any reply or response back from a data broker to the law enforcement officer or

other Covered Person is received and displayed in their AtlasMail inbox. AtlasMail is a fully

featured email service provider, and its users can reply, forward, or use their AtlasMail account as

they would any other email account:




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       30.    With this lawsuit, Atlas seeks to enforce compliance with Daniel’s Law for those

Covered Persons. This lawsuit seeks to protect their privacy without unnecessarily putting those

individuals in the spotlight. Atlas will work with the Court and Defendants to implement a

protective order to then provide Defendants with the assignments and other information for each

of the Covered Persons.

       Defendants

       31.    Defendant DM Group, Inc is an entity that discloses or re-discloses on the Internet

or otherwise makes available the home addresses and/or unpublished home telephone numbers of

covered persons.




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       32.     Defendants Richard Roes 1-10 and ABC Companies 1-10 (collectively with the

defendants identified above referred to as the “Defendants”) are fictitious names of currently

unknown individuals/entities that were also involved with the violations described in this

Complaint who have not yet been identified in part due to what appears to be intentional efforts

by data brokers to conceal the specific entities involved and responsible for the disclosure of data

and information, and individuals responsible for Defendants failures to comply with the law.

       33.     Defendants offer and engage in the disclosure of data and information through one

or more websites, applications, or mailing lists, or otherwise in New Jersey, and to businesses and

individuals who operate or reside in New Jersey. Those websites include:

       directmail.com

       34.     In accordance with Defendants’ business model, visitors, users, or customers may

obtain a name and home address and/or a name and unpublished home telephone number

(including the name and address and/or unpublished home telephone number of the Individual

Plaintiffs and Covered Persons).

       35.     Daniel’s Law was passed to protect those who serve from the disclosure of this

protected information by such services, which disclose such information of the Individual

Plaintiffs and Covered Persons for their own commercial interests, without sufficient regard to the

risks and consequences imposed on individuals.

                                JURISDICTION AND VENUE

       36.     This Court has jurisdiction because the parties reside and/or conduct business in

New Jersey, along with the Covered Persons, and the unlawful actions complained of herein

occurred in New Jersey.




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        37.     Venue is proper pursuant to R. 4:3-2, in that Middlesex County is the county in

which one or more of the parties and/or Covered Persons reside and/or conduct business. In

addition, many of the events giving rise to this action occurred in this County.

                             FACTS COMMON TO ALL COUNTS

        38.     As set forth above, New Jersey enacted Daniel’s Law in November 2020 (P.L. 2020,

c. 125 codified as N.J.S.A. 47:1A-1, et seq. and N.J.S.A. 56:8-166.1).

        39.     Daniel’s Law prohibits data brokers from disclosing or re-disclosing on the Internet

or otherwise making available the home addresses or unpublished home telephone numbers of

covered persons as defined in the law, upon a written request by those individuals.

        40.     Upon notification, and no later than 10 business days after receipt, a data broker

must not disclose or re-disclose on the Internet or otherwise make available the home addresses or

unpublished home telephone numbers of the covered person.

        41.     This includes a mandate that within 10 business days of receiving a nondisclosure

request, the data broker shall not disclose the protected information of the covered person.

Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade, mail, deliver,

transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise, or offer, and

shall include making available or viewable within a searchable list or database, regardless of

whether a search of such list or database is actually performed.”

        42.     Daniel’s Law was amended in 2023, as P.L. 2023, c. 113. The amendment was

passed unanimously by the Assembly on May 25, 2023, by the Senate on June 20, 2023, and was

thereafter signed by the Governor on July 20, 2023.

        43.     Certain provisions of the amended law, including changes to N.J.S.A. 56:8-166.1,

went into effect immediately.



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         44.     As of July 20, 2023, Daniel’s Law as codified in N.J.S.A. 56:8-166.1 provided:8

                        3.a. (1) Upon notification pursuant to paragraph (2) of this
                        subsection, and not later than 10 business days following receipt
                        thereof, a person, business, or association shall not disclose or
                        redisclose on the Internet or otherwise make available, the home
                        address or unpublished home telephone number of any covered
                        person, as defined in subsection d. of this section.
                        b. A person, business, or association that violates subsection a. of
                        this section shall be liable to the covered person, or the covered
                        person’s assignee, who may bring a civil action in the Superior
                        Court.
                        c. The court shall award:
                                (1) actual damages, but not less than liquidated damages
                                computed at the rate of $1,000 for each violation of this
                                act;
                                (2) punitive damages upon proof of willful or reckless
                                disregard of the law;
                                (3) reasonable attorney’s fees and other litigation costs
                                reasonably incurred; and
                                (4) any other preliminary and equitable relief as the court
                                determines to be appropriate.
                        d. For the purposes of this section:
                                …“Disclose” shall mean to solicit, sell, manufacture,
                                give, provide, lend, trade, mail, deliver, transfer, post,
                                publish, distribute, circulate, disseminate, present,
                                exhibit, advertise or offer, and shall include making
                                available or viewable within a searchable list or
                                database, regardless of whether a search of such list or
                                database is actually performed.”
         45.     Starting on or about January 7, 2024 each of the Individual Plaintiffs and all of the

Covered Persons (who assigned claims to Atlas) sent Defendants written nondisclosure requests

(via email) in accordance with Daniel’s Law, using AtlasMail.




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    https://pub.njleg.state.nj.us/Bills/2022/PL23/113_.PDF
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       46.     For example, a true and correct copy of the email directly from Plaintiff Andreyev

(with personal information redacted) is pasted here:




       47.     Defendants failed to cease the disclosure or re-disclosure on the Internet or the

otherwise making available of the protected information of the Individuals Plaintiffs and Covered

Persons within the time period required by Daniel’s Law.

       48.     Even as of the date of this filing, Defendants still refuse to comply with Daniel’s

Law. Protected information of the Individual Plaintiffs and those Covered Persons who assigned

Atlas their Daniel’s Law claims against Defendants remains available from Defendants using

Defendants’ search tools or other means of disclosure.

       49.     All of the Covered Persons who sent their nondisclosure requests to Defendants

(not including the Individual Plaintiffs) have assigned their claims against Defendants to Atlas.



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        50.    The Individual Plaintiffs and Atlas hereby assert claims against Defendants based

on their violation of Daniel’s Law and continuing refusal to comply with that law.

                                          COUNT ONE

                                          (Daniel’s Law)

        51.    The allegations of the Complaint set forth above are included herein as if set forth

at length.

        52.    The Individual Plaintiffs and Covered Persons transmitted notice in writing to

Defendants requesting that Defendants cease disclosure of their home address and/or unpublished

home telephone number and cease its disclosure or re-disclosure on the Internet or wherever

Defendants otherwise made it available.

        53.    Defendants had an obligation under Daniel’s Law to comply with the request within

ten (10) business days.

        54.    As of the date of this filing, Defendants still refuse to comply with Daniel’s Law.

The protected information (including home addresses and/or unpublished home telephone

numbers) of the Individual Plaintiffs and the Covered Persons remains “available or viewable

within a searchable list or database” or otherwise made available.

        55.    Defendants did not cease the disclosure or re-disclosure on the Internet or the

otherwise making available of information as required under Daniel’s Law, and their failure in

doing so each constitute a separate violation under the law.

        56.    As a result of Defendants’ failures to comply with Daniel’s Law, Plaintiffs have

suffered damages, and request all available relief.

        57.    As of the date of this filing, Defendants still refuse to comply with Daniel’s Law.

The protected information of the Individual Plaintiffs and the Covered Persons remains disclosed



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or otherwise made available despite proper requests for nondisclosure in violation of Daniel’s Law.

As such, Plaintiffs request that the Court enter all appropriate legal and equitable relief.

WHEREFORE, Plaintiffs request that Judgment be entered against Defendants as follows:
   A. Ordering that Defendants immediately comply with Daniel’s Law, and cease the

       disclosure of the Individuals Plaintiffs’ and the Covered Persons’ names, home

       addresses, and unpublished home telephone numbers wherever disclosed or re-

       disclosed on the Internet or otherwise made available;

   B. Awarding actual damages, not less than liquidated damages under Daniel’s Law, at

       “$1,000 for each violation”;

   C. Awarding an additional amount in punitive damages, to be determined by the Court,

       for “willful noncompliance” as allowed under Daniel’s Law;

   D. Awarding reasonable attorneys’ fees, interest (pre and post judgment) and litigation

       costs incurred;

   E. Ordering injunctive relief requiring that Defendants comply with Daniel’s Law, and

       remove the Individual Plaintiffs’ and the Covered Persons’ protected information

       wherever disclosed;

   F. Entering equitable or other permanent injunctive relief requiring Defendants to

       comply with Daniel’s Law, including the appointment of a qualified independent

       expert to ensure that Defendants prospectively maintain compliance with Daniel’s

       Law; and

   G. Awarding such other and further relief against Defendants as the Court deems

       equitable and just.




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                                                        Respectfully Submitted,
                                                        GENOVA BURNS LLC

 Dated: February 13, 2024                               By: /s/ Rajiv D. Parikh

                                                        Rajiv D. Parikh
                                                        Kathleen Barnett Einhorn
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                                                        Tel: (973) 533-0777
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                                                       rmcgee@ForThePeople.com

                                                       (pro hac vice motions to be filed)



                        DESIGNATION OF TRIAL COUNSEL

       The Court is advised that pursuant to New Jersey Court Rules 4:5-1(c) and 4:25-4,

Rajiv D. Parikh, Esq. is hereby designated as trial counsel for Plaintiffs in this matter.



                                                        GENOVA BURNS LLC

 Dated: February 13, 2024                               By: /s/ Rajiv D. Pari kh

                                                        Rajiv D. Parikh, Esq.




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                   CERTIFICATION PURSUANT TO RULE 4:5-1

       Pursuant to R. 4:5-1, it is hereby stated that the matter in controversy between the parties

hereto is not the subject of any other action pending in any other Court or of a pending arbitration

proceeding to the best of my knowledge and belief. Also, to the best of my knowledge and belief,

no other action or arbitration proceeding between the parties hereto is contemplated. Further, other

than the parties set forth in this pleading and the previous pleadings, if any, at the present time we

know of no other parties that should be joined in the within action.

                                                        GENOVA BURNS LLC

 Dated: February 13, 2024                               By: /s/ Rajiv D. Pari kh

                                                        Rajiv D. Parikh, Esq.



                 CERTIFICATION PURSUANT TO RULE 1:38-7(b)

       Pursuant to Rule 1:38-7(b), it is hereby stated that all confidential personal identifiers have

been redacted from documents now submitted to the Court and will be redacted from all documents

submitted in the future.


                                                        GENOVA BURNS LLC

 Dated: February 13, 2024                               By: /s/ Rajiv D. Pari kh

                                                        Rajiv D. Parikh, Esq.




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                       EXHIBIT A - SUMMONS AND COMPLAINT



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                                  JA559
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                                  JA560
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                                   JA568
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                                   JA570
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                                   JA571
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                                   JA572
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                                   JA573
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                                   JA574
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                        EXHIBIT A - SUMMONS AND COMPLAINT



                                   JA575
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                                   JA576
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                        EXHIBIT A - SUMMONS AND COMPLAINT



                                   JA577
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                                   JA579
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ATLAS DATA PRIVACY CORPORATION, SUPERIOR COURT OF NEW JERSEY
as assignee of individuals who are Covered LAW DIVISION, ESSEX COUNTY
Persons, PATRICK COLLIGAN, and             DOCKET NO.: ESX-L-________-24
PETER ANDREYEV,
                                                     CIVIL ACTION
               Plaintiffs,

                      v.                                         COMPLAINT

DARKOWL, LLC, RICHARD ROES 1-10,
fictitious names of unknown individuals and
ABC COMPANIES 1-10, fictitious names of
unknown entities,

               Defendants.




                                               1
                                              JA580
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        Plaintiffs Atlas Data Privacy Corporation (“Atlas”), as the assignee of individuals who are

Covered Persons under Daniel’s Law, along with Patrick Colligan and Peter Andreyev

(collectively, “Plaintiffs”), by and through their undersigned counsel, hereby submit this

Complaint against Defendants and state as follows:

                                       INTRODUCTION

        1.     In these tumultuous times, it is critical that the most sensitive personal information

of current and former public servants be protected from unwarranted disclosure. As set forth

below, Daniel’s Law was passed unanimously by our Legislature to provide judges, law

enforcement officers, and prosecutors—and their families—with the right to prevent the disclosure

of their home addresses and unpublished home telephone numbers, and to enforce those rights

against uncooperative profit-seeking data brokers.

        2.     This complaint seeks to protect those important rights against companies brokering

data and choosing profit and commercial gain over a critical public interest and the unequivocal

mandate of the law. Companies in the business of disclosing this protected information have

avoided accountability for far too long, proffering such information, including home addresses and

unpublished home telephone numbers, without sufficient regard for the risks and consequences

imposed upon individuals who serve (and have served) critical judicial and law enforcement roles.

        3.     The Legislature and Governor unanimously agree that the basic safety of those who

serve—and their families—must be assured. Here, not only do the data brokers wantonly and

repeatedly disregard the law, but they also demonstrate a callousness towards the well-being of

these public servants. Our judges, law enforcement officers, and prosecutors should receive the

full measure of protection afforded to them under the same laws they enforce for the safety of all

citizens.




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       4.      With this action, Plaintiffs seek to enforce the important rights granted to judges,

law enforcement officers, and prosecutors under Daniel’s Law. Consistent with the statutory

scheme, Atlas brings this action as an assignee for certain individuals, including many family

members of law enforcement officers and prosecutors. Plaintiffs seek all available injunctive relief

and statutory damages, including to prevent any further disclosure by Defendants of information

in violation of Daniel’s Law.

                                        BACKGROUND

       Passage of Daniel’s Law in New Jersey

       5.      In July 2020, Daniel Anderl, the son of a New Jersey federal Judge, was murdered

by a gunman posing as a FedEx delivery man at the front door of the family’s New Jersey home.

Daniel, who was just 20 years old and a rising junior in college, and who aspired to practice law

like his parents, took a bullet to his chest trying to protect his parents. By the time his mother, a

Judge, came to the door to check on what happened, the killer had fled. But her husband was

critically wounded, and Daniel tragically died from the gunshot.

       6.      During the investigation, the perpetrator was found to have certain political and

personal grievances against the Judge, and he went to their home that day intending to kill her.

Investigators eventually connected this attack with the same perpetrator’s shooting of an attorney

in California, who was similarly mortally gunned down answering the door to his residence to pick

up a supposed package from the same disguised gunman. Authorities concluded that the shooter

was disgruntled over certain legal cases with similar political and legal issues to the case that was

pending before Daniel’s mother.




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                                               JA582
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         7.     Critically, the gunman was able to find the home addresses of his murder victims

through the various people finder resources available on the Internet, 1 the same kind of data broker

services at issue in this case.

         New Jersey Passes Daniel’s Law in 2020

         8.     In response to Daniel’s murder, New Jersey swiftly enacted Daniel’s Law in

November 2020. P.L. 2020, c. 125 codified in N.J.S.A. 47:1A-1, et seq. and N.J.S.A. 56:8-166.1.

Daniel’s Law allows current and former public servants—including judges, law enforcement

officers, and prosecutors—and their eligible family members (i.e., “covered persons”) to send

written nondisclosure requests to data brokers. Once a 10-business day period following such a

request has passed, the data broker is prohibited from disclosing or otherwise making available the

name and home address or unpublished home telephone number of the covered person. Law

enforcement personnel are expressly covered by the statute, in full recognition that the public

service they provide is no less dangerous or important than those of judges and prosecutors.

         9.     Any such covered person may request that a data broker not “disclose or re-disclose

on the Internet or otherwise make available” their home addresses or unpublished home telephone

numbers. Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade,

mail, deliver, transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise,

or offer, and shall include making available or viewable within a searchable list or database,

regardless of whether a search of such list or database is actually performed.”

         10.    Data brokers must cease disclosure of this protected information within 10 business

days of receiving a written nondisclosure request from a covered person.




1
    https://www.cbsnews.com/news/esther-salas-son-murder-roy-den-hollander-48-hours/.


                                                   4
                                                 JA583
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        11.     To facilitate the enforcement of Daniel’s Law, the New Jersey Legislature

expressly provided that an enforcement action could be brought by a covered person or by the

covered person’s assignee. N.J.S.A. 56:8-166.1(b).

        Congress Passes Daniel Anderl Judicial Security and Privacy Act in 2022

        12.     Similar to the actions taken by the State of New Jersey, federal judges such as U.S.

Supreme Court Chief Justice John G. Roberts Jr. proposed and supported a federal version of

Daniel’s Law. The Chief Justice was quoted stating, “[t]he law requires every judge to swear an

oath to perform his or her work without fear or favor, but we must support judges by ensuring their

safety . . . [a] judicial system cannot and should not live in fear.” 2

        13.     The federal bill, which had broad bipartisan support in both the House and Senate,

protected the personally identifiable information of judges and their immediate family from

disclosure by data brokers. It also allowed federal judges to redact their personal information

displayed on federal government websites.

        14.     In December 2022, the U.S. Senate voted 83-11 to pass the annual defense

authorization bill, with the Daniel Anderl Judicial Security and Privacy Act attached, 3 and it was

signed by President Biden. 4

        Violence Against Police Officers and Judges Has Not Stopped

        15.     Despite these efforts, violence against judges, law enforcement officers, and

prosecutors remains a continuing and serious threat. These public servants put their lives on the

line every day, which is clearly exhibited by the numerous horrific stories of violence beyond the



2
  https://www.washingtonpost.com/politics/2022/12/31/supreme-court-roberts-leak-report/.
3
  https://www.uscourts.gov/news/2022/12/16/congress-passes-daniel-anderl-judicial-security-
and-privacy-act.
4
  https://www.nj.com/politics/2022/12/biden-signs-defense-policy-bill-that-remembers-3-new-
jerseyans.html.


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                                                 JA584
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murder of Daniel Anderl. For example, in 2020, three shooters openly fired upon the Camden

home of two New Jersey police officers while they were inside with their 10-day old infant. That

the officers were constantly involved in the community doing good afforded them no safety from

the perpetrators. 5 On the contrary, the officers were targeted specifically because they chose to go

into public service and protect their community.

       16.     More recently, a disgruntled litigant hunted down and killed a Maryland Judge at

his home after an adverse child custody ruling. 6 This killing followed a similar tragedy in

Wisconsin in 2022, where the perpetrator killed a retired Wisconsin Circuit Court Judge out of

spite for his handling of a criminal case in 2005. 7

       17.     These violent incidents demonstrate the risk to public servants and their families

resulting from the open sale and dissemination of their most personal information, including their

home addresses and/or unpublished home telephone numbers. These incidents also demonstrate

the risk to the broader community should public officials be denied their statutory privacy rights.

The risk that one might be violently targeted at their home may disincentivize individuals from

pursuing a career in public service. This undermines the public interest—as the State and federal

governments have recognized in passing Daniel’s Law and its federal counterpart.




5
  https://www.forbes.com/sites/jemimamcevoy/2020/09/18/shooters-open-fire-on-home-of-new-
jersey-police-officers-in-targeted-attack-chief-says/.
6
  https://www.cnn.com/2023/10/20/us/maryland-judge-killing-investigation-andrew-wilkinson/.
7
  https://www.cnn.com/2022/06/04/us/wisconsin-judge-killed-targeted-attack/.


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                                                JA585
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                                         THE PARTIES

       The Individual Plaintiffs

       18.     Plaintiff Detective PATRICK COLLIGAN is a 32-year veteran of the Franklin

Township police department in Somerset, New Jersey. From June 2014 to April 2024, Detective

Colligan served as the President of the New Jersey State Policemen’s Benevolent Association,

representing more than 33,000 active law enforcement officers throughout the state. During the

course of his law enforcement career, he has received numerous threats of violence targeted at him

and his family as a result of his public service. The seriousness of certain threats necessitated the

installation of a surveillance camera system and alarm system, and training for his spouse and

children about how to respond in the event of an attack on their home.

       19.     Plaintiff Officer PETER ANDREYEV is a 32-year veteran of the Point Pleasant,

New Jersey police department. Since May 2024, Officer Andreyev has served as the President of

the New Jersey State Policemen’s Benevolent Association, representing more than 33,000 active

law enforcement officers throughout the state. During the course of his law enforcement career,

he has received numerous threats of violence targeted at him and his family as a result of his public

service. Officer Andreyev has counseled many other officers who have been the target of violent

threats on ways to protect themselves and their family members from harm.

       Plaintiff Atlas and its Assignors

       20.     Plaintiff ATLAS DATA PRIVACY CORPORATION is a Delaware corporation,

with offices at 201 Montgomery Street, Suite 263, Jersey City, New Jersey 07302.

       21.     As permitted under Daniel’s Law, Atlas asserts claims against Defendants as the

assignee of the claims of approximately 19,014 individuals who are all “Covered Persons” under

Daniel’s Law (together, the “Covered Persons” and each a “Covered Person”), including a




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significant number of individuals who are family members of judges, law enforcement officers,

and prosecutors.

       22.     Each Covered Person is an (a) active, formerly active, or retired judicial officer,

law enforcement officer, or child protective investigator in the Division of Child Protection and

Permanency, or prosecutor, as those terms are defined in N.J.S.A. 47:1A-1.1; or (b) immediate

family member residing in the same household as such judicial officer, law enforcement officer,

child protective investigator in the Division of Child Protection and Permanency, or prosecutor.

Thus, each individual meets the definition of “covered person” set forth in Daniel’s Law, N.J.S.A.

56:8-166.1.

       23.     Each Covered Person resides, works, previously resided or worked in New Jersey,

or is a family member residing at the same address as such as a person, and has a claim or claims

against Defendants for failing to comply with Daniel’s Law.

       24.     As set forth in more detail below, the Covered Persons (as well as the Individual

Plaintiffs) each exercised their rights under Daniel’s Law by sending Defendants a written notice

requesting that Defendants cease disclosing or re-disclosing on the Internet or otherwise making

available their protected information on one or more of Defendants’ websites or through other

methods of disclosure.

       25.     Defendants have not complied with the law by ceasing the disclosure or re-

disclosure on the Internet or the otherwise making available of protected information as required

under Daniel’s Law for each of the Covered Persons (as well as each of the Individual Plaintiffs)

as required by the law.

       26.     In accordance with Daniel’s Law, each of the Covered Persons has assigned their

rights for claims thereunder against Defendants to Atlas, in writing, as permitted under the statute.




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Such assignments expressly and “irrevocably assign to Atlas or a designated affiliate of Atlas (the

‘Assignee’) the exclusive right to civil enforcement of all claims” under Daniel’s Law.

         27.   Atlas provides an online platform, including an email service named AtlasMail, to

law enforcement officers, prosecutors, judges, and other Covered Persons. Atlas works with and

provides access to its platform to members of the New Jersey State Policemen’s Benevolent

Association, the Metropolitan Transportation Authority Police Benevolent Association, New

Jersey PBA Local 105, and the New Jersey State Troopers Fraternal Association, among others.

The goal of these unions and associations, since the first passage of Daniel’s Law in November

2020, has been to increase the safety and well-being of their members and their members’ families

by helping those members understand and assert the rights provided to them by the law.

         28.   Upon signing up for Atlas, a Covered Person is asked a series of questions to collect

required personal information and qualify his or her eligibility under Daniel’s Law. Once

eligibility is confirmed, the Covered Person is shown a page explaining how the Atlas platform

works:




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       29.     AtlasMail is an email service operated by Atlas. Upon signing up with Atlas, each

Covered Person receives his or her own AtlasMail account, with a unique inbox address (e.g.,

john.doe23@atlasmail.com) for personal use. A description of AtlasMail and more information

about how the email service works are provided on a page during the signup process:




       30.     Having provided personal information, confirmed their eligibility for Daniel’s Law,

and progressed through several pages explaining the functions of Atlas as a platform and AtlasMail

as an email service, the Covered Person is then presented with a page on which he or she can

review his or her home addresses and unpublished home telephone numbers, a takedown notice

template, and a recommended list of data brokers to send notices to. On this page the Covered

Person can choose whether or not to send takedown notices. If the Covered Person chooses not to




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                                              JA590
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send takedown notices to the recommended list, they can select individual recipients at a later page

(as shown in the example copied below). Here, each of the Individual Plaintiffs and Covered

Persons sent Defendants a takedown notice.




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                                               JA591
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       31.     Any reply or response back from a data broker to the Covered Person is received

and displayed in their AtlasMail inbox. AtlasMail is a fully-featured email service provider, and

its users can reply, forward, or use their AtlasMail account as they would any other email account:




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       32.    With this lawsuit, Atlas seeks to enforce compliance with Daniel’s Law for those

Covered Persons.

       33.    Because this lawsuit seeks to protect their privacy without unnecessarily putting

those individuals in the spotlight, Atlas has not included the Covered Persons’ personal

information in this public filing. However, Atlas will work with the Court and Defendants to

implement an appropriate protective order and then provide Defendants with the written




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assignments and relevant information for each of the Covered Persons. Our courts have already

approved this privacy-protecting approach. 8

       34.     In order to facilitate the provision of the Covered Persons’ relevant information to

Defendants pursuant to an appropriate protective order, Plaintiffs have provided Defendants with

a proposed Protective Order with service of this Complaint.

       Defendants

       35.     Defendant DarkOwl, LLC (“DarkOwl”) is a Colorado corporation that has a

principal place of business at 1775 N. Sherman Street, Suite 1790, Denver, Colorado 80203, and

transacts business within the State of New Jersey. DarkOwl discloses or re-discloses on the

Internet or otherwise makes available the home addresses and/or unpublished home telephone

numbers of Covered Persons.

       36.     Defendants Richard Roes 1-10 and ABC Companies 1-10 (collectively with the

defendants identified above referred to as the “Defendants”) are fictitious names of currently

unknown individuals/entities that were also involved with the violations described in this

Complaint who have not yet been identified in part due to what appears to be intentional efforts

by data brokers to conceal the specific entities involved and responsible for the disclosure of data

and information, and individuals responsible for Defendants failures to comply with the law.




8
  For example, the Court recently held in another Daniel’s Law action that allegations similar to
those asserted here pleaded “sufficient facts to show that the assignors are covered persons under
Daniel’s Law,” and “in fact have standing,” noting the anticipated production of Covered Persons’
information pursuant to an appropriate protective order. Atlas Data Privacy Corp., v. Attom Data
Solutions, LLC, et al., Docket No.: MER-L-273-24 (Law Div., June 20, 2024) (denying motion to
dismiss).


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                                               JA594
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       37.    Defendants offer and engage in the disclosure of data and information through one

or more websites or applications, or otherwise in New Jersey, and to businesses and individuals

who operate or reside in New Jersey. These websites include darkowl.com.

       38.    In accordance with Defendants’ business model, visitors, users, or customers may

obtain a name and home address and/or a name and unpublished home telephone number

(including the name and address and/or unpublished home telephone number of the Individual

Plaintiffs and Covered Persons). The following is a redacted example of the detailed information

provided by Defendants, 9 in violation of Daniel’s Law:




9
 Consistent with the mandate of Daniel’s Law and the public policy considerations underpinning
Rule 1:38-7, personal information in the search results has been redacted from the exemplar
screenshots included herein.


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                                             JA595
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        39.     Daniel’s Law was passed to protect public servants and their families from the

disclosure of this protected information by such services, which disclose such information of the

Individual Plaintiffs and Covered Persons for their own commercial interests, without sufficient

regard to the risks and consequences imposed on individuals.

                                  JURISDICTION AND VENUE

        40.     This Court has jurisdiction because the parties reside and/or conduct business in

New Jersey, along with the Covered Persons, and the unlawful actions complained of herein

occurred in New Jersey.

        41.     Venue is proper pursuant to R. 4:3-2, in that Essex County is the county in which

one or more of the parties and/or Covered Persons reside and/or conduct business. In addition,

many of the events giving rise to this action occurred in this County.

                             FACTS COMMON TO ALL COUNTS

        42.     As set forth above, New Jersey enacted Daniel’s Law in November 2020 (P.L.

2020, c. 125 codified as N.J.S.A. 47:1A-1, et seq. and N.J.S.A. 56:8-166.1).

        43.     Daniel’s Law prohibits data brokers from disclosing or re-disclosing on the Internet

or otherwise making available the home addresses or unpublished home telephone numbers of

covered persons as defined in the law, upon a written request by those individuals.

        44.     Upon notification, and no later than 10 business days after receipt, a data broker

must not disclose or re-disclose on the Internet or otherwise make available the home addresses or

unpublished home telephone numbers of the covered person.

        45.     This includes a mandate that within 10 business days of receiving a nondisclosure

request, the data broker shall not disclose the protected information of the covered person.

Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade, mail, deliver,




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transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise, or offer, and

shall include making available or viewable within a searchable list or database, regardless of

whether a search of such list or database is actually performed.”

          46.     Daniel’s Law was amended in 2023, as P.L. 2023, c. 113. The amendment was

passed unanimously by the Assembly on May 25, 2023, by the Senate on June 20, 2023, and was

thereafter signed by the Governor on July 20, 2023.

          47.    Certain provisions of the amended law, including changes to N.J.S.A. 56:8-166.1,

went into effect immediately.

          48.    As of July 20, 2023, Daniel’s Law as codified in N.J.S.A. 56:8-166.1 provided: 10

                 3.a. (1) Upon notification pursuant to paragraph (2) of this subsection, and
                 not later than 10 business days following receipt thereof, a person, business,
                 or association shall not disclose or redisclose on the Internet or otherwise
                 make available, the home address or unpublished home telephone number
                 of any covered person, as defined in subsection d. of this section.
                 b. A person, business, or association that violates subsection a. of this
                 section shall be liable to the covered person, or the covered person’s
                 assignee, who may bring a civil action in the Superior Court.
                 c. The court shall award:
                     (1) actual damages, but not less than liquidated damages computed
                     at the rate of $1,000 for each violation of this act;
                     (2) punitive damages upon proof of willful or reckless disregard of
                     the law;
                     (3) reasonable attorney’s fees and other litigation costs reasonably
                     incurred; and
                     (4) any other preliminary and equitable relief as the court determines
                     to be appropriate.
                 d. For the purposes of this section:
                     . . . “Disclose” shall mean to solicit, sell, manufacture, give, provide,
                     lend, trade, mail, deliver, transfer, post, publish, distribute, circulate,
                     disseminate, present, exhibit, advertise or offer, and shall include
                     making available or viewable within a searchable list or database,

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     https://pub.njleg.state.nj.us/Bills/2022/PL23/113_.PDF


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                  regardless of whether a search of such list or database is actually
                  performed.”

       49.     Starting on or about December 30, 2023, each of the Individual Plaintiffs and all of

the Covered Persons (who assigned claims to Atlas) sent Defendants written nondisclosure

requests (via email) in accordance with Daniel’s Law, using AtlasMail.

       50.     For example, a true and correct copy of the email directly from Plaintiff Andreyev

(with personal information redacted) is pasted here:




       51.     Defendants failed to cease the disclosure or re-disclosure on the Internet or the

otherwise making available of the protected information of the Individuals Plaintiffs and Covered

Persons within the time period required by Daniel’s Law. Thus, Defendants’ disclosure or

redisclosure of protected information of the Individual Plaintiffs and Covered Persons following

the statutory takedown period of ten (10) business days violates Daniel’s Law.



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                                              JA598
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       52.      Upon information and belief, even as of the date of this filing, Defendants still

refuse to fully comply with Daniel’s Law and protected information (including home addresses

and/or unpublished home telephone numbers) of the Individual Plaintiffs and Covered Persons

continues to be disclosed, re-disclosed or otherwise made available, despite Defendants’ receipt of

requests for nondisclosure more than ten business days ago.

       53.      All of the Covered Persons who sent their nondisclosure requests to Defendants

(not including the Individual Plaintiffs, who assert their claims directly in this action) have

assigned in writing their claims against Defendants to Atlas. All of the assignments were

completed in writing before the date of the filing of the initial Complaint.

       54.      Following the entry of a protective order filed in this Court, Plaintiffs will provide

under a confidential designation a full and complete list of the following:

             a. Names of each of the 19,014 assignors referenced in paragraph 21; and

             b. The factual basis for the person to be considered a “Covered Person” as defined in

                N.J.S.A. 56:8-166.1(d), that is, a judicial officer, law enforcement officer, child

                protective investigator in the Division of Child Protection and Permanency, as those

                terms are identified in N.J.S.A. 47:1A-1.1 or prosecutor and any immediate family

                member residing in the household of individuals in these categories.

       55.      The Individual Plaintiffs and Atlas hereby assert claims against Defendants based

on their violation of Daniel’s Law and continuing refusal to comply with that law.




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                                                JA599
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                                             COUNT ONE

                                            (Daniel’s Law)

          56.      The allegations of the Complaint set forth above are incorporated herein as if set

forth at length.

          57.      The Individual Plaintiffs and Covered Persons transmitted notice in writing to

Defendants requesting that Defendants cease disclosure of their home address and/or unpublished

home telephone number and cease its disclosure or re-disclosure on the Internet or wherever

Defendants otherwise made it available.

          58.      Defendants had an obligation under Daniel’s Law to comply with the request within

ten (10) business days.

          59.      Upon information and belief, even as of the date of this filing, Defendants still

refuse to fully comply with Daniel’s Law and protected information (including home addresses

and/or unpublished home telephone numbers) of the Individual Plaintiffs and Covered Persons

continues to be disclosed, re-disclosed or otherwise made available, despite Defendants’ receipt of

requests for nondisclosure more than ten business days ago.

          60.      Defendants did not cease the disclosure or re-disclosure on the Internet or the

otherwise making available of information as required under Daniel’s Law, and their failure in

doing so each constitute a separate violation under the law.

          61.      Defendants’ continued disclosure in violation of Daniel’s Law, despite having

received notice as required under the statute, constitutes willful or reckless disregard of the law.

          62.      As a result of Defendants’ failures to comply with Daniel’s Law, Plaintiffs have

suffered damages, and request that the Court enter all available and appropriate legal and equitable

relief.




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                                                 JA600
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       WHEREFORE, Plaintiffs request that Judgment be entered against Defendants as

follows:

    A. Ordering that Defendants immediately comply with Daniel’s Law, and cease the

           disclosure of the Individuals Plaintiffs’ and the Covered Persons’ names, home addresses,

           and unpublished home telephone numbers wherever disclosed or re-disclosed on the

           Internet or otherwise made available;

   B. Awarding actual damages, not less than liquidated damages under Daniel’s Law, at “$1,000

       for each violation”;

   C. Awarding an additional amount in punitive damages, to be determined by the Court, for

       “willful noncompliance” as allowed under Daniel’s Law;

   D. Awarding reasonable attorneys’ fees, interest (pre and post judgment) and litigation costs

       incurred;

   E. Ordering injunctive relief requiring that Defendants comply with Daniel’s Law, and

       remove the Individual Plaintiffs’ and the Covered Persons’ protected information wherever

       disclosed;

   F. Entering equitable or other permanent injunctive relief requiring Defendants to comply

       with Daniel’s Law, including the appointment of a qualified independent expert to ensure

       that Defendants prospectively maintain compliance with Daniel’s Law; and

   G. Awarding such other and further relief against Defendants as the Court deems equitable

       and just.




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                                                   JA601
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                                                    Respectfully submitted,

                                                    PEM LAW LLP

               Dated: October 16, 2024              By: /s/ Rajiv D. Parikh_________________

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MORGAN & MORGAN P.A.                                BIRD MARELLA RHOW LINCENBERG
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Counsel for Plaintiffs




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                                               JA602
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                            DESIGNATION OF TRIAL COUNSEL


       The Court is advised that pursuant to New Jersey Court Rules 4:5-1(c) and 4:25-4, Rajiv

D. Parikh, Esq. is hereby designated as trial counsel for Plaintiffs in this matter.



                                                        PEM LAW LLP

 Dated: October 16, 2024                                By: /s/ Rajiv D. Parikh
                                                        Rajiv D. Parikh, Esq.




                       CERTIFICATION PURSUANT TO RULE 4:5-1


       Pursuant to R. 4:5-1, it is hereby stated that the matter in controversy between the parties

hereto is not the subject of any other action pending in any other Court or of a pending arbitration

proceeding to the best of my knowledge and belief. Also, to the best of my knowledge and belief,

no other action or arbitration proceeding between the parties hereto is contemplated. Further, other

than the parties set forth in this pleading and the previous pleadings, if any, at the present time we

know of no other parties that should be joined in the within action.


                                                        PEM LAW LLP

 Dated: October 16, 2024                                By: /s/ Rajiv D. Parikh
                                                        Rajiv D. Parikh, Esq.




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                                                JA603
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                    CERTIFICATION PURSUANT TO RULE 1:38-7(b)

       Pursuant to Rule 1:38-7(b), it is hereby stated that all confidential personal identifiers have

been redacted from documents now submitted to the Court and will be redacted from all documents

submitted in the future.


                                                      PEM LAW LLP

 Dated: October 16, 2024                              By: /s/ Rajiv D. Parikh
                                                      Rajiv D. Parikh, Esq.




                                                 25
                                               JA604
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 Attorneys for Plaintiffs Atlas Data Privacy
 Corporation, Jane Doe-1, a law
 enforcement officer, Jane Doe-2, a law
 enforcement officer, Edwin Maldonado,
 Scott Maloney, Justyna Maloney, Patrick
 Colligan, Peter Andreyev and William
 Sullivan



 ATLAS DATA PRIVACY CORPORATION, SUPERIOR COURT OF NEW JERSEY
 as assignee of individuals who are Covered LAW DIVISION, MORRIS COUNTY
 Persons, JANE DOE-1, a law enforcement     DOCKET NO.: MRS-L-_______-24
 officer, JANE DOE-2, a law enforcement
 officer, EDWIN MALDONADO, SCOTT                      CIVIL ACTION
 MALONEY, JUSTYNA MALONEY,
 PATRICK COLLIGAN, PETER
 ANDREYEV, and WILLIAM SULLIVAN,                       COMPLAINT

                Plaintiffs,
        v.

 THOMSON REUTERS CORPORATION,
 THOMSON REUTERS HOLDINGS INC.,
 THOMSON REUTERS CANADA
 LIMITED, THOMSON REUTERS
 APPLICATIONS INC., RICHARD ROES 1-
 10, fictitious names of unknown individuals
 and ABC COMPANIES 1-10, fictitious
 names of unknown entities,

                Defendants.



       Plaintiffs Atlas Data Privacy Corporation (“Atlas”) as the assignee of individuals who are

Covered Persons under Daniel’s Law along with Jane Doe-1 (a law enforcement officer), Jane
                                                1

                                               JA605
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Doe-2 (a law enforcement officer), Edwin Maldonado, Scott Maloney, Justyna Maloney, Patrick

Colligan, Peter Andreyev, and William Sullivan (collectively, “Plaintiffs”), by and through their

undersigned counsel, hereby submit this Complaint against Defendants and state as follows:

                                       INTRODUCTION
        1.     In these tumultuous times, it is critical that the most sensitive personal information

of those who serve the public be protected from unwarranted disclosure. As set forth below,

Daniel’s Law was passed unanimously by our Legislature to provide judges, law enforcement

officers, and prosecutors – and their families – with the right to prevent the disclosure of their

home addresses and unpublished home telephone numbers, and to enforce those rights against

uncooperative profit-seeking data brokers.

        2.     This complaint seeks to protect those important rights, against companies brokering

data and choosing profit and personal gain over a critical public interest and the unequivocal

mandate of the law. Companies in the business of disclosing this protected information have

avoided accountability for far too long, proffering such information, including home addresses and

unpublished home telephone numbers, without sufficient regard for the risks and consequences

imposed upon individuals who serve critical judicial and law enforcement roles.

        3.     The Legislature and Governor unanimously agree that the basic safety of those who

serve – and their families – must be assured. Here, not only do the data brokers wantonly and

repeatedly disregard the law, but they also demonstrate a callousness towards the well-being of

those who serve. Our judges, law enforcement officers and prosecutors should receive the full

measure of protection afforded to them under the same laws they enforce for the safety of all

citizens.

        4.     With this action, Plaintiffs seek to enforce the important rights granted to judges,

law enforcement officers, and prosecutors under Daniel’s Law. Consistent with the statutory

                                                 2

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provisions, Atlas brings this action as an assignee for certain individuals, including many family

members of law enforcement officers and prosecutors. Plaintiffs seek all available injunctive relief

and statutory damages, including to prevent any further disclosure by Defendants of information

in violation of Daniel’s Law.

                                        BACKGROUND

       Passage of Daniel’s Law in New Jersey

       5.      In July 2020, Daniel Anderl, the son of a New Jersey federal Judge, was shot dead

by a gunman posing as a FedEx delivery man at the front door of the family’s New Jersey home.

Daniel, who was just age 20 and a rising junior in college, and who aspired to practice law like his

parents, took a bullet to his chest trying to protect his parents. By the time his mother, a Judge,

came to the door to check on what happened, the killer was gone. But her husband was critically

wounded, and Daniel tragically died from the gunshot.

       6.      During the investigation, the perpetrator was found to have certain political and

personal grievances against the Judge, and went to their home that day intending to kill her.

Instead, he murdered the Judge’s son and almost succeeded in killing her husband as well.

Investigators eventually connected this attack with another shooting of an attorney in California,

who was similarly mortally gunned down answering the door to his residence to pick up a supposed

package from the same disguised gunman. Authorities concluded that the shooter was disgruntled

over certain legal cases with similar political and legal issues to what was pending before Daniel’s

mother.




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                                               JA607
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         7.     Critically, the gunman was able to find the home addresses of both of his murder

victims through the various people finder resources available on the internet,1 the same kind of

data broker services at issue in this case.

         New Jersey Passes Daniel’s Law in 2020

         8.     In response to the shooting of Daniel, New Jersey enacted Daniel’s Law within a

few months, in November 2020 (P.L. 2020, c. 125 codified in N.J.S.A. 47:1A-1, et seq. and N.J.S.A

56:8-166.1), which prohibits online data brokers from selling, publishing, and distributing the

name and address of current and former judges, law enforcement officers, and prosecutors and

their eligible family members (i.e., “covered persons”), upon any written request by the covered

person. Law enforcement personnel are expressly covered by the statute, in full recognition that

the public service they provide is no less dangerous or important than those of Judges and

prosecutors.

         9.     Any such covered person may request that a data broker not “disclose or re-disclose

on the Internet or otherwise make available” their home addresses or unpublished home telephone

numbers. Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade,

mail, deliver, transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise,

or offer, and shall include making available or viewable within a searchable list or database,

regardless of whether a search of such list or database is actually performed.” Data brokers must

cease disclosure of this protected information within 10 business days of receiving a nondisclosure

request from a covered person.




1
    https://www.cbsnews.com/news/esther-salas-son-murder-roy-den-hollander-48-hours/.
                                                   4

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       Congress Passes Daniel Anderl Judicial Security and Privacy Act in 2022

       10.     Similar to the actions taken by the State of New Jersey, federal judges such as U.S.

Supreme Court Chief Justice John G. Roberts Jr. proposed and supported a federal version of

Daniel’s Law. The Chief Justice was quoted stating, “[t]he law requires every judge to swear an

oath to perform his or her work without fear or favor, but we must support judges by ensuring their

safety … [a] judicial system cannot and should not live in fear.”2

       11.     The federal bill, which had broad bipartisan support in both the House and Senate,

protected judges’ personally identifiable information from resale by data brokers. It allowed

federal judges to redact their personal information displayed on federal government internet sites.

       12.     The U.S. Senate voted 83-11 to pass the annual defense authorization bill, with the

Daniel Anderl Judicial Security and Privacy Act attached,3 and it was signed by President Biden.4

       Violence Against Police Officers and Judges Has Not Stopped

       13.     Judges, law enforcement officers, and prosecutors put their lives on the line every

day, which is clearly exhibited by numerous horrific stories of violence beyond the story of the

murder of Daniel Anderl. For example, in 2020, three shooters openly fired upon the Camden

home of two New Jersey police officers and their 10-day old infant. That the officers were

constantly involved in the community doing good afforded them no safety from the perpetrators.5




2
  https://www.washingtonpost.com/politics/2022/12/31/supreme-court-roberts-leak-report/.
3
  https://www.uscourts.gov/news/2022/12/16/congress-passes-daniel-anderl-judicial-security-
and-privacy-act.
4
  https://www.nj.com/politics/2022/12/biden-signs-defense-policy-bill-that-remembers-3-new-
jerseyans.html.
5
  Shooters Open Fire On Home Of New Jersey Police Officers In ‘Targeted Attack,’ Chief Says
(forbes.com).
                                                 5

                                              JA609
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       14.     More recently, another perpetrator hunted and killed in cold blood a Maryland

Judge, after a child custody ruling.6 The killing followed that of a Wisconsin Judge in 2022, where

the perpetrator killed the retired Judge out of spite for his handling of a criminal case in 2005.7

                                          THE PARTIES

       The Individual Plaintiffs

       15.     Plaintiff JANE DOE-1, whose name has been anonymized for safety reasons, is a

decorated veteran police officer working in Northern New Jersey. Between 2021 and 2022, Officer

Doe-1 participated in a task force that targeted a major criminal organization operating in the

state. Her efforts ultimately led to the arrest and prosecution of a member of the organization’s

leadership, an individual with an extensive criminal history including threats of violence. In the

subsequent investigation, digital devices recovered from the organization’s leadership were

analyzed and photographs of Officer Doe-1’s personal residence were identified. Officer Doe-1

lives in the home with her spouse and their young child. Evidence recovered in the investigation

included night-time photography of the young child’s bedroom and playroom windows, with the

light on while the child was playing inside. Further investigation revealed that the criminal

organization’s leadership had hired a private investigator who searched online data broker websites

to obtain the officer’s home address. Having identified her home address, text messages confirmed

that they had initiated surveillance and were tracking Officer Doe-1’s movements to and from her

home, immediately prior to the task force initiating arrests.




6
  Judge Andrew Wilkinson: Suspect still on the run after killing a judge at his home in a 'targeted
attack' following a child custody ruling, sheriff says | CNN.
7
  Former Judge John Roemer was killed in his Wisconsin home in a targeted attack, officials say |
CNN.
                                                  6

                                                JA610
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        16.    Plaintiff JANE DOE-2, whose name has been anonymized for safety reasons, is a

veteran correctional police officer who lives in Northern New Jersey with her husband and two

young children. Earlier in her career, Officer Doe-2 was the subject of a death threat from a hostile

inmate. The inmate stated that they intended to kill Officer Doe-2, and further implied that they

would rely upon a particular private investigator to track down Officer Doe-2’s home address to

facilitate the murder. This death threat was investigated and considered credible enough to result

in a successful criminal prosecution. Part of Officer Doe-2’s current duties include working in her

correctional facility’s law library, where inmates have access to the Internet including online data

broker websites and services. Recently Officer Doe-2 and her coworkers discovered a note left

behind by an inmate which included the full name and home address of a young female member

of the jail’s administrative staff. The most effective ways to safeguard the security and privacy of

their home addresses - for their own safety and that of their family members - is a frequent topic

of discussion and concern among the correctional police officers working at Officer Doe-2’s

facility.

        17.    Plaintiff Officer EDWIN MALDONADO joined the Plainfield, New Jersey police

department as a patrol officer in 2000. After a few months on the job, he was assigned to street

crimes, where he excelled at field work. In 2005, he became a Detective with Plainfield’s major

crimes unit and joined a Federal task force targeting the Mara Salvatrucha-13 (MS-13) gang in

New Jersey. He worked with the task force for the next two years. During that time period, he

received multiple credible death threats from MS-13 members. Detective Maldonado did not

believe he would be able to safeguard his home address while living in Plainfield and relocated his

family to a remote location from which he commuted to work. In 2009, because his relocation

effort had been successful and MS-13 could not locate his new home address, gang members



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                                               JA611
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targeted Detective Maldonado’s mother instead. They intended to burn down her building with

her inside, but set fire to an adjacent building by mistake. Phone calls between MS-13 members

discussing the premeditated murder of Detective Maldonado and his family, and the premeditated

murder of Detective Maldonado’s mother, were intercepted by jail wiretaps. Later in multiple

criminal trials, evidence was entered into the record regarding these intercepted conversations and

premeditated murders, contributing to numerous successful prosecutions.

       18.      Plaintiffs Sergeant SCOTT MALONEY (“Sergeant Maloney”) and Officer

JUSTYNA MALONEY (“Officer Maloney”) are husband and wife, both veteran police officers

currently serving with the Rahway, New Jersey Police Department. They live together in New

Jersey with their two young children. In April of 2023, Officer Maloney responded to a routine

call of a suspicious individual outside the Motor Vehicle Commission in Rahway. The individual

was an online content creator who often solicits police contact and then films himself debating

constitutional rights with the responding officers. A subset of the content creator’s audience is

vocally anti-police and videos posted to his social media channel have historically been the source

of harassment and intimidation campaigns directed at the officers involved. In this case, Officer

Maloney and several other responding officers were filmed discussing a number of legal issues

with the content creator, including whether or not the content creator was required to take his hands

out of his pockets to show that he was unarmed. Overall, the encounter was routine and ended

uneventfully.

       19.      The resulting video footage was selectively edited and posted to YouTube. Almost

immediately upon the video being posted, Officer Maloney was targeted by followers of the

channel and other individuals who viewed the video. Sergeant Maloney was quickly identified by

viewers as Officer Maloney’s husband, and became a target himself, due to their relationship as a



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married couple and his own status as a police officer. Web links to data broker websites publicly

disclosing the Maloney family’s home address and unpublished home telephone numbers were

posted along with explicit death threats and calls for violence, resulting in dozens of threatening

phone calls and text messages.

       20.     One of the text messages sent to Sergeant Maloney demanded money and stated

that if Sergeant Maloney did not comply then his family would “pay in blood.” The unknown

messenger went on to state that they knew where the Maloneys lived and sent the full name and

home address of one of the Maloneys’ nearby relatives as proof of the messenger’s ability to gather

sensitive personal information. Sergeant Maloney refused to comply with any demands. He then

received a video of three individuals in ski masks armed with handguns and assault rifles repeating

the extortion demand. In part of the video, a masked individual points a rifle at the camera and

tells Sergeant Maloney that his family is “going to get [their] heads cut off.”

       21.     Several weeks later, one of the Maloneys’ neighbors observed two suspicious

looking individuals in ski masks parked one block away from the home and alerted police.

Responding officers arrested two men - who were armed - for unlawful possession of a firearm.

Video surveillance captured by nearby houses shows the two men circling the Maloneys’ house

immediately prior to their arrest. Officer Maloney and her two young children were at home at

the time.

       22.     Plaintiff Detective PATRICK COLLIGAN is a 32-year veteran of the Franklin

Township police department in Somerset, New Jersey. Since 2014, Detective Colligan has served

as the President of the New Jersey State Policemen’s Benevolent Association, representing more

than 33,000 active law enforcement officers throughout the state. During the course of his law

enforcement career, he has received numerous threats of violence targeted at him and his family



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as a result of his public service. The seriousness of certain threats necessitated the installation of

a surveillance camera system and alarm system, and training for his spouse and children about

how to respond in the event of an attack on their home.

       23.     Plaintiff Officer PETER ANDREYEV is a 32-year veteran of the Point Pleasant,

New Jersey police department. Officer Andreyev currently serves as the Executive Vice President

of the New Jersey State Policemen’s Benevolent Association, representing more than 33,000 active

law enforcement officers throughout the state. During the course of his law enforcement career,

he has received numerous threats of violence targeted at him and his family as a result of his public

service. Officer Andreyev has counseled many other officers who have been the target of violent

threats on ways to protect themselves and their family members from harm.

       24.     Plaintiff Officer WILLIAM SULLIVAN is an 18-year veteran of the New Jersey

Department of Corrections. Since 2020, Officer Sullivan has served as the President of New Jersey

PBA Local 105, the labor union representing thousands of correctional police officers from the

New Jersey Department of Corrections, the Juvenile Justice Commission, and State Parole. During

the course of his law enforcement career, he has received numerous threats of violence directed at

him and his family as a result of his public service. Inmates incarcerated within New Jersey’s state

prisons frequently attempt to discover the protected information of correctional officers working

in their facility. These attempts and the risks posed by such information being accessible on the

Internet is a frequent topic of discussion and concern among correctional officers and their family

members. Officer Sullivan has counseled many officers whose protected information has been

discovered and has responded to specific incidents where protected information was used by ex-

inmates to threaten, harass, or intimidate fellow officers.




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         Plaintiff Atlas and its Assignors

         25.    Plaintiff ATLAS DATA PRIVACY CORPORATION is a Delaware corporation,

with offices at 201 Montgomery Street, Suite 263, Jersey City, New Jersey 07302.

         26.    As permitted under Daniel’s Law, Atlas asserts claims against Defendants as the

assignee of the claims of approximately 19,600 individuals who are all “covered persons” under

Daniel’s Law (together, the “Covered Persons”), including a significant number of individuals who

are family members of judges, law enforcement officers, and prosecutors.

         27.    The Covered Persons include individuals who reside, work or had previously

resided or worked in New Jersey, and qualify as “covered persons” as that term is defined under

Daniel’s Law, each of whom have claims against Defendants for failing to comply with Daniel’s

Law.

         28.    As set forth in more detail below, the Covered Persons (as well as the Individual

Plaintiffs) each exercised their rights under Daniel’s Law by sending Defendants a written notice

requesting that Defendants cease disclosing or re-disclosing on the Internet or otherwise making

available their protected information on one or more of Defendants’ websites or through other

methods of disclosure.

         29.    Defendants have not responded to these notices and, upon information and belief,

have not complied with the law by ceasing the disclosure or re-disclosure on the Internet or the

otherwise making available of protected information as required under Daniel’s Law for each of

the Covered Persons (as well as each of the Individual Plaintiffs) as required by the law.

         30.    In accordance with Daniel’s Law, each of the Covered Persons has assigned their

rights for claims thereunder against Defendants to Atlas.




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       31.     Atlas provides an online platform, including an email service named AtlasMail, to

law enforcement officers, prosecutors, judges, and other covered persons. Atlas works with and

provides access to its platform to members of the New Jersey State Policemen’s Benevolent

Association, the Metropolitan Transportation Authority Police Benevolent Association, New

Jersey PBA Local 105, and the New Jersey State Troopers Fraternal Association, among others.

The goal of these unions and associations, since the first passage of Daniel’s Law in November

2020, was to increase the safety and well-being of their members and associated households by

helping those members to understand and assert the rights provided to them by the law.

       32.     Upon signing up for Atlas, a law enforcement officer or other Covered Person is

asked a series of questions to collect required personal information and qualify their eligibility as

a covered person under Daniel’s Law. Once eligibility is confirmed, they are shown a page

explaining how the Atlas platform works:




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       33.    AtlasMail is an email service operated by Atlas. Upon signing up with Atlas, each

law enforcement officer or other Covered Person receives their own AtlasMail account, with a

unique inbox address (e.g. john.doe23@atlasmail.com) for their personal use. A description of

AtlasMail and more information about how the email service works are provided on a page during

the signup process:




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       34.     Having provided personal information, confirmed their eligibility for Daniel’s Law,

and progressed through several pages explaining the functions of Atlas as a platform and AtlasMail

as an email service, the law enforcement officer or other Covered Person is then presented with a

page on which they can review their home addresses and unpublished home telephone numbers, a

takedown notice template, and a recommended list of data brokers to send notices to. On this page

the law enforcement officer or other Covered Person can choose whether or not to send takedown

notices. If they choose not to send takedown notices to the recommended list, they can select

individual recipients at a later page (as shown in the example copied below). Here, each of the

Individual Plaintiffs and Covered Persons sent Defendants a takedown notice.




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       35.     Any reply or response back from a data broker to the law enforcement officer or

other Covered Person is received and displayed in their AtlasMail inbox. AtlasMail is a fully

featured email service provider, and its users can reply, forward, or use their AtlasMail account as

they would any other email account:




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       36.    With this lawsuit, Atlas seeks to enforce compliance with Daniel’s Law for those

Covered Persons. This lawsuit seeks to protect their privacy without unnecessarily putting those

individuals in the spotlight. Atlas will work with the Court and Defendants to implement a

protective order to then provide Defendants with the assignments and other information for each

of the Covered Persons.

       Defendants

       37.    Defendant Thomson Reuters Corporation is an entity that discloses or re-discloses

on the Internet or otherwise makes available the home addresses and/or unpublished home

telephone numbers of covered persons.




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       38.     Defendant Thomson Reuters Holdings Inc. is an entity that discloses or re-discloses

on the Internet or otherwise makes available the home addresses and/or unpublished home

telephone numbers of covered persons.

       39.     Defendant Thomson Reuters Canada Limited is an entity that discloses or re-

discloses on the Internet or otherwise makes available the home addresses and/or unpublished

home telephone numbers of covered persons.

       40.     Defendant Thomson Reuters Applications Inc. is an entity that discloses or re-

discloses on the Internet or otherwise makes available the home addresses and/or unpublished

home telephone numbers of covered persons.

       41.     Defendants Richard Roes 1-10 and ABC Companies 1-10 (collectively with the

defendants identified above referred to as the “Defendants”) are fictitious names of currently

unknown individuals/entities that were also involved with the violations described in this

Complaint who have not yet been identified in part due to what appears to be intentional efforts

by data brokers to conceal the specific entities involved and responsible for the disclosure of data

and information, and individuals responsible for Defendants failures to comply with the law.

       42.     Defendants offer and engage in the disclosure of data and information through one

or more websites or applications, or otherwise in New Jersey, and to businesses and individuals

who operate or reside in New Jersey. Those websites include:

       thomsonreuters.com

       43.     In accordance with Defendants’ business model, visitors, users, or customers may

obtain a name and home address and/or a name and unpublished home telephone number

(including the name and address and/or unpublished home telephone number of the Individual

Plaintiffs and Covered Persons).



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        44.     Daniel’s Law was passed to protect those who serve from the disclosure of this

protected information by such services, which disclose such information of the Individual

Plaintiffs and Covered Persons for their own commercial interests, without sufficient regard to the

risks and consequences imposed on individuals.

                                  JURISDICTION AND VENUE

        45.     This Court has jurisdiction because the parties reside and/or conduct business in

New Jersey, along with the Covered Persons, and the unlawful actions complained of herein

occurred in New Jersey.

        46.     Venue is proper pursuant to R. 4:3-2, in that Morris County is the county in which

one or more of the parties and/or Covered Persons reside and/or conduct business. In addition,

many of the events giving rise to this action occurred in this County.

                             FACTS COMMON TO ALL COUNTS

        47.     As set forth above, New Jersey enacted Daniel’s Law in November 2020 (P.L. 2020,

c. 125 codified as N.J.S.A. 47:1A-1, et seq. and N.J.S.A. 56:8-166.1).

        48.     Daniel’s Law prohibits data brokers from disclosing or re-disclosing on the Internet

or otherwise making available the home addresses or unpublished home telephone numbers of

covered persons as defined in the law, upon a written request by those individuals.

        49.     Upon notification, and no later than 10 business days after receipt, a data broker

must not disclose or re-disclose on the Internet or otherwise make available the home addresses or

unpublished home telephone numbers of the covered person.

        50.     This includes a mandate that within 10 business days of receiving a nondisclosure

request, the data broker shall not disclose the protected information of the covered person.

Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade, mail, deliver,



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transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise, or offer, and

shall include making available or viewable within a searchable list or database, regardless of

whether a search of such list or database is actually performed.”

         51.     Daniel’s Law was amended in 2023, as P.L. 2023, c. 113. The amendment was

passed unanimously by the Assembly on May 25, 2023, by the Senate on June 20, 2023, and was

thereafter signed by the Governor on July 20, 2023.

         52.     Certain provisions of the amended law, including changes to N.J.S.A. 56:8-166.1,

went into effect immediately.

         53.     As of July 20, 2023, Daniel’s Law as codified in N.J.S.A. 56:8-166.1 provided:8

                 3.a. (1) Upon notification pursuant to paragraph (2) of this subsection, and
                 not later than 10 business days following receipt thereof, a person, business,
                 or association shall not disclose or redisclose on the Internet or otherwise
                 make available, the home address or unpublished home telephone number
                 of any covered person, as defined in subsection d. of this section.
                 b. A person, business, or association that violates subsection a. of this
                 section shall be liable to the covered person, or the covered person’s
                 assignee, who may bring a civil action in the Superior Court.
                 c. The court shall award:
                    (1) actual damages, but not less than liquidated damages computed
                    at the rate of $1,000 for each violation of this act;
                    (2) punitive damages upon proof of willful or reckless disregard of
                    the law;
                    (3) reasonable attorney’s fees and other litigation costs reasonably
                    incurred; and
                    (4) any other preliminary and equitable relief as the court determines
                    to be appropriate.
                 d. For the purposes of this section:
                    …“Disclose” shall mean to solicit, sell, manufacture, give, provide,
                    lend, trade, mail, deliver, transfer, post, publish, distribute, circulate,
                    disseminate, present, exhibit, advertise or offer, and shall include

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    https://pub.njleg.state.nj.us/Bills/2022/PL23/113_.PDF
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                  making available or viewable within a searchable list or database,
                  regardless of whether a search of such list or database is actually
                  performed.”
       54.     Starting on or about January 9, 2024, each of the Individual Plaintiffs and all of the

Covered Persons (who assigned claims to Atlas) sent Defendants written nondisclosure requests

(via email) in accordance with Daniel’s Law, using AtlasMail.

       55.     For example, a true and correct copy of the email directly from Plaintiff Sullivan

(with personal information redacted) is pasted here:




       56.     Defendants failed to respond to these notices and, upon information and belief,

cease the disclosure or re-disclosure on the Internet or the otherwise making available of the

protected information of the Individuals Plaintiffs and Covered Persons within the time period

required by Daniel’s Law.

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        57.    All of the Covered Persons who sent their nondisclosure requests to Defendants

(not including the Individual Plaintiffs) have assigned their claims against Defendants to Atlas.

        58.    The Individual Plaintiffs and Atlas hereby assert claims against Defendants based

on their violation of Daniel’s Law and continuing refusal to comply with that law.

                                          COUNT ONE

                                          (Daniel’s Law)

        59.    The allegations of the Complaint set forth above are included herein as if set forth

at length.

        60.    The Individual Plaintiffs and Covered Persons transmitted notice in writing to

Defendants requesting that Defendants cease disclosure of their home address and/or unpublished

home telephone number and cease its disclosure or re-disclosure on the Internet or wherever

Defendants otherwise made it available.

        61.    Defendants had an obligation under Daniel’s Law to comply with the request within

ten (10) business days.

        62.    As of the date of this filing, upon information and belief, Defendants still refuse to

comply with Daniel’s Law. Upon information and belief, the protected information (including

home addresses and/or unpublished home telephone numbers) of the Individual Plaintiffs and the

Covered Persons remains “available or viewable within a searchable list or database” or otherwise

made available.

        63.    Upon information and belief, Defendants did not cease the disclosure or re-

disclosure on the Internet or the otherwise making available of information as required under

Daniel’s Law, and their failure in doing so each constitute a separate violation under the law.




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       64.     As a result of Defendants’ failures to comply with Daniel’s Law, Plaintiffs have

suffered damages, and request all available relief.

WHEREFORE, Plaintiffs request that Judgment be entered against Defendants as follows:
   A. Ordering that Defendants immediately comply with Daniel’s Law, and cease the

       disclosure of the Individuals Plaintiffs’ and the Covered Persons’ names, home

       addresses, and unpublished home telephone numbers wherever disclosed or re-

       disclosed on the Internet or otherwise made available;

   B. Awarding actual damages, not less than liquidated damages under Daniel’s Law, at

       “$1,000 for each violation”;

   C. Awarding an additional amount in punitive damages, to be determined by the Court,

       for “willful noncompliance” as allowed under Daniel’s Law;

   D. Awarding reasonable attorneys’ fees, interest (pre and post judgment) and litigation

       costs incurred;

   E. Ordering injunctive relief requiring that Defendants comply with Daniel’s Law, and

       remove the Individual Plaintiffs’ and the Covered Persons’ protected information

       wherever disclosed;

   F. Entering equitable or other permanent injunctive relief requiring Defendants to

       comply with Daniel’s Law, including the appointment of a qualified independent

       expert to ensure that Defendants prospectively maintain compliance with Daniel’s

       Law; and

   G. Awarding such other and further relief against Defendants as the Court deems

       equitable and just.




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                                                       Respectfully Submitted,
                                                       GENOVA BURNS LLC

 Dated: February 15, 2024                              By: /s/ Rajiv D. Parikh

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                                                       (pro hac vice motions to be filed)



                         DESIGNATION OF TRIAL COUNSEL

       The Court is advised that pursuant to New Jersey Court Rules 4:5-1(c) and 4:25-4, Rajiv

D. Parikh, Esq. is hereby designated as trial counsel for Plaintiffs in this matter.



                                                       GENOVA BURNS LLC

 Dated: February 15, 2024                              By: /s/ Rajiv D. Parikh

                                                       Rajiv D. Parikh, Esq.




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                   CERTIFICATION PURSUANT TO RULE 4:5-1

       Pursuant to R. 4:5-1, it is hereby stated that the matter in controversy between the parties

hereto is not the subject of any other action pending in any other Court or of a pending arbitration

proceeding to the best of my knowledge and belief. Also, to the best of my knowledge and belief,

no other action or arbitration proceeding between the parties hereto is contemplated. Further, other

than the parties set forth in this pleading and the previous pleadings, if any, at the present time we

know of no other parties that should be joined in the within action.

                                                        GENOVA BURNS LLC

 Dated: February 15, 2024                               By: /s/ Rajiv D. Pari kh

                                                        Rajiv D. Parikh, Esq.




                 CERTIFICATION PURSUANT TO RULE 1:38-7(b)

       Pursuant to Rule 1:38-7(b), it is hereby stated that all confidential personal identifiers have

been redacted from documents now submitted to the Court and will be redacted from all documents

submitted in the future.


                                                        GENOVA BURNS LLC

 Dated: February 15, 2024                               By: /s/ Rajiv D. Pari kh

                                                        Rajiv D. Parikh, Esq.




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G E N O VA      BURNS         LLC                                   MORGAN        &MORGAN

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Scott Maloney, Justyna Maloney, Peter
Andreyev, and William Sullivan




AT L A S D ATA P R I VA C Y C O R P O R AT I O N ,                  SUPERIOR COURT OF NEW JERSEY

as assignee of individuals who are Covered                          LAW DIVISION, MERCER COUNTY
Persons, JANE DOE-1, alaw enforcement                               DOCKET NO.: MER-L-                -24

officer, JANE DOE-2, alaw enforcement
officer, EDWIN MALDONADO, SCOTT                                                  CIVIL    ACTION

MALONEY, JUSTYNA MALONEY,
PETER ANDREYEV, and WILLIAM
 S U L L I VA N ,                                                                 C O M P L A I N T



                    Plaintiffs,
          V .




SMARTY, LLC, SMARTYSTREETS, LLC,
RICHARD ROES \-\{), fictitious names of
u n k n o w n i n d i v i d u a l s a n d A B C C O M PA N I E S

 \-\Q, fictitious names of unknown entities.

                     Defendants.




        Plaintiffs Atlas Data Privacy Corporation (“Atlas”) as the assignee of individuals who are

Covered Persons under Daniel’s Law along with Jane Doe-1 (a law enforcement officer), Jane

Doe-2 (a law enforcement officer), Edwin Maldonado, Scott Maloney, Justyna Maloney, Peter




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Andreyev, and William Sullivan (collectively, “Plaintiffs”), by and through their undersigned

counsel, hereby submit this Complaint against Defendants and state as follows:

                                         INTRODUCTION

            1.   In these tumultuous times, it is critical that the most sensitive personal information

of those who serve the public be protected from unwarranted disclosure. As set forth below.

Daniel’s Law was passed unanimously by our Legislature to provide judges, law enforcement

officers, and prosecutors -and their families -with the right to prevent the disclosure of their

home addresses and unpublished home telephone numbers, and to enforce those rights against

uncooperative profit-seeking data brokers.

        2.       This complaint seeks to protect those important rights, against companies brokering

data and choosing profit and personal gain over acritical public interest and the unequivocal

mandate of the law. Companies in the business of disclosing this protected information have

avoided accountability for far too long, proffering such information, including home addresses and

unpublished home telephone numbers, without sufficient regard for the risks and consequences

imposed upon individuals who serve critical judicial and law enforcement roles.

        j    .
                 The Legislature and Governor unanimously agree that the basic safety of those who

serve -and their families -must be assured. Here, not only do the data brokers wantonly and

repeatedly disregard the law, but they also demonstrate acallousness towards the well-being of

those who serve. Our judges, law enforcement officers and prosecutors should receive the full

measure of protection afforded to them under the same laws they enforce for the safety of all

citizens.



        4.       With this action, Plaintiffs seek to enforce the important rights granted to judges,

law enforcement officers, and prosecutors imder Daniel’s Law. Consistent with the statutory

provisions. Atlas brings this action as an assignee for certain individuals, including many family

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members of law enforcement officers and prosecutors. Plaintiffs seek all available injunctive relief

and statutory damages, including to prevent any further disclosure by Defendants of infomiation

i n v i o l a t i o n o f D a n i e l ’s L a w.


                                                   BACKGROUND


               Passage of Daniel’s Law in New Jersey

               5.       In July 2020, Daniel Anderl, the son of aNew Jersey federal Judge, was shot dead

by agunman posing as aFedEx delivery man at the front door of the family’s New Jersey home.

Daniel, who was just age 20 and arising junior in college, and who aspired to practice law like his

parents, took abullet to his chest tiying to protect his parents. By the time his mother, aJudge,

came to the door to check on what happened, the killer was gone. But her husband was critically

wounded, and Daniel tragically died from the gunshot.

               6.       During the investigation, the perpetrator was found to have certain political and

personal grievances against the Judge, and went to their home that day intending to kill her.

Instead, he murdered the Judge’s son and almost succeeded in killing her husband as well.

Investigators eventually connected this attack with another shooting of an attorney in California,

who was similarly mortally gunned down answering the door to his residence to pick up asupposed

package from the same disguised gunman. Authorities concluded that the shooter was disgruntled

over certain legal cases with similar political and legal issues to what was pending before Daniel’s

m o t h e r.


               7.        Critically, the gunman was able to find the home addresses of both of his murder

victims through the various people finder resources available on the internet,* the same kind of

data broker services at issue in this case.




  https://www.cbsnews.com/news/eslher-salas-son-murder-rov-den-hollander-48-hours/.

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          New Jersey Passes Daniel’s Law in 2020


          8.     In response to the shooting of Daniel, New Jersey enacted Daniel’s Law within a

few months, in November 2020 (P.L. 2020, c. 125 codified              A. 47:1A-1, et seq. andN.J.S.A

56:8-166.1), which prohibits online data brokers from selling, publishing, and distributing the

name and address of current and former judges, law enforcement officers, and prosecutors and

their eligible family members (i.e., “covered persons”), upon any written request by the covered

person. Law enforcement personnel are expressly covered by the statute, in full recognition that

the public seiwice they provide is no less dangerous or important than those of Judges and

prosecutors.

          9.     Any such covered person may request that adata broker not “disclose or re-disclose

on the Internet or otherwise make available” their home addresses or unpublished home telephone

numbers. Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade.

mail, deliver, transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise.

o r   offer, and shall include making available or viewable within asearchable list or database.

regardless of whether asearch of such list or database is actually performed.” Data brokers must

cease disclosure of this protected information within 10 business days of receiving anondisclosure

request from acovered person.

          Congress Passes Daniel Anderl Judicial Security and Privacy Act in 2022

          10.    Similar to the actions taken by the State of New Jersey, federal judges such as U.S.

Supreme Court Chief Justice John G. Roberts Jr. proposed and supported afederal version of

Daniel’s Law. The Chief Justice was quoted stating, “[t]he law requires eveiy judge to swear an




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oath to perfomi his or her work without fear or favor, but we must support judges by ensuring their
                                                                     5,2
safety ... [a] judicial system cannot and should not live in fear.

        11 .      The federal bill, which had broad bipartisan support in both the House and Senate,

protected judges’ personally identifiable information from resale by data brokers. It allowed

federal judges to redact their personal information displayed on federal government internet sites.

        12.       The U.S. Senate voted 83-11 to pass the annual defense authorization bill, with the

Daniel Anderl Judicial Security and Privacy Act attached,^ and it was signed by President Biden."^

        Violence Against Police Officers and Judges Has Not Stopped

        13.       Judges, law enforcement officers, and prosecutors put their lives on the line every

day, which is clearly exhibited by numerous horrific stories of violence beyond the stoiy of the

murder of Daniel Anderl. For example, in 2020, three shooters openly fired upon the Camden

home of two New Jersey police officers and their 10-day old infant. That the officers were

constantly involved in the community doing good afforded them no safety from the perpetrators.^

        14.     More recently, another perpetrator hunted and killed in cold blood aMaryland

Judge, after achild custody ruling.® The killing followed that of aWisconsin Judge in 2022, where
                                                                                                    7
the perpetrator killed the retired Judge out of spite for his handling of acriminal case in 2005.




^https://www.washingtonpost.eom/politics/2022/12/31/supreme-court-roberts-leak-report/.
^https://ww^v.uscouits.gov/news/2022/12/16/congress-passes-daniel-anderl-iudicial-securitv-
and-privacy-act.
 https://www.ni.eom/politics/2022/T2/biden-signs-defense-policv-bill-that-remembers-3-new-
ierseyans.html.
®Shooters Open Fire On Home Of New Jersey Police Officers In Targeted Attack,’ Chief Says
(forbes.com).
®Judge Andrew Wilkinson: Suspect still on the run after killing ajudge at his home in a'targeted
attack' following achild custody ruling, sheriff says |CNN.
’Fonner Judge .John Roemer was killed in his Wisconsin home in atargeted attack, officials sav
CNN.

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                                          THE   PA RT I E S


       The Individual Plaintiffs


        15.    Plaintiff JANE DOE-1, whose name has been anonymized for safety reasons, is a

decorated veteran police officer working in Northern New Jersey. Between 2021 and 2022, Officer

Doe-1 participated in atask force that targeted amajor criminal organization operating in the

state. Her efforts ultimately led to the arrest and prosecution of amember of the organization’s

leadership, an individual with an extensive criminal history including threats of violence. In the

subsequent investigation, digital devices recovered from the organization’s leadership were

analyzed and photographs of Officer Doe-l’s personal residence were identified. Officer Doe-1

lives in the home with her spouse and their young child. Evidence recovered in the investigation

included night-time photography of the young child’s bedroom and playroom windows, with the

light on while the child was playing inside. Further investigation revealed that the criminal

organization’s leadership had hired aprivate investigator who searched online data broker websites

to obtain the officer’s home address. Having identified her home address, text messages confirmed

that they had initiated surveillance and were tracking Officer Doe-1 ’s movements to and from her

home, immediately prior to the task force initiating arrests.

        16.    Plaintiff JANE DOE-2, whose name has been anonymized for safety reasons, is a

veteran correctional police officer who lives in Northern New Jersey with her husband and two

young children. Earlier in her career. Officer Doe-2 was the subject of adeath threat from ahostile

inmate. The inmate stated that they intended to kill Officer Doe-2, and further implied that they

would rely upon apailicular private investigator to track down Officer Doe-2’s home address to

facilitate the murder. This death threat was investigated and considered credible enough to result

in asuccessful criminal prosecution. Part of Officer Doe-2’s current duties include working in her



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correctional facility’s law libraiy, where inmates have access to the Internet including online data

broker websites and services. Recently Officer Doe-2 and her coworkers discovered anote left

behind by an inmate which included the full name and home address of ayoung female member

of the jail’s administrative staff. The most effective ways to safeguard the security and privacy of

their home addresses -for their own safety and that of their family members -is afrequent topic

of discussion and concern among the correctional police officers working at Officer Doe-2’s

facility.

            17.   Plaintiff Officer EDWIN MALDONADO Joined the Plainfield, New Jersey police

department as apatrol officer in 2000. After afew months on the job, he was assigned to street

crimes, where he excelled at field work. In 2005, he became aDetective with Plainfield’s major

crimes unit and joined aFederal task force targeting the Mara Salvatrucha-13 (MS-13) gang in

New Jersey. He worked with the task force for the next two years. During that time period, he

received multiple credible death threats from MS-13 members. Detective Maldonado did not

believe he would be able to safeguard his home address while living in Plainfield and relocated his

family to aremote location from which he commuted to work. In 2009, because his relocation

effort had been successful and MS-13 could not locate his new home address, gang members

targeted Detective Maldonado’s mother instead. They intended to burn down her building with

her inside, but set fire to an adjacent building by mistake. Phone calls between MS-13 members

discussing the premeditated murder of Detective Maldonado and his family, and the premeditated

mui-der of Detective Maldonado’s mother, were intercepted by jail wiretaps. Later in multiple

criminal trials, evidence was entered into the record regarding these intercepted conversations and

premeditated murders, contributing to numerous successful prosecutions.




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                Plaintiffs Sergeant SCOTT MALONEY (“Sergeant Maloney”) and Officer

JUSTYNA MALONEY (“Officer Maloney”) are husband and wife, both veteran police officers

currently serving with the Rahway, New Jersey Police Department. They live together in New

Jersey with their two young children. In April of 2023, Officer Maloney responded to aroutine

call of asuspicious individual outside the Motor Vehicle Commission in Rahway. The individual

was an online content creator who often solicits police contact and then films himself debating

constitutional rights with the responding officers. Asubset of the content creator's audience is

vocally anti-police and videos posted to his social media channel have historically been the source

of harassment and intimidation campaigns directed at the officers involved. In this case, Officer

Maloney and several other responding officers were filmed discussing anumber of legal issues

with the content creator, including whether or not the content creator was required to take his hands

out of his pockets to show that he was unarmed. Overall, the encounter was routine and ended

uneventfully.

        19.     The resulting video footage was selectively edited and posted to YouTube. Almost

immediately upon the video being posted, Officer Maloney was targeted by followers of the

channel and other individuals who viewed the video. Sergeant Maloney was quickly identified by

viewers as Officer Maloney’s husband, and became atarget himself, due to their relationship as a

married couple and his own status as apolice officer. Web links to data broker websites publicly

disclosing the Maloney family’s home address and unpublished home telephone numbers were

posted along with explicit death threats and calls for violence, resulting in dozens of tlireatening

phone calls and text messages.

        20.     One of the text messages sent to Sergeant Maloney demanded money and stated

that if Sergeant Maloney did not comply then his family would “pay in blood.” The unlaiown



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messenger went on to state that they knew where the Maloneys lived and sent the full name and

home address of one of the Maloneys’ nearby relatives as proof of the messenger’s ability to gather

sensitive personal information. Sergeant Maloney refused to comply with any demands. He then

received avideo of three individuals in ski masks armed with handguns and assault rifles repeating

the extortion demand. In part of the video, amasked individual points arifle at the camera and

tells Sergeant Maloney that his family is “going to get [their] heads cut off.

               21.   Several weeks later, one of the Maloneys’ neighbors observed two suspicious

looking individuals in ski masks parked one block away from the home and alerted police.

Responding officers arrested two men -who were armed -for unlawful possession of afirearm.

Video suiweillance captured by nearby houses shows the two men circling the Maloneys’ house

immediately prior to their aiTest. Offieer Maloney and her two young children were at home at

the time.


               22.   Plaintiff Officer PETER ANDREYEV is a32-year veteran of the Point Pleasant,

New Jersey police department. Officer Andreyev currently services as the Executive Vice

President of the New Jersey State Policemen’s Benevolent Association, representing more than

33,000 active law enforcement officers throughout the state. During the course of his law

enforcement career, he has received numerous threats of violence targeted at him and his family

as aresult of his public service. Officer Andreyev has eounseled many other officers who have

been the target of violent threats on ways to protect themselves and their family members from

harm, whose protected information has been discovered and has responded to specific incidents

where protected information was used by ex-inmates to threaten, harass, or intimidate fellow

o f fi c e r s .




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         23.    Plaintiff Officer WILLIAM SULLIVAN is an 18-year veteran of the New Jersey

Department of Corrections. Since 2020, Officer Sullivan has served as the President of New Jersey

PBA Local 105, the labor union representing thousands of con-ectional police officers from the

New Jersey Department of Corrections, the Juvenile Justice Commission, and State Parole. During

the course of his law enforcement career, he has received numerous threats of violence directed at

him and his family as aresult of his public service. Inmates incarcerated within New Jersey's state

prisons frequently attempt to discover the protected infonuation of correctional officers working

in their facility. These attempts and the risks posed by such information being accessible on the

Internet is afrequent topic of discussion and concern among correctional officers and their family

members. Officer Sullivan has counseled many officers whose protected information has been

discovered and has responded to specific incidents where protected infoimation was used by ex¬

inmates to thi'eaten, harass, or intimidate fellow officers.

         Plaintiff Atlas and its Assignors


         24.    Plaintiff ATLAS DATA PRIVACY CORPORATION is aDelaware corporation,

with offices at 201 Montgomery Street, Suite 263, Jersey City, New Jersey 07302.

         25.    As permitted under Daniel’s Law, Atlas asserts claims against Defendants as the

assignee of the claims of approximately 14,532 individuals who are all “covered persons” under

Daniel’s Law (together, the “Covered Persons”), including asignificant number of individuals who

are family members of judges, law enforcement officers, and prosecutors.

         26.    The Covered Persons include individuals who reside, work or had previously

resided or worked in New Jersey, and qualify as “covered persons” as that term is defined under

Daniel’s Law, each of whom have claims against Defendants for failing to comply with Daniel’s

L a w.




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       27.     As set forth in more detail below, the Covered Persons (as well as the Individual

Plaintiffs) each exercised their rights under Daniel’s Law by sending Defendants awritten notice

requesting that Defendants cease disclosing or re-disclosing on the Internet or otherwise making

available their protected information on one or more of Defendants’ websites or tlrrough other

methods of disclosure.


       28.     Defendants have not complied with the law by ceasing the disclostue or re-

disclosure on the Internet or the othei-wise making available of protected infonuation as required

under Daniel’s Law for each of the Covered Persons (as well as each of the Individual Plaintiffs)

as required by the law.

       29.     In accordance with Daniel’s Law, each of the Covered Persons has assigned their

rights for claims thereunder against Defendants to Atlas.

       30.     Atlas provides an online platform, including an email service named AtlasMail, to

law enforcement officers, prosecutors, judges, and other covered persons. Atlas works with and

provides access to its platfonu to members of the New Jersey State Policemen’s Benevolent

Association, the Metropolitan Transportation Authority Police Benevolent Association, New

Jersey PBA Local 105, and the New Jersey State Troopers Fraternal Association, among others.

The goal of these unions and associations, since the first passage of Daniel’s Law in November

2020, was to increase the safety and well-being of their members and associated households by

helping those members to understand and assert the rights provided to them by the law.

       31.     Upon signing up for Atlas, alaw enforcement officer or other Covered Person is

asked aseries of questions to collect required personal infoimation and qualify their eligibility as

acovered person under Daniel’s Law. Once eligibility is confirmed, they are shown apage

explaining how the Atlas platform works:



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                                                     How Atlas Works

             Daniel sLaw allows you to send takedown notices to data brokers requesting that
             they not disclose or redisclose your home address or phono number. .Atlas
             provides you with tools and services to help make the process more etficiont.

               1
                     We identify data brokers that may be disclosing your personal
                     information. As of January IQIL, our system tracks over 1,000 data
                     brokers who operate in the United States.

               2
                     You select the data brokers to whom you want to send takedown
                     notices. Wo have lists ot data brokers that we recommend, morder to

                     make the selection process easier and more efficient. Alternatively, you
                     can select recipients individually.

               3
                     You review takedown notice templates. AtlasMail provides you with
                     templates tor takedown notice emails.

               A     Yo u s e n d t a k e d o w n n o t i c e s . Yo u r A t l a s s e r v i c e i n c l u d e s a n . A t l a s M a i l e m . a i l

                     a d d r e s s . Yo u c a n u s e t h i s e m a i l a d d r e s s t o s e n d t a k e d o w n n o t i c e s . M o r e

                     information about AtlasMail will be on the next screen.




                   B a c k                                                                                                             Next




       32.         AtlasMail is an email service operated by Atlas. Upon signing up with Atlas, each

law enforcement officer or other Covered Person receives their own AtlasMail account, with a

unique inbox address (e.g. iohn.doe23@atlasmail.coml for their personal use. Adescription of

AtlasMail and more information about how the email service works are provided on apage during

the signup process:




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                                         How AtlasMail Works
         Daniel sLaw allows you to send takedown notices to data brokers requesting that
         they not disclose or rodisclose your sensitive personal information,

         Atlas has created an email service,, called AtlasMail,. for its members to use tor

         this purpose.


                    Upon completing this signup process, anew email account will be created
                    tor your personal use. It will be:
                    john.doe23@atlasmail.com

             v /
                    You can access this emiail account from within the Atlas web application.

             v /
                    This email account belongs to you and you can use it however you want,
                    within certain anti-spam and simnlar limitations imiposed by our torm.s of
                    s e r v i c e .




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       33.         Having provided personal information, confirmed their eligibility for Daniel’s Law,

and progressed through several pages explaining the functions of Atlas as aplatform and AtlasMail

as an email service, the law enforcement officer or other Covered Person is then presented with a

page on which they can review their home addresses and unpublished home telephone numbers, a

takedown notice template, and arecommended list of data brokers to send notices to. On this page

the law enforcement officer or other Covered Person can choose whether or not to send takedown


notices. If they choose not to send takedown notices to the recommended list, they can select

individual recipients at alater page (as shown in the example copied below). Here, each of the

Individual Plaintiffs and Covered Persons sent Defendants atakedown notice.




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        Data Brokers Included                                                                               ISelect a:




                   People Data Labs (peoplcoatalabs coiTiI



             PEO   People Finder Free (Peoplefinderfreexom)                                                       a
               J



                   People Finders (peoplcfinders.coml                                                             a



             PEO   People Looker (pcoplelooker.com)                                                               Q
         L.



             PEO   People Search (peoplcscarch.com)                                                            ES
         L



                   People.ai (people.ai)


         r
             PEO   Peoplebackgroundcheck (people-background-chock.coml                                            a
               J



                                                                                                  Cancel   Save




                       Biy selecting the personal intormation and data brokers above and clicking "Send
                       Takedowns" below, you will Be sending alargo volume of takedown notices from your
                       AtlasMail email address iohn.dcc23patlasmail.com




       34.         Any reply or response back from adata broker to the law enforcement officer or

other Covered Person is received and displayed in their AtlasMail inbox. AtlasMail is afully

featured email service provider, and its users can reply, forward, or use their AtlasMail account as

they would any other email account:




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   AtlasMail                                                                                                              Compose


    Q


        ALL       MAIL             OirjBO/:       >SEMI           aSSIGfJMLMT COMHRMAnOMS



    Johr Doe                                      Data Subject Request ●Redaction/nondisclosure Request   11 : 4 0 P M




    John Doe                                      Data Subject Request -Redactionlnondisclosure Request   11 : 0 9 P M




    John Doe                                                                                              11 : 3 9 P M
                                                  Data Subject Request -Redaction/nondisclosure Request


    John Doe                                      Data Subject Request -Redaction/nondisclosure Request   8:29 PM




    John Doe                                      Data Subject Request -Redaction/nondisclosure Request   8:29 PM



                                                                                                          8:29       PM
    John   Doe                                    Data Subject Request -Redaction/nondisclosure Request



    John Doe                                      Data Subject Request -Redaction/nondisclosure Request   Jar    3




    John Doe                                      Data Subject Request ●Redaction/nondisclosure Request   Jar    3




    John   Doe                                    Data Subject Request ●Redaction/nondisclosure Request   Jan    3




    John Doe                                                                                              Jar 3
                                                  Data Subject Request -Redaction/nondisclosure Request


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   T o                  jot^n doc23(o)atlasmail com
   F r o m              Dnvacy(Q)cxamplodatabrc(<or.com
   D a t e              Tn, Jan 26. 202-; 8:14 Pf/




   Dear Jcf-n,




   Thank you fot youi rcdaction/nondisclcsure request pursuant New Jersey lau' P.L 2023, c.i 13, P.L.2021. c.371 (as
   amended, the Act") and Section 3ot New Jersey P.L.2015, c226 (C.56;8-166.1) (as amended, "Chapter 226'). tVe
   arc writing to confirm that Example Data Broker Inc. vj II honor your request as 'equired by the Act and Chapter
    226.




    Sincerely.


    Example Data Broker Inc.




                                                                                                Reply       Forward




             35.   With this lawsuit, Atlas seeks to enforce compliance with Daniel’s Law for those

Covered Persons. This lawsuit seeks to protect their privacy without unnecessarily putting those

individuals in the spotlight. Atlas will work with the Court and Defendants to implement a

protective order to then provide Defendants with the assignments and other information for each

of the Covered Persons.


           Defendants


             36.   Defendant Smarty, LLC is an entity that discloses or re-discloses on the Internet or

otherwise makes available the home addresses and/or unpublished home telephone numbers of

covered persons.




                                                            16




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       37.     Defendant SmartyStreets, LLC is an entity that discloses or re-discloses on the

Internet or otherwise makes available the home addresses and/or unpublished home telephone

numbers of covered persons.

       38.     Defendants Richard Roes 1-10 and ABC Companies 1-10 (collectively with the

defendants identified above referred to as the “Defendants”) are fictitious names of cuirently

unknown individuals/entities that were also involved with the violations described in this


Complaint who have not yet been identified in part due to what appears to be intentional efforts

by data brokers to conceal the specific entities involved and responsible for the disclosure of data

and information, and individuals responsible for Defendants failures to comply with the law.

       39.     Defendants offer and engage in the disclosure of data and information through one

or more websites or applications, or otherwise in New Jersey, and to businesses and individuals

who operate or reside in New Jersey. Those websites include:

       smarty.com

       40.     In accordance with Defendants’ business model, visitors, users, or customers may

obtain aname and home address and/or aname and unpublished home telephone number

(including the name and address and/or unpublished home telephone number of the Individual

Plaintiffs and Covered Persons). The following is aredacted example of the detailed information

provided by Defendants,^ in violation of Daniel’s Law:




^Consistent with the mandate of Daniel’s Law and the public policy considerations underpinning
Rule 1:38-7, personal information in the search results has been redacted from the exemplar
screenshots included herein.

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smaity

                                                                                                                                      Principal             fi n a n c i a l

                                 US Property Data                                                                                     lookups
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                                                  ●■c o n t a c t _ m a i l _ l n f o _ f o r n a t " : " s t a n d a r d . u s ” ,
                                                   "contatl_raiUng_county"^
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                                                           ■‘ d o r u B e n t _ t y p c _ d e 5 c r i p t i o n ’   'deed".




                   41.       Daniel’s Law was passed to protect those who serve from the disclosure of this

protected information by such sei-vices, which disclose such information of the Individual

Plaintiffs and Covered Persons for their own commercial interests, without sufficient regard to the

risks and consequences imposed on individuals.

                                                                       JURISDICTION AND VENUE


                   42.       This Court has jurisdiction because the parties reside and/or conduct business in

New Jersey, along with the Covered Persons, and the unlawful actions complained of herein

occurred in New Jersey.




                                                                                                                       18




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       43.     Venue is proper pursuant to 4:3-2, in that Mercer County is the county in which

one or more of the parties and/or Covered Persons reside and/or conduct business. In addition,

many of the events giving rise to this action occurred in this County.

                             FACTS     COMMON       TO ALL     COUNTS


       44.     As set forth above, New Jersey enacted Daniel’s Law in November 2020 (P.L. 2020,

c. 125 codified as A. 47:1 A-1. et sea. andN.J.S.A. 56:8-166.n.


       45.     Daniel’s Law prohibits data brokers from disclosing or re-disclosing on the Internet

or otherwise making available the home addresses or unpublished home telephone numbers of

covered persons as defined in the law, upon awritten request by those individuals.

       46.     Upon notification, and no later than 10 business days after receipt, adata broker

must not disclose or re-disclose on the Internet or otherwise make available the home addresses or


unpublished home telephone numbers of the covered person.

       47.      This includes amandate that within 10 business days of receiving anondisclosure

request, the data broker shall not disclose the protected information of the covered person.

Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade, mail, deliver.

transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise, or offer, and

shall include making available or viewable within asearchable list or database, regardless of

whether asearch of such list or database is actually performed.

       48.      Daniel’s Law was amended in 2023, as P.L. 2023, e. 113. The amendment was

passed unanimously by the Assembly on May 25, 2023, by the Senate on June 20, 2023, and was

thereafter signed by the Governor on July 20, 2023.

        49.     Certain provisions of the amended law, including changes to N.J.S.A. 56:8-166.1,

went into effect immediately.



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       50.     As of July 20, 2023, Daniel’s Law as codified in N.J.S.A. 56:8-166.1 provided:^

               3.a. (1) Upon notification pursuant to paragraph (2) of this subsection, and
               not later than 10 business days following receipt thereof, aperson, business,
               or association shall not disclose or redisclose on the Internet or otherwise
               make available, the home address or unpublished home telephone number
               of any covered person, as defined in subsection d. of this section,
               b. Aperson, business, or association that violates subsection a. of this
               section shall be liable to the covered person, or the covered person’s
               assignee, who may bring acivil action in the Superior Court,
               c. The court shall award:

                  (1) actual damages, but not less than liquidated damages computed
                  at the rate of $1,000 for each violation of this act;

                  (2) punitive damages upon proof of willful or reckless disregard of
                  the law;

                  (3) reasonable attorney’s fees and other litigation costs reasonably
                  incurred; and

                  (4) any other preliminaiy' and equitable relief as the court determines
                  to be appropriate,

               d. For the purposes of this section:

                   ...“Disclose” shall mean to solicit, sell, manufacture, give, provide,
                  lend, trade, mail, deliver, transfer, post, publish, distribute, circulate,
                  disseminate, present, exhibit, advertise or offer,,_and shall include
                  making available or viewable within asearchable list or database,
                  regardless of whether asearch of such list or database is actually
                  performed.”
       51.     Starting on or about December 28, 2023, each of the Individual Plaintiffs and all of

the Covered Persons (who assigned claims to Atlas) sent Defendants written nondisclosure

requests (via email) in accordance with Daniel’s Law, using AtlasMail.

       52.     For example, atrue and correct copy of the email directly from Plaintiff Andreyev

(with personal information redacted) is pasted here:




®https://pub.nileg.state.ni.us/Bills/2022/PL23/l 13 .PDF
                                                  20




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    Data Subject Request -Redaction/nondisclosure Request
    T o                 support (gjsmartv.com
    From                Peter Andrevov                    ®atlasmail.ccn>
    Date                Sat, Doc 30, 2023'0 32 AM UTC-0500




    Smarty
    December 30. 2023



    To W h o m I t M a v C o n c e r n :



    Iam a■Covered Person" as defined by Wow jersey law P.L. 2023, c.i '13, P.L.2021, c.3 /i (as amended, the "Act ),
    Pursuant to the Act and Section 3of New Jersey P.L.2015, c.226 (C.56:8-166.1) (as amended), Ihereby request
    that you not disclose or ro-disclosc on the Internet or otherwise make available, the following protected
    information;



    Name; Peter Andreyev


    Home Address;



    Sincerely,
    Peter Andreyev




          53.          Defendants failed to cease the disclosure or re-disclosure on the Internet or the


otherwise making available of the protected information of the Individuals Plaintiffs and Covered

Persons within the time period required by Daniel’s Law.

          54.          Even as of the date of this filing, Defendants still refuse to comply with Daniel’s

Law. Protected information of the Individual Plaintiffs and those Covered Persons who assigned

Atlas their Daniel’s Law claims against Defendants remains available from Defendants using

Defendants’ search tools or other means of disclosure.


          55.          All of the Covered Persons who sent their nondisclosure requests to Defendants

(not including the Individual Plaintiffs) have assigned their claims against Defendants to Atlas.

          56.          The Individual Plaintiffs and Atlas hereby assert claims against Defendants based

on their violation of Daniel’s Law and continuing refusal to comply with that law.




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                                          COUNT        ONE


                                          (Daniel’s Law)

        57.    The allegations of the Complaint set forth above are included herein as if set forth

at length.

        58.    The Individual Plaintiffs and Covered Persons transmitted notiee in writing to

Defendants requesting that Defendants cease disclosure of their home address and/or unpublished

home telephone number and cease its disclosure or re-disclosure on the Internet or wherever

Defendants otherwise made it available.


        59.    Defendants had an obligation under Daniel’s Law to comply with the request within

ten (10) business days.

        60.    As of the date of this fding, Defendants still refuse to eomply with Daniel’s Law.

The protected information (including home addresses and/or unpublished home telephone

numbers) of the Individual Plaintiffs and the Covered Persons remains “available or viewable

within asearehable list or database” or otherwise made available.


        61.    Defendants did not cease the disclosure or re-disclosure on the Internet or the


otherwise making available of information as required under Daniel’s Law, and their failure in

doing so each constitute aseparate violation under the law.

        62.    As aresult of Defendants’ failures to eomply with Daniel’s Law, Plaintiffs have

suffered damages, and request all available relief

        63.    As of the date of this filing, Defendants still refuse to eomply with Daniel’s Law.

The protected information of the Individual Plaintiffs and the Covered Persons remains diselosed

or otherwise made available despite proper requests for nondisclosure in violation of Daniel’s Law.

As sueh. Plaintiffs request that the Court enter all appropriate legal and equitable relief



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WHEREFORE, Plaintiffs request that Judgment be entered against Defendants as follows;

   A. Ordering that Defendants immediately comply with Daniel’s Law, and cease the

       disclosure of the Individuals Plaintiffs’ and the Covered Persons’ names, home


       addresses, and unpublished home telephone numbers wherever disclosed or re¬

       disclosed on the Internet or otherwise made available;


   B. Awarding actual damages, not less than liquidated damages under Daniel’s Law, at

       “$1,000 for each violation”;

   C. Awarding an additional amount in punitive damages, to be determined by the Court,

       for “willful noncompliance” as allowed under Daniel’s Law;

   D. Awarding reasonable attorneys’ fees, interest (pre and post judgment) and litigation

       costs incurred;


   E. Ordering injunctive relief requiring that Defendants comply with Daniel’s Law, and

       r e m o v e   the Individual Plaintiffs’ and the Covered Persons’ protected information

       wherever disclosed;


   F. Entering equitable or other permanent injunctive relief requiring Defendants to

       comply with Daniel’s law, including the appointment of aqualified independent

       expert to ensure that Defendants prospectively maintain compliance with Daniel’s

       Law; and

   G. Awarding such other and further relief against Defendants as the Court deems

       equitable and just.




                                                    23




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                                                         Respectfully Submitted,

                                                         G E N O VA B U R N S           LLC


 Dated: February 9, 2024                                 ^ y. / s / R a j i v D . P a r i k h

                                                         Rajiv D. Parikh
                                                         Kathleen Barnett Einhorn
                                                         494 Broad Street
                                                         Newark, New Jersey 07102
                                                         Tel: (973) 533-0777
                                                         Attorneys for Plaintiffs

                                                         MORGAN                  &MORGAN         COMPLEX
                                                         L I T I G AT I O N      GROUP
                                                         J o h n A . Ya n c h u n i s

                                                         Ryan J. McGee
                                                         201 North Franklin Street, 7th Floor
                                                         Tampa, FL 33602
                                                         Tel.: (813) 223-5505
                                                         Jyanchunis@ForThePeople.eom
                                                         rmcgee@ForThePeople.com

                                                         (pro hac vice motions to be filed)


                         D E S I G N AT I O N O F T R I A L C O U N S E L


       The Court is advised that pursuant to New Jersey Court Rules 4:5-1 (c) and 4:25-4, Rajiv

D. Parikh, Esq. is hereby designated as trial counsel for Plaintiffs in this matter.




                                                          G E N O VA B U R N S          LLC


 Dated: February 9, 2024                                  B y. / s / R a j i v D . P a r i k h


                                                          Rajiv D. Parikh, Esq.




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                   C E RT I F I C AT I O N P U R S U A N T TO R U L E 4 : 5 - 1


       Pursuant to IC 4:5-1, it is hereby stated that the matter in controversy between the parties

hereto is not the subject of any other action pending in any other Court or of apending arbitration

proceeding to the best of my knowledge and belief. Also, to the best of my knowledge and belief,

no other action or arbitration proceeding betw'een the parties hereto is contemplated. Further, other

than the parties set forth in this pleading and the previous pleadings, if any, at the present time we

know of no other parties that should be joined in the within action.

                                                             G E N O VA B U R N S E E C


 Dated: February 9, 2024                                     By: A/ Rajiv D. Parikh


                                                             Rajiv D. Parikh, Esq.




                 C E RT I F I C AT I O N P U R S U A N T TO R U L E l : 3 8 - 7 f b l


       Pursuant to Rule 1:38-7(b), it is hereby stated that all confidential personal identifiers have

been redacted from documents now submitted to the Court and will be redacted from all documents


submitted in the future.




                                                             G E N O VA B U R N S E E C


 Dated: February 9, 2024                                     By: A/ Rajiv D. Parikh


                                                             Rajiv D. Parikh, Esq.




                                                      2 5




                                                 JA654
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 GENOVA BURNS LLC                                    MORGAN & MORGAN
 Rajiv D. Parikh (032462005)                         John A. Yanchunis (pro hac vice to be filed)
 Kathleen Barnett Einhorn (040161992)                201 N. Franklin Street, 7th Floor
 494 Broad Street                                    Tampa, FL 33602
 Newark, New Jersey 07102                            Tel.: (813) 223-5505
 Tel.: (973) 533-0777                                jyanchunis@forthepeople.com
 rparikh@genovaburns.com
 keinhorn@genovaburns.com

 Attorneys for Plaintiffs Atlas Data Privacy
 Corporation, Jane Doe-1, a law
 enforcement officer, Jane Doe-2, a law
 enforcement officer, Edwin Maldonado,
 Scott Maloney, Justyna Maloney, Patrick
 Colligan, Peter Andreyev, and William
 Sullivan



 ATLAS DATA PRIVACY CORPORATION, SUPERIOR COURT OF NEW JERSEY
 as assignee of individuals who are Covered LAW DIVISION, BERGEN COUNTY
 Persons, JANE DOE-1, a law enforcement     DOCKET NO.: BER-L-_______-24
 officer, JANE DOE-2, a law enforcement
 officer, EDWIN MALDONADO, SCOTT                      CIVIL ACTION
 MALONEY, JUSTYNA MALONEY,
 PATRICK COLLIGAN, PETER
 ANDREYEV, and WILLIAM SULLIVAN,                       COMPLAINT

                Plaintiffs,
        v.

 E-MERGES.COM INC., RICHARD ROES
 1-10, fictitious names of unknown individuals
 and ABC COMPANIES 1-10, fictitious
 names of unknown entities,

                Defendants.



       Plaintiffs Atlas Data Privacy Corporation (“Atlas”) as the assignee of individuals who are

Covered Persons under Daniel’s Law along with Jane Doe-1 (a law enforcement officer), Jane

Doe-2 (a law enforcement officer), Edwin Maldonado, Scott Maloney, Justyna Maloney, Patrick



                                                 1

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Colligan, Peter Andreyev, and William Sullivan (collectively, “Plaintiffs”), by and through their

undersigned counsel, hereby submit this Complaint against Defendants and state as follows:

                                       INTRODUCTION
        1.     In these tumultuous times, it is critical that the most sensitive personal information

of those who serve the public be protected from unwarranted disclosure. As set forth below,

Daniel’s Law was passed unanimously by our Legislature to provide judges, law enforcement

officers, and prosecutors – and their families – with the right to prevent the disclosure of their

home addresses and unpublished home telephone numbers, and to enforce those rights against

uncooperative profit-seeking data brokers.

        2.     This complaint seeks to protect those important rights, against companies brokering

data and choosing profit and personal gain over a critical public interest and the unequivocal

mandate of the law. Companies in the business of disclosing this protected information have

avoided accountability for far too long, proffering such information, including home addresses and

unpublished home telephone numbers, without sufficient regard for the risks and consequences

imposed upon individuals who serve critical judicial and law enforcement roles.

        3.     The Legislature and Governor unanimously agree that the basic safety of those who

serve – and their families – must be assured. Here, not only do the data brokers wantonly and

repeatedly disregard the law, but they also demonstrate a callousness towards the well-being of

those who serve. Our judges, law enforcement officers and prosecutors should receive the full

measure of protection afforded to them under the same laws they enforce for the safety of all

citizens.

        4.     With this action, Plaintiffs seek to enforce the important rights granted to judges,

law enforcement officers, and prosecutors under Daniel’s Law. Consistent with the statutory

provisions, Atlas brings this action as an assignee for certain individuals, including many family

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members of law enforcement officers and prosecutors. Plaintiffs seek all available injunctive relief

and statutory damages, including to prevent any further disclosure by Defendants of information

in violation of Daniel’s Law.

                                          BACKGROUND

         Passage of Daniel’s Law in New Jersey

         5.     In July 2020, Daniel Anderl, the son of a New Jersey federal Judge, was shot dead

by a gunman posing as a FedEx delivery man at the front door of the family’s New Jersey home.

Daniel, who was just age 20 and a rising junior in college, and who aspired to practice law like his

parents, took a bullet to his chest trying to protect his parents. By the time his mother, a Judge,

came to the door to check on what happened, the killer was gone. But her husband was critically

wounded, and Daniel tragically died from the gunshot.

         6.     During the investigation, the perpetrator was found to have certain political and

personal grievances against the Judge, and went to their home that day intending to kill her.

Instead, he murdered the Judge’s son and almost succeeded in killing her husband as well.

Investigators eventually connected this attack with another shooting of an attorney in California,

who was similarly mortally gunned down answering the door to his residence to pick up a supposed

package from the same disguised gunman. Authorities concluded that the shooter was disgruntled

over certain legal cases with similar political and legal issues to what was pending before Daniel’s

mother.

         7.     Critically, the gunman was able to find the home addresses of both of his murder

victims through the various people finder resources available on the internet,1 the same kind of

data broker services at issue in this case.



1
    https://www.cbsnews.com/news/esther-salas-son-murder-roy-den-hollander-48-hours/.
                                                 3

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        New Jersey Passes Daniel’s Law in 2020

        8.      In response to the shooting of Daniel, New Jersey enacted Daniel’s Law within a

few months, in November 2020 (P.L. 2020, c. 125 codified in N.J.S.A. 47:1A-1, et seq. and N.J.S.A

56:8-166.1), which prohibits online data brokers from selling, publishing, and distributing the

name and address of current and former judges, law enforcement officers, and prosecutors and

their eligible family members (i.e., “covered persons”), upon any written request by the covered

person. Law enforcement personnel are expressly covered by the statute, in full recognition that

the public service they provide is no less dangerous or important than those of Judges and

prosecutors.

        9.      Any such covered person may request that a data broker not “disclose or re-disclose

on the Internet or otherwise make available” their home addresses or unpublished home telephone

numbers. Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade,

mail, deliver, transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise,

or offer, and shall include making available or viewable within a searchable list or database,

regardless of whether a search of such list or database is actually performed.” Data brokers must

cease disclosure of this protected information within 10 business days of receiving a nondisclosure

request from a covered person.

        Congress Passes Daniel Anderl Judicial Security and Privacy Act in 2022

        10.     Similar to the actions taken by the State of New Jersey, federal judges such as U.S.

Supreme Court Chief Justice John G. Roberts Jr. proposed and supported a federal version of

Daniel’s Law. The Chief Justice was quoted stating, “[t]he law requires every judge to swear an




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oath to perform his or her work without fear or favor, but we must support judges by ensuring their

safety … [a] judicial system cannot and should not live in fear.”2

       11.     The federal bill, which had broad bipartisan support in both the House and Senate,

protected judges’ personally identifiable information from resale by data brokers. It allowed

federal judges to redact their personal information displayed on federal government internet sites.

       12.     The U.S. Senate voted 83-11 to pass the annual defense authorization bill, with the

Daniel Anderl Judicial Security and Privacy Act attached,3 and it was signed by President Biden.4

       Violence Against Police Officers and Judges Has Not Stopped

       13.     Judges, law enforcement officers, and prosecutors put their lives on the line every

day, which is clearly exhibited by numerous horrific stories of violence beyond the story of the

murder of Daniel Anderl. For example, in 2020, three shooters openly fired upon the Camden

home of two New Jersey police officers and their 10-day old infant. That the officers were

constantly involved in the community doing good afforded them no safety from the perpetrators.5

       14.     More recently, another perpetrator hunted and killed in cold blood a Maryland

Judge, after a child custody ruling.6 The killing followed that of a Wisconsin Judge in 2022, where

the perpetrator killed the retired Judge out of spite for his handling of a criminal case in 2005.7




2
  https://www.washingtonpost.com/politics/2022/12/31/supreme-court-roberts-leak-report/.
3
  https://www.uscourts.gov/news/2022/12/16/congress-passes-daniel-anderl-judicial-security-
and-privacy-act.
4
  https://www.nj.com/politics/2022/12/biden-signs-defense-policy-bill-that-remembers-3-new-
jerseyans.html.
5
  Shooters Open Fire On Home Of New Jersey Police Officers In ‘Targeted Attack,’ Chief Says
(forbes.com).
6
  Judge Andrew Wilkinson: Suspect still on the run after killing a judge at his home in a 'targeted
attack' following a child custody ruling, sheriff says | CNN.
7
  Former Judge John Roemer was killed in his Wisconsin home in a targeted attack, officials say |
CNN.
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                                         THE PARTIES

       The Individual Plaintiffs

       15.     Plaintiff JANE DOE-1, whose name has been anonymized for safety reasons, is a

decorated veteran police officer working in Northern New Jersey. Between 2021 and 2022, Officer

Doe-1 participated in a task force that targeted a major criminal organization operating in the

state. Her efforts ultimately led to the arrest and prosecution of a member of the organization’s

leadership, an individual with an extensive criminal history including threats of violence. In the

subsequent investigation, digital devices recovered from the organization’s leadership were

analyzed and photographs of Officer Doe-1’s personal residence were identified. Officer Doe-1

lives in the home with her spouse and their young child. Evidence recovered in the investigation

included night-time photography of the young child’s bedroom and playroom windows, with the

light on while the child was playing inside. Further investigation revealed that the criminal

organization’s leadership had hired a private investigator who searched online data broker websites

to obtain the officer’s home address. Having identified her home address, text messages confirmed

that they had initiated surveillance and were tracking Officer Doe-1’s movements to and from her

home, immediately prior to the task force initiating arrests.

       16.     Plaintiff JANE DOE-2, whose name has been anonymized for safety reasons, is a

veteran correctional police officer who lives in Northern New Jersey with her husband and two

young children. Earlier in her career, Officer Doe-2 was the subject of a death threat from a hostile

inmate. The inmate stated that they intended to kill Officer Doe-2, and further implied that they

would rely upon a particular private investigator to track down Officer Doe-2’s home address to

facilitate the murder. This death threat was investigated and considered credible enough to result

in a successful criminal prosecution. Part of Officer Doe-2’s current duties include working in her



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correctional facility’s law library, where inmates have access to the Internet including online data

broker websites and services. Recently Officer Doe-2 and her coworkers discovered a note left

behind by an inmate which included the full name and home address of a young female member

of the jail’s administrative staff. The most effective ways to safeguard the security and privacy of

their home addresses - for their own safety and that of their family members - is a frequent topic

of discussion and concern among the correctional police officers working at Officer Doe-2’s

facility.

        17.    Plaintiff Officer EDWIN MALDONADO joined the Plainfield, New Jersey police

department as a patrol officer in 2000. After a few months on the job, he was assigned to street

crimes, where he excelled at field work. In 2005, he became a Detective with Plainfield’s major

crimes unit and joined a Federal task force targeting the Mara Salvatrucha-13 (MS-13) gang in

New Jersey. He worked with the task force for the next two years. During that time period, he

received multiple credible death threats from MS-13 members. Detective Maldonado did not

believe he would be able to safeguard his home address while living in Plainfield and relocated his

family to a remote location from which he commuted to work. In 2009, because his relocation

effort had been successful and MS-13 could not locate his new home address, gang members

targeted Detective Maldonado’s mother instead. They intended to burn down her building with

her inside, but set fire to an adjacent building by mistake. Phone calls between MS-13 members

discussing the premeditated murder of Detective Maldonado and his family, and the premeditated

murder of Detective Maldonado’s mother, were intercepted by jail wiretaps. Later in multiple

criminal trials, evidence was entered into the record regarding these intercepted conversations and

premeditated murders, contributing to numerous successful prosecutions.




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       18.      Plaintiffs Sergeant SCOTT MALONEY (“Sergeant Maloney”) and Officer

JUSTYNA MALONEY (“Officer Maloney”) are husband and wife, both veteran police officers

currently serving with the Rahway, New Jersey Police Department. They live together in New

Jersey with their two young children. In April of 2023, Officer Maloney responded to a routine

call of a suspicious individual outside the Motor Vehicle Commission in Rahway. The individual

was an online content creator who often solicits police contact and then films himself debating

constitutional rights with the responding officers. A subset of the content creator’s audience is

vocally anti-police and videos posted to his social media channel have historically been the source

of harassment and intimidation campaigns directed at the officers involved. In this case, Officer

Maloney and several other responding officers were filmed discussing a number of legal issues

with the content creator, including whether or not the content creator was required to take his hands

out of his pockets to show that he was unarmed. Overall, the encounter was routine and ended

uneventfully.

       19.      The resulting video footage was selectively edited and posted to YouTube. Almost

immediately upon the video being posted, Officer Maloney was targeted by followers of the

channel and other individuals who viewed the video. Sergeant Maloney was quickly identified by

viewers as Officer Maloney’s husband, and became a target himself, due to their relationship as a

married couple and his own status as a police officer. Web links to data broker websites publicly

disclosing the Maloney family’s home address and unpublished home telephone numbers were

posted along with explicit death threats and calls for violence, resulting in dozens of threatening

phone calls and text messages.

       20.      One of the text messages sent to Sergeant Maloney demanded money and stated

that if Sergeant Maloney did not comply then his family would “pay in blood.” The unknown



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messenger went on to state that they knew where the Maloneys lived and sent the full name and

home address of one of the Maloneys’ nearby relatives as proof of the messenger’s ability to gather

sensitive personal information. Sergeant Maloney refused to comply with any demands. He then

received a video of three individuals in ski masks armed with handguns and assault rifles repeating

the extortion demand. In part of the video, a masked individual points a rifle at the camera and

tells Sergeant Maloney that his family is “going to get [their] heads cut off.”

        21.    Several weeks later, one of the Maloneys’ neighbors observed two suspicious

looking individuals in ski masks parked one block away from the home and alerted

police. Responding officers arrested two men - who were armed - for unlawful possession of a

firearm. Video surveillance captured by nearby houses shows the two men circling the Maloneys’

house immediately prior to their arrest. Officer Maloney and her two young children were at home

at the time.

        22.    Plaintiff Detective PATRICK COLLIGAN is a 32-year veteran of the Franklin

Township police department in Somerset, New Jersey. Since 2014, Detective Colligan has served

as the President of the New Jersey State Policemen’s Benevolent Association, representing more

than 33,000 active law enforcement officers throughout the state. During the course of his law

enforcement career, he has received numerous threats of violence targeted at him and his family

as a result of his public service. The seriousness of certain threats necessitated the installation of

a surveillance camera system and alarm system, and training for his spouse and children about

how to respond in the event of an attack on their home.

        23.    Plaintiff Officer PETER ANDREYEV is a 32-year veteran of the Point Pleasant,

New Jersey police department. Officer Andreyev currently services as the Executive Vice

President of the New Jersey State Policemen’s Benevolent Association, representing more than



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33,000 active law enforcement officers throughout the state. During the course of his law

enforcement career, he has received numerous threats of violence targeted at him and his family

as a result of his public service. Officer Andreyev has counseled many other officers who have

been the target of violent threats on ways to protect themselves and their family members from

harm. whose protected information has been discovered and has responded to specific incidents

where protected information was used by ex-inmates to threaten, harass, or intimidate fellow

officers.

        24.    Plaintiff Officer WILLIAM SULLIVAN is an 18-year veteran of the New Jersey

Department of Corrections. Since 2020, Officer Sullivan has served as the President of New Jersey

PBA Local 105, the labor union representing thousands of correctional police officers from the

New Jersey Department of Corrections, the Juvenile Justice Commission, and State

Parole. During the course of his law enforcement career, he has received numerous threats of

violence directed at him and his family as a result of his public service. Inmates incarcerated

within New Jersey’s state prisons frequently attempt to discover the protected information of

correctional officers working in their facility. These attempts and the risks posed by such

information being accessible on the Internet is a frequent topic of discussion and concern among

correctional officers and their family members. Officer Sullivan has counseled many officers

whose protected information has been discovered and has responded to specific incidents where

protected information was used by ex-inmates to threaten, harass, or intimidate fellow officers.

        Plaintiff Atlas and its Assignors

        25.    Plaintiff ATLAS DATA PRIVACY CORPORATION is a Delaware corporation,

with offices at 201 Montgomery Street, Suite 263, Jersey City, New Jersey 07302.




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        26.    As permitted under Daniel’s Law, Atlas asserts claims against Defendants as the

assignee of the claims of approximately 18,369 individuals who are all “covered persons” under

Daniel’s Law (together, the “Covered Persons”), including a significant number of individuals who

are family members of judges, law enforcement officers, and prosecutors.

        27.    The Covered Persons include individuals who reside, work or had previously

resided or worked in New Jersey, and qualify as “covered persons” as that term is defined under

Daniel’s Law, each of whom have claims against Defendants for failing to comply with Daniel’s

Law.

        28.    As set forth in more detail below, the Covered Persons (as well as the Individual

Plaintiffs) each exercised their rights under Daniel’s Law by sending Defendants a written notice

requesting that Defendants cease disclosing or re-disclosing on the Internet or otherwise making

available their protected information on one or more of Defendants’ websites, mailing lists or

through other methods of disclosure.

        29.    Defendants have not complied with the law by ceasing the disclosure or re-

disclosure on the Internet or the otherwise making available of protected information as required

under Daniel’s Law for each of the Covered Persons (as well as each of the Individual Plaintiffs)

as required by the law.

        30.    In accordance with Daniel’s Law, each of the Covered Persons has assigned their

rights for claims thereunder against Defendants to Atlas.

        31.    Atlas provides an online platform, including an email service named AtlasMail, to

law enforcement officers, prosecutors, judges, and other covered persons. Atlas works with and

provides access to its platform to members of the New Jersey State Policemen’s Benevolent

Association, the Metropolitan Transportation Authority Police Benevolent Association, New



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Jersey PBA Local 105, and the New Jersey State Troopers Fraternal Association, among others.

The goal of these unions and associations, since the first passage of Daniel’s Law in November

2020, was to increase the safety and well-being of their members and associated households by

helping those members to understand and assert the rights provided to them by the law.

       32.     Upon signing up for Atlas, a law enforcement officer or other Covered Person is

asked a series of questions to collect required personal information and qualify their eligibility as

a Covered Person under Daniel’s Law. Once eligibility is confirmed, they are shown a page

explaining how the Atlas platform works:




       33.     AtlasMail is an email service operated by Atlas. Upon signing up with Atlas, each

law enforcement officer or other Covered Person receives their own AtlasMail account, with a

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unique inbox address (e.g. john.doe23@atlasmail.com) for their personal use. A description of

AtlasMail and more information about how the email service works are provided on a page during

the signup process:




       34.     Having provided personal information, confirmed their eligibility for Daniel’s Law,

and progressed through several pages explaining the functions of Atlas as a platform and AtlasMail

as an email service, the law enforcement officer or other Covered Person is then presented with a

page on which they can review their home addresses and unpublished home telephone numbers, a

takedown notice template, and a recommended list of data brokers to send notices to. On this page

the law enforcement officer or other Covered Person can choose whether or not to send takedown

notices. If they choose not to send takedown notices to the recommended list, they can select




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individual recipients at a later page (as shown in the example copied below). Here, each of the

Individual Plaintiffs and Covered Persons sent Defendants a takedown notice.




       35.     Any reply or response back from a data broker to the law enforcement officer or

other Covered Person is received and displayed in their AtlasMail inbox. AtlasMail is a fully

featured email service provider, and its users can reply, forward, or use their AtlasMail account as

they would any other email account:




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       36.    With this lawsuit, Atlas seeks to enforce compliance with Daniel’s Law for those

Covered Persons. This lawsuit seeks to protect their privacy without unnecessarily putting those

individuals in the spotlight. Atlas will work with the Court and Defendants to implement a

protective order to then provide Defendants with the assignments and other information for each

of the Covered Persons.

       Defendants

       37.    Defendant E-MERGES.COM INC. is an entity that discloses or re-discloses on the

Internet or otherwise makes available the home addresses and/or unpublished home telephone

numbers of covered persons.




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       38.     Defendants Richard Roes 1-10 and ABC Companies 1-10 (collectively with the

defendants identified above referred to as the “Defendants”) are fictitious names of currently

unknown individuals/entities that were also involved with the violations described in this

Complaint who have not yet been identified in part due to what appears to be intentional efforts

by data brokers to conceal the specific entities involved and responsible for the disclosure of data

and information, and individuals responsible for Defendants failures to comply with the law.

       39.     Defendants offer and engage in the disclosure of data and information through one

or more websites or applications, or mailing lists, or otherwise in New Jersey, and to businesses

and individuals who operate or reside in New Jersey. Those websites include:

       emerges.com

       40.     In accordance with Defendants’ business model, visitors, users, or customers may

obtain a name and home address and/or a name and unpublished home telephone number

(including the name and address and/or unpublished home telephone number of the Individual

Plaintiffs and Covered Persons).

       41.     Daniel’s Law was passed to protect those who serve from the disclosure of this

protected information by such services, which disclose such information of the Individual

Plaintiffs and Covered Persons for their own commercial interests, without sufficient regard to the

risks and consequences imposed on individuals.

                                JURISDICTION AND VENUE

       42.     This Court has jurisdiction because the parties reside and/or conduct business in

New Jersey, along with the Covered Persons, and the unlawful actions complained of herein

occurred in New Jersey.




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        43.     Venue is proper pursuant to R. 4:3-2, in that Bergen County is the county in which

one or more of the parties and/or Covered Persons reside and/or conduct business. In addition,

many of the events giving rise to this action occurred in this County.

                             FACTS COMMON TO ALL COUNTS

        44.     As set forth above, New Jersey enacted Daniel’s Law in November 2020 (P.L. 2020,

c. 125 codified as N.J.S.A. 47:1A-1, et seq. and N.J.S.A. 56:8-166.1).

        45.     Daniel’s Law prohibits data brokers from disclosing or re-disclosing on the Internet

or otherwise making available the home addresses or unpublished home telephone numbers of

covered persons as defined in the law, upon a written request by those individuals.

        46.     Upon notification, and no later than 10 business days after receipt, a data broker

must not disclose or re-disclose on the Internet or otherwise make available the home addresses or

unpublished home telephone numbers of the covered person.

        47.     This includes a mandate that within 10 business days of receiving a nondisclosure

request, the data broker shall not disclose the protected information of the covered person.

Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade, mail, deliver,

transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise, or offer, and

shall include making available or viewable within a searchable list or database, regardless of

whether a search of such list or database is actually performed.”

        48.     Daniel’s Law was amended in 2023, as P.L. 2023, c. 113. The amendment was

passed unanimously by the Assembly on May 25, 2023, by the Senate on June 20, 2023, and was

thereafter signed by the Governor on July 20, 2023.

        49.     Certain provisions of the amended law, including changes to N.J.S.A. 56:8-166.1,

went into effect immediately.



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         50.     As of July 20, 2023, Daniel’s Law as codified in N.J.S.A. 56:8-166.1 provided:8

                        3.a. (1) Upon notification pursuant to paragraph (2) of this
                        subsection, and not later than 10 business days following receipt
                        thereof, a person, business, or association shall not disclose or
                        redisclose on the Internet or otherwise make available, the home
                        address or unpublished home telephone number of any covered
                        person, as defined in subsection d. of this section.
                        b. A person, business, or association that violates subsection a. of
                        this section shall be liable to the covered person, or the covered
                        person’s assignee, who may bring a civil action in the Superior
                        Court.
                        c. The court shall award:
                                (1) actual damages, but not less than liquidated damages
                                computed at the rate of $1,000 for each violation of this
                                act;
                                (2) punitive damages upon proof of willful or reckless
                                disregard of the law;
                                (3) reasonable attorney’s fees and other litigation costs
                                reasonably incurred; and
                                (4) any other preliminary and equitable relief as the court
                                determines to be appropriate.
                        d. For the purposes of this section:
                                …“Disclose” shall mean to solicit, sell, manufacture,
                                give, provide, lend, trade, mail, deliver, transfer, post,
                                publish, distribute, circulate, disseminate, present,
                                exhibit, advertise or offer, and shall include making
                                available or viewable within a searchable list or
                                database, regardless of whether a search of such list or
                                database is actually performed.”
         51.     Starting on or about December 25, 2023, each of the Individual Plaintiffs and all of

the Covered Persons (who assigned claims to Atlas) sent Defendants written nondisclosure

requests (via email) in accordance with Daniel’s Law, using AtlasMail.




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    https://pub.njleg.state.nj.us/Bills/2022/PL23/113_.PDF
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       52.     For example, a true and correct copy of the email directly from Plaintiff Andreyev

(with personal information redacted) is pasted here:




       53.     Defendants failed to cease the disclosure or re-disclosure on the Internet or the

otherwise making available of the protected information of the Individuals Plaintiffs and Covered

Persons within the time period required by Daniel’s Law.

       54.     Even as of the date of this filing, Defendants still refuse to comply with Daniel’s

Law. Protected information of the Individual Plaintiffs and those Covered Persons who assigned

Atlas their Daniel’s Law claims against Defendants remains available from Defendants using

Defendants’ search tools or other means of disclosure.



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        55.    All of the Covered Persons who sent their nondisclosure requests to Defendants

(not including the Individual Plaintiffs) have assigned their claims against Defendants to Atlas.

        56.    The Individual Plaintiffs and Atlas hereby assert claims against Defendants based

on their violation of Daniel’s Law and continuing refusal to comply with that law.

                                          COUNT ONE

                                          (Daniel’s Law)

        57.    The allegations of the Complaint set forth above are included herein as if set forth

at length.

        58.    The Individual Plaintiffs and Covered Persons transmitted notice in writing to

Defendants requesting that Defendants cease disclosure of their home address and/or unpublished

home telephone number and cease its disclosure or re-disclosure on the Internet or wherever

Defendants otherwise made it available.

        59.    Defendants had an obligation under Daniel’s Law to comply with the request within

ten (10) business days.

        60.    As of the date of this filing, Defendants still refuse to comply with Daniel’s Law.

The protected information (including home addresses and/or unpublished home telephone

numbers) of the Individual Plaintiffs and the Covered Persons remains “available or viewable

within a searchable list or database” or otherwise made available.

        61.    Defendants did not cease the disclosure or re-disclosure on the Internet or the

otherwise making available of information as required under Daniel’s Law, and their failure in

doing so each constitute a separate violation under the law.

        62.    As a result of Defendants’ failures to comply with Daniel’s Law, Plaintiffs have

suffered damages, and request all available relief.



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       63.     As of the date of this filing, Defendants still refuse to comply with Daniel’s Law.

The protected information of the Individual Plaintiffs and the Covered Persons remains disclosed

or otherwise made available despite proper requests for nondisclosure in violation of Daniel’s Law.

As such, Plaintiffs request that the Court enter all appropriate legal and equitable relief.

WHEREFORE, Plaintiffs request that Judgment be entered against Defendants as follows:
   A. Ordering that Defendants immediately comply with Daniel’s Law, and cease the disclosure

       of the Individuals Plaintiffs’ and the Covered Persons’ names, home addresses, and

       unpublished home telephone numbers wherever disclosed or re-disclosed on the Internet

       or otherwise made available;

   B. Awarding actual damages, not less than liquidated damages under Daniel’s Law, at “$1,000

       for each violation”;

   C. Awarding an additional amount in punitive damages, to be determined by the Court, for

       “willful noncompliance” as allowed under Daniel’s Law;

   D. Awarding reasonable attorneys’ fees, interest (pre and post judgment) and litigation costs

       incurred;

   E. Ordering injunctive relief requiring that Defendants comply with Daniel’s Law, and

       remove the Individual Plaintiffs’ and the Covered Persons’ protected information wherever

       disclosed;

   F. Entering equitable or other permanent injunctive relief requiring Defendants to comply

       with Daniel’s law, including the appointment of a qualified independent expert to ensure

       that Defendants prospectively maintain compliance with Daniel’s Law; and

   G. Awarding such other and further relief against Defendants as the Court deems equitable

       and just.



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                                                       Respectfully Submitted,
                                                       GENOVA BURNS LLC

 Dated: February 7, 2024                               By: /s/ Rajiv D. Parikh

                                                       Rajiv D. Parikh
                                                       Kathleen Barnett Einhorn
                                                       494 Broad Street
                                                       Newark, New Jersey 07102
                                                       Tel: (973) 533-0777

                                                       Attorneys for Plaintiffs


                                                       MORGAN & MORGAN COMPLEX
                                                       LITIGATION GROUP
                                                       John A. Yanchunis
                                                       Ryan J. McGee
                                                       201 North Franklin Street, 7th Floor
                                                       Tampa, FL 33602
                                                       Tel.: (813) 223-5505
                                                       jyanchunis@ForThePeople.com
                                                       rmcgee@ForThePeople.com

                                                       (pro hac vice motions to be filed)


                            DESIGNATION OF TRIAL COUNSEL

       The Court is advised that pursuant to New Jersey Court Rules 4:5-1(c) and 4:25-4, Rajiv

D. Parikh, Esq. is hereby designated as trial counsel for Plaintiffs in this matter.



                                                       GENOVA BURNS LLC

 Dated: February 7, 2024                               By: /s/ Rajiv D. Parikh

                                                       Rajiv D. Parikh, Esq.




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                       CERTIFICATION PURSUANT TO RULE 4:5-1

       Pursuant to R. 4:5-1, it is hereby stated that the matter in controversy between the parties

hereto is not the subject of any other action pending in any other Court or of a pending arbitration

proceeding to the best of my knowledge and belief. Also, to the best of my knowledge and belief,

no other action or arbitration proceeding between the parties hereto is contemplated. Further, other

than the parties set forth in this pleading and the previous pleadings, if any, at the present time we

know of no other parties that should be joined in the within action.

                                                        GENOVA BURNS LLC

 Dated: February 7, 2024                                By: /s/ Rajiv D. Parikh

                                                        Rajiv D. Parikh, Esq.




                     CERTIFICATION PURSUANT TO RULE 1:38-7(b)

       Pursuant to Rule 1:38-7(b), it is hereby stated that all confidential personal identifiers have

been redacted from documents now submitted to the Court and will be redacted from all documents

submitted in the future.


                                                        GENOVA BURNS LLC

 Dated: February 7, 2024                                By: /s/ Rajiv D. Parikh

                                                        Rajiv D. Parikh, Esq.




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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


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 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-3993
 BLACKBAUD, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-3998
 WHITEPAGES, INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4000
 HIYA, INC., et al.            :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4037
 WE INFORM, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4041
 INFOMATICS, LLC, et al.       :
________________________________________________________________



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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4045
 THE PEOPLE SEARCHERS, LLC,    :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4073
 COMMERCIAL REAL ESTATE        :
 EXCHANGE, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4075
 DM GROUP, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4077
 CARCO GROUP INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4080
 DELUXE CORPORATION, et al.    :
________________________________________________________________




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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4095
 TWILIO INC., et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4096
 DELVEPOINT, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4098
 QUANTARIUM ALLIANCE, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4103
 YARDI SYSTEMS, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4104
 6SENSE INSIGHTS, INC.,        :
 et al.                        :
________________________________________________________________




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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4105
 LIGHTBOX PARENT, L.P.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4106
 SEARCH QUARRY, LLC, et al.    :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4107
 ACXIOM, LLC, et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4110
 ENFORMION, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4111
 COSTAR GROUP, INC., et al.    :
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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4112
 ORACLE INTERNATIONAL          :
 CORPORATION, et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4113
 RED VIOLET, INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4114
 RE/MAX, LLC, et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4141
 DIGITAL SAFETY PRODUCTS,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4143
 CIVIL DATA RESEARCH           :
________________________________________________________________




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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4160
 SCALABLE COMMERCE, LLC,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4168
 EPSILON DATA MANAGEMENT,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4171
 PEOPLE DATA LABS, INC.,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4174
 LABELS & LISTS, INC           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4175
 CLARITAS, LLC, et al.         :
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 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4176
 INNOVIS DATA SOLUTIONS INC., :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4178
 ACCURATE APPEND, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4181
 DATA AXLE, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4182
 REMINE INC., et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4184
 LUSHA SYSTEMS, INC, et al.    :
________________________________________________________________




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 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4217
 TELTECH SYSTEMS, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4227
 PEOPLECONNECT, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4230
 CORELOGIC, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4233
 BLACK KNIGHT TECHNOLOGIES,    :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4256
 ZILLOW, INC., et al.          :
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 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4261
 EQUIMINE, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4269
 THOMSON REUTERS CORPORATION, :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4271
 CHOREOGRAPH LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4288
 TRANSUNION, LLC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4292
 MELISSA DATA CORP., et al.    :
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 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4298
 EQUIFAX INC., et al.           :
________________________________________________________________

  ATLAS DATA PRIVACY                   :                CIVIL ACTION
  CORPORATION, et al.                  :
                                       :
          V.                           :
                                       :                 NO. 24-4299
  SPOKEO, INC, et al.                  :
 _____________________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4324
 RESTORATION OF AMERICA,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4345
  i360, LLC, et al.             :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4354
  TELNYX LLC, et al.            :
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 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4380
  GOHUNT, LLC, et al.           :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4383
  ACCUZIP, INC., et al.         :
 ________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4385
 SYNAPTIX TECHNOLOGY, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4389
 JOY ROCKWELL ENTERPRISES,     :
 INC., et al.                  :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4390
 FORTNOFF FINANCIAL, LLC,      :
 et al.                        :
________________________________________________________________




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 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4392
  MYHERITAGE, LTD., et al.      :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4434
  E-MERGES.COM, INC.            :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4442
  WILAND, INC., et al.          :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4447
  ATDATA, LLC, et al.           :
 ________________________________________________________________


 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
        v.                      :
                                :            NO. 24-4571
PRECISELY HOLDINGS, LLC,        :
et al.                         :
________________________________________________________________




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 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4609
 NUWBER, INC., et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4664
 ROCKETREACH LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4696
 OUTSIDE INTERACTIVE, INC.      :
________________________________________________________________

 ATLAS DATA PRIVACY             :            CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4770
 VALASSIS DIGITAL CORP.,        :
 et al.                         :
_______________________________________________________________

 ATLAS DATA PRIVACY             :            CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4850
 THE LIFETIME VALUE CO. LLC,    :
 et al.                         :
________________________________________________________________




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                                          JA716
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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4949
 BELLES CAMP COMMUNICATIONS,    :
 INC., et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5334
 FIRST AMERICAN FINANCIAL       :
 CORPORATION, et al.            :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5600
 PROPERTYRADAR, INC., ET AL.    :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5656
 THE ALESCO GROUP, L.L.C.       :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5658
 SEARCHBUG, INC.                :
________________________________________________________________




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                                       JA717
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 ATLAS DATA PRIVACY                     :                  CIVIL ACTION
 CORPORATION, et al.                    :
                                        :
          v.                            :
                                        :                  NO. 24-5775
 AMERILIST, INC., et al.                :



                                       ORDER

           AND NOW, this 8th day of May 2024, after a status

conference with counsel, it is hereby ORDERED that:

           (1)   Defendants in the above actions that are not

subject to a motion by Plaintiffs to remand shall file on or

before June 10, 2024 any motions to dismiss on the ground that

Daniel’s Law, N.J. Stat. Ann. §§ 47:1A-1, et seq., and 56:8-

166.1, is unconstitutional on its face, together with a

consolidated brief.       The consolidated brief shall not exceed 50

pages.

           (2)   Any such Defendant that seeks to file an

individual brief in support of such motion shall do so on or

before June 14, 2024.       It shall not be repetitive of the

consolidated brief.       The individual brief shall not exceed 10

pages.

           (3)   Plaintiffs, on or before July 15, 2024, shall

file a consolidated brief in opposition to Defendants’ motions

to dismiss.    Such brief shall not exceed 55 pages.




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                                       JA718
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           (4)   Such Defendants, on or before July 30, 2024,

shall file any consolidated reply brief and any individual reply

briefs.   The consolidated reply brief shall not exceed 25 pages

and any individual reply brief shall not exceed 5 pages.

           (5)   Any Defendant that is not subject to a remand

motion and that files a motion challenging the constitutionality

of Daniel’s Law on its face is not deemed to have waived any

other ground for dismissal of the Complaint, including but not

limited to a challenge to the constitutionality of Daniel’s Law

as applied, personal jurisdiction, venue, and arbitrability.

           (6)   Any Defendant that is not subject to a remand

motion and that does not file a motion to dismiss on the ground

that Daniel’s Law is unconstitutional on its face shall file any

motion to dismiss on any other ground on or before June 10,

2024, together with any supporting brief.

           (7)   Any Defendant that is not subject to a remand

motion and that does not file a motion to dismiss on any ground

shall file an Answer on or before June 10, 2024.

           (8)   Any Defendant in the above actions that is

subject to a remand motion will be permitted to participate in

the briefing on the constitutional issue pursuant to the

schedule set forth in Paragraphs (1) through (4) in this order.




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                                       JA719
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           (9)   The participation in the briefing on the

constitutional issue by any Defendant that is subject to a

remand motion shall not be deemed a waiver of any defenses it

may have if this court ultimately determines that it has subject

matter jurisdiction.

           (10) These actions are stayed pending further order of

the court, except as set forth in this order and except as to

discovery and briefing on subject matter jurisdiction over the

Defendants that are subject to remand motions.



                                              BY THE COURT:



                                              /s/ Harvey Bartle III
                                                                                  J.




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                                       JA720
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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-3993
 BLACKBAUD, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-3998
 WHITEPAGES, INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4000
 HIYA, INC., et al.            :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4037
 WE INFORM, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4041
 INFOMATICS, LLC, et al.       :
________________________________________________________________



                                       JA721
         Case: 25-1555     Document: 25      Page: 257    Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4045
 THE PEOPLE SEARCHERS, LLC,    :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4073
 COMMERCIAL REAL ESTATE        :
 EXCHANGE, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4075
 DM GROUP, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4077
 CARCO GROUP INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4080
 DELUXE CORPORATION, et al.    :
________________________________________________________________




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                                          JA722
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4095
 TWILIO INC., et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4096
 DELVEPOINT, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4098
 QUANTARIUM ALLIANCE, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4103
 YARDI SYSTEMS, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4104
 6SENSE INSIGHTS, INC.,        :
 et al.                        :
________________________________________________________________




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                                          JA723
         Case: 25-1555     Document: 25      Page: 259    Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4105
 LIGHTBOX PARENT, L.P.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4106
 SEARCH QUARRY, LLC, et al.    :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4107
 ACXIOM, LLC, et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4110
 ENFORMION, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4111
 COSTAR GROUP, INC., et al.    :
________________________________________________________________




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                                          JA724
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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4112
 ORACLE INTERNATIONAL          :
 CORPORATION, et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4113
 RED VIOLET, INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4114
 RE/MAX, LLC, et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4141
 DIGITAL SAFETY PRODUCTS,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4143
 CIVIL DATA RESEARCH           :
________________________________________________________________




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                                          JA725
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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4160
 SCALABLE COMMERCE, LLC,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4168
 EPSILON DATA MANAGEMENT,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4171
 PEOPLE DATA LABS, INC.,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4174
 LABELS & LISTS, INC           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4175
 CLARITAS, LLC, et al.         :
________________________________________________________________




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                                          JA726
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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4176
 INNOVIS DATA SOLUTIONS INC., :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4178
 ACCURATE APPEND, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4181
 DATA AXLE, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4182
 REMINE INC., et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4184
 LUSHA SYSTEMS, INC, et al.    :
________________________________________________________________




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                                          JA727
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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4217
 TELTECH SYSTEMS, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4227
 PEOPLECONNECT, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4230
 CORELOGIC, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4233
 BLACK KNIGHT TECHNOLOGIES,    :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4256
 ZILLOW, INC., et al.          :
________________________________________________________________




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                                          JA728
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4261
 EQUIMINE, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4269
 THOMSON REUTERS CORPORATION, :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4271
 CHOREOGRAPH LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4288
 TRANSUNION, LLC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4292
 MELISSA DATA CORP., et al.    :
________________________________________________________________




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                                          JA729
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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4298
 EQUIFAX INC., et al.           :
________________________________________________________________

  ATLAS DATA PRIVACY                   :                CIVIL ACTION
  CORPORATION, et al.                  :
                                       :
          V.                           :
                                       :                 NO. 24-4299
  SPOKEO, INC, et al.                  :
 _____________________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4324
 RESTORATION OF AMERICA,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4345
  i360, LLC, et al.             :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4354
  TELNYX LLC, et al.            :
 ________________________________________________________________




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                                           JA730
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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4380
  GOHUNT, LLC, et al.           :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4383
  ACCUZIP, INC., et al.         :
 ________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4385
 SYNAPTIX TECHNOLOGY, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4389
 JOY ROCKWELL ENTERPRISES,     :
 INC., et al.                  :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4390
 FORTNOFF FINANCIAL, LLC,      :
 et al.                        :
________________________________________________________________




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                                          JA731
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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4392
  MYHERITAGE, LTD., et al.      :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4434
  E-MERGES.COM, INC.            :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4442
  WILAND, INC., et al.          :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4447
  ATDATA, LLC, et al.           :
 ________________________________________________________________


 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
        v.                      :
                                :            NO. 24-4571
PRECISELY HOLDINGS, LLC,        :
et al.                         :
________________________________________________________________




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                                          JA732
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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4609
 NUWBER, INC., et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4664
 ROCKETREACH LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4696
 OUTSIDE INTERACTIVE, INC.      :
________________________________________________________________

 ATLAS DATA PRIVACY             :            CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4770
 VALASSIS DIGITAL CORP.,        :
 et al.                         :
_______________________________________________________________

 ATLAS DATA PRIVACY             :            CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4850
 THE LIFETIME VALUE CO. LLC,    :
 et al.                         :
________________________________________________________________




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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4949
 BELLES CAMP COMMUNICATIONS,    :
 INC., et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5334
 FIRST AMERICAN FINANCIAL       :
 CORPORATION, et al.            :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5600
 PROPERTYRADAR, INC., ET AL.    :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5656
 THE ALESCO GROUP, L.L.C.       :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5658
 SEARCHBUG, INC.                :
________________________________________________________________




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                                       JA734
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 ATLAS DATA PRIVACY                      :                 CIVIL ACTION
 CORPORATION, et al.                     :
                                         :
          v.                             :
                                         :                 NO. 24-5775
 AMERILIST, INC., et al.                 :

________________________________________________________________

 ATLAS DATA PRIVACY                      :                 CIVIL ACTION
 CORPORATION, et al.                     :
                                         :
          v.                             :
                                         :   NO. 24-6160
 LEXISNEXIS RISK DATA                    :
 MANAGEMENT, LLC, et al.
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-7324
 US DATA CORPORATION, et al.    :
________________________________________________________________


                                       ORDER

           AND NOW, this 10th day of July 2024, it is hereby

ORDERED that:

           (1)   The Court’s orders of May 8, 2024 and June 3,

2024 are VACATED.

           (2)   Plaintiffs and the Attorney General of New

Jersey, on or before August 5, 2024, shall file their briefs in

opposition to Defendants’ motions to dismiss on the ground that

Daniel’s Law, N.J. Stat. Ann. §§ 47:1A-1, et seq., and 56:8-

166.1, is unconstitutional on its face.


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                                       JA735
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           (3)   Neither the consolidated brief of Plaintiffs nor

the brief of the Attorney General of New Jersey shall exceed 55

pages.

           (4)   Defendants, on or before August 30, 2024, shall

file any consolidated reply brief and any individual reply

briefs.   The consolidated reply brief shall not exceed 40 pages

and any individual reply brief shall not exceed 5 pages.

           (5)   Any Defendant that is not subject to a remand

motion and that files a motion challenging the constitutionality

of Daniel’s Law on its face is not deemed to have waived any

other ground for dismissal of the Complaint, including but not

limited to a challenge to the constitutionality of Daniel’s Law

as applied, personal jurisdiction, venue, and arbitrability.

           (6)   Any Defendant in the above actions that is

subject to a remand motion will be permitted to participate in

the briefing on the constitutional issue pursuant to the

schedule set forth in this order.

           (7)   The participation in the briefing on the

constitutional issue by any Defendant that is subject to a

remand motion shall not be deemed a waiver of any defenses it

may have if this court ultimately determines that it has subject

matter jurisdiction.




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                                       JA736
     Case: 25-1555      Document: 25    Page: 272        Date Filed: 04/14/2025

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           (8)   These actions are stayed pending further order of

the court, except as set forth in this order and except as to

discovery and briefing on subject matter jurisdiction over the

Defendants that are subject to remand motions.

           (9)   Any entity seeking to file an amicus brief

regarding the facial challenge to the constitutionality of

Daniel’s Law shall file on or before August 1, 2024 a petition

to do so together with said amicus brief.                The amicus brief

shall not exceed 30 pages.



                                              BY THE COURT:



                                              /s/ Harvey Bartle III
                                                                                  J.




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                                       JA737
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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-3993
 BLACKBAUD, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-3998
 WHITEPAGES, INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4000
 HIYA, INC., et al.            :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4037
 WE INFORM, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4041
 INFOMATICS, LLC, et al.       :
________________________________________________________________



                                       JA738
         Case: 25-1555     Document: 25      Page: 274    Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4045
 THE PEOPLE SEARCHERS, LLC,    :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4073
 COMMERCIAL REAL ESTATE        :
 EXCHANGE, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4075
 DM GROUP, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4077
 CARCO GROUP INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4080
 DELUXE CORPORATION, et al.    :
________________________________________________________________




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                                          JA739
         Case: 25-1555     Document: 25      Page: 275    Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4095
 TWILIO INC., et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4096
 DELVEPOINT, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4098
 QUANTARIUM ALLIANCE, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4103
 YARDI SYSTEMS, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4104
 6SENSE INSIGHTS, INC.,        :
 et al.                        :
________________________________________________________________




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                                          JA740
         Case: 25-1555     Document: 25      Page: 276    Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4105
 LIGHTBOX PARENT, L.P.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4106
 SEARCH QUARRY, LLC, et al.    :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4107
 ACXIOM, LLC, et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4110
 ENFORMION, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4111
 COSTAR GROUP, INC., et al.    :
________________________________________________________________




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                                          JA741
         Case: 25-1555     Document: 25      Page: 277    Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4112
 ORACLE INTERNATIONAL          :
 CORPORATION, et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4113
 RED VIOLET, INC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4114
 RE/MAX, LLC, et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4141
 DIGITAL SAFETY PRODUCTS,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4143
 CIVIL DATA RESEARCH           :
________________________________________________________________




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                                          JA742
         Case: 25-1555     Document: 25      Page: 278    Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4160
 SCALABLE COMMERCE, LLC,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4168
 EPSILON DATA MANAGEMENT,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4171
 PEOPLE DATA LABS, INC.,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4174
 LABELS & LISTS, INC           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4175
 CLARITAS, LLC, et al.         :
________________________________________________________________




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                                          JA743
         Case: 25-1555     Document: 25      Page: 279    Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4176
 INNOVIS DATA SOLUTIONS INC., :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4178
 ACCURATE APPEND, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4181
 DATA AXLE, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4182
 REMINE INC., et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4184
 LUSHA SYSTEMS, INC, et al.    :
________________________________________________________________




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                                          JA744
         Case: 25-1555     Document: 25      Page: 280    Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4217
 TELTECH SYSTEMS, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4227
 PEOPLECONNECT, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4230
 CORELOGIC, INC., et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4233
 BLACK KNIGHT TECHNOLOGIES,    :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4256
 ZILLOW, INC., et al.          :
________________________________________________________________




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                                          JA745
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4261
 EQUIMINE, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4269
 THOMSON REUTERS CORPORATION, :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4271
 CHOREOGRAPH LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4288
 TRANSUNION, LLC., et al.      :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4292
 MELISSA DATA CORP., et al.    :
________________________________________________________________




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                                          JA746
          Case: 25-1555    Document: 25      Page: 282     Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4298
 EQUIFAX INC., et al.           :
________________________________________________________________

  ATLAS DATA PRIVACY                   :                CIVIL ACTION
  CORPORATION, et al.                  :
                                       :
          V.                           :
                                       :                 NO. 24-4299
  SPOKEO, INC, et al.                  :
 _____________________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4324
 RESTORATION OF AMERICA,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4345
  i360, LLC, et al.             :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4354
  TELNYX LLC, et al.            :
 ________________________________________________________________




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                                           JA747
         Case: 25-1555     Document: 25       Page: 283     Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4380
  GOHUNT, LLC, et al.           :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4383
  ACCUZIP, INC., et al.         :
 ________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4385
 SYNAPTIX TECHNOLOGY, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4389
 JOY ROCKWELL ENTERPRISES,     :
 INC., et al.                  :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4390
 FORTNOFF FINANCIAL, LLC,      :
 et al.                        :
________________________________________________________________




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                                          JA748
         Case: 25-1555     Document: 25       Page: 284     Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4392
  MYHERITAGE, LTD., et al.      :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4434
  E-MERGES.COM, INC.            :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4442
  WILAND, INC., et al.          :
 ________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4447
  ATDATA, LLC, et al.           :
 ________________________________________________________________


 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
        v.                      :
                                :            NO. 24-4571
PRECISELY HOLDINGS, LLC,        :
et al.                         :
________________________________________________________________




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                                          JA749
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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4609
 NUWBER, INC., et al.           :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4664
 ROCKETREACH LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4696
 OUTSIDE INTERACTIVE, INC.      :
________________________________________________________________

 ATLAS DATA PRIVACY             :            CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4770
 VALASSIS DIGITAL CORP.,        :
 et al.                         :
_______________________________________________________________

 ATLAS DATA PRIVACY             :            CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4850
 THE LIFETIME VALUE CO. LLC,    :
 et al.                         :
________________________________________________________________




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                                          JA750
     Case: 25-1555      Document: 25    Page: 286        Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4949
 BELLES CAMP COMMUNICATIONS,    :
 INC., et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5334
 FIRST AMERICAN FINANCIAL       :
 CORPORATION, et al.            :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5600
 PROPERTYRADAR, INC., ET AL.    :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5656
 THE ALESCO GROUP, L.L.C.       :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-5658
 SEARCHBUG, INC.                :
________________________________________________________________




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                                       JA751
     Case: 25-1555      Document: 25     Page: 287        Date Filed: 04/14/2025

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 ATLAS DATA PRIVACY                      :                 CIVIL ACTION
 CORPORATION, et al.                     :
                                         :
          v.                             :
                                         :                 NO. 24-5775
 AMERILIST, INC., et al.                 :

________________________________________________________________

 ATLAS DATA PRIVACY                      :                 CIVIL ACTION
 CORPORATION, et al.                     :
                                         :
          v.                             :
                                         :   NO. 24-6160
 LEXISNEXIS RISK DATA                    :
 MANAGEMENT, LLC, et al.
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-7324
 US DATA CORPORATION, et al.    :
________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-8075
 SMARTY, LLC, et al.            :
________________________________________________________________



                                       ORDER

           AND NOW, this 15th day of August, 2024, it is hereby

ORDERED that:

           (1)   The Court’s order of July 10, 2024 is VACATED.

           (2)   Defendants in the above actions, on or before

September 13, 2024, shall file any consolidated reply brief and

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                                       JA752
     Case: 25-1555      Document: 25    Page: 288        Date Filed: 04/14/2025

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any individual reply briefs in support of their motions to

dismiss on the ground that Daniel’s Law, N.J. Stat. Ann.

§§ 47:1A-1, et seq., and 56:8-166.1, is unconstitutional on its

face.   The consolidated reply brief shall not exceed 40 pages

and any individual reply brief shall not exceed 5 pages.                   NO

FURTHER CONTINUANCES WILL BE GRANTED.

           (3)   Any Defendant that is not subject to a remand

motion and that files a motion challenging the constitutionality

of Daniel’s Law on its face is not deemed to have waived any

other ground for dismissal of the Complaint, including but not

limited to a challenge to the constitutionality of Daniel’s Law

as applied, personal jurisdiction, venue, and arbitrability.

           (4)   Any Defendant in the above actions that is

subject to a remand motion will be permitted to participate in

the briefing on the constitutional issue pursuant to the

schedule set forth in this order.

           (5)   The participation in the briefing on the

constitutional issue by any Defendant that is subject to a

remand motion shall not be deemed a waiver of any defenses it

may have if this court ultimately determines that it has subject

matter jurisdiction.




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                                       JA753
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           (6)   These actions are stayed pending further order of

the court, except as set forth in this order and except as to

discovery and briefing on subject matter jurisdiction over the

Defendants that are subject to remand motions.



                                              BY THE COURT:



                                              /s/ Harvey Bartle III
                                                                                  J.




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                                       JA754
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           DECLARATION OF
            SERRIN TURNER

       (FILED UNDER SEAL)




                                    JA755
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                       EXHIBIT 1




                                    JA756
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       1:24-cv-03993-HB Document
                         Document27-2
                                  1-1 Filed 06/10/24
                                            03/19/24 Page 2 of 24
                                                               28 PageID: 854
                                                                          26




 GENOVA BURNS LLC                                   MORGAN & MORGAN
 Rajiv D. Parikh (032462005)                        John A. Yanchunis (pro hac vice to be filed)
 Kathleen Barnett Einhorn (040161992)               201 N. Franklin Street, 7th Floor
 494 Broad Street                                   Tampa, FL 33602
 Newark, New Jersey 07102                           Tel.: (813) 223-5505
 Tel.: (973) 533-0777                               jyanchunis@forthepeople.com
 rparikh@genovaburns.com
 keinhorn@genovaburns.com

 Attorneys for Plaintiffs Atlas Data Privacy
 Corporation, Jane Doe-1, a law
 enforcement officer, Jane Doe-2, a law
 enforcement officer, Edwin Maldonado,
 Scott Maloney, Justyna Maloney, Patrick
 Colligan, Peter Andreyev and William
 Sullivan



 ATLAS DATA PRIVACY CORPORATION, SUPERIOR COURT OF NEW JERSEY
 as assignee of individuals who are Covered LAW DIVISION, MORRIS COUNTY
 Persons, JANE DOE-1, a law enforcement     DOCKET NO.: MRS-L-_______-24
 officer, JANE DOE-2, a law enforcement
 officer, EDWIN MALDONADO, SCOTT                      CIVIL ACTION
 MALONEY, JUSTYNA MALONEY,
 PATRICK COLLIGAN, PETER
 ANDREYEV, and WILLIAM SULLIVAN,                       COMPLAINT

                Plaintiffs,
        v.

 BLACKBAUD, INC., RICHARD ROES 1-
 10, fictitious names of unknown individuals
 and ABC COMPANIES 1-10, fictitious
 names of unknown entities,

                Defendants.



       Plaintiffs Atlas Data Privacy Corporation (“Atlas”) as the assignee of individuals who are

Covered Persons under Daniel’s Law along with Jane Doe-1 (a law enforcement officer), Jane

Doe-2 (a law enforcement officer), Edwin Maldonado, Scott Maloney, Justyna Maloney, Patrick



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Colligan, Peter Andreyev, and William Sullivan (collectively, “Plaintiffs”), by and through their

undersigned counsel, hereby submit this Complaint against Defendants and state as follows:

                                       INTRODUCTION
        1.     In these tumultuous times, it is critical that the most sensitive personal information

of those who serve the public be protected from unwarranted disclosure. As set forth below,

Daniel’s Law was passed unanimously by our Legislature to provide judges, law enforcement

officers, and prosecutors – and their families – with the right to prevent the disclosure of their

home addresses and unpublished home telephone numbers, and to enforce those rights against

uncooperative profit-seeking data brokers.

        2.     This complaint seeks to protect those important rights, against companies brokering

data and choosing profit and personal gain over a critical public interest and the unequivocal

mandate of the law. Companies in the business of disclosing this protected information have

avoided accountability for far too long, proffering such information, including home addresses and

unpublished home telephone numbers, without sufficient regard for the risks and consequences

imposed upon individuals who serve critical judicial and law enforcement roles.

        3.     The Legislature and Governor unanimously agree that the basic safety of those who

serve – and their families – must be assured. Here, not only do the data brokers wantonly and

repeatedly disregard the law, but they also demonstrate a callousness towards the well-being of

those who serve. Our judges, law enforcement officers and prosecutors should receive the full

measure of protection afforded to them under the same laws they enforce for the safety of all

citizens.

        4.     With this action, Plaintiffs seek to enforce the important rights granted to judges,

law enforcement officers, and prosecutors under Daniel’s Law. Consistent with the statutory

provisions, Atlas brings this action as an assignee for certain individuals, including many family

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members of law enforcement officers and prosecutors. Plaintiffs seek all available injunctive relief

and statutory damages, including to prevent any further disclosure by Defendants of information

in violation of Daniel’s Law.

                                          BACKGROUND

         Passage of Daniel’s Law in New Jersey

         5.     In July 2020, Daniel Anderl, the son of a New Jersey federal Judge, was shot dead

by a gunman posing as a FedEx delivery man at the front door of the family’s New Jersey home.

Daniel, who was just age 20 and a rising junior in college, and who aspired to practice law like his

parents, took a bullet to his chest trying to protect his parents. By the time his mother, a Judge,

came to the door to check on what happened, the killer was gone. But her husband was critically

wounded, and Daniel tragically died from the gunshot.

         6.     During the investigation, the perpetrator was found to have certain political and

personal grievances against the Judge, and went to their home that day intending to kill her.

Instead, he murdered the Judge’s son and almost succeeded in killing her husband as well.

Investigators eventually connected this attack with another shooting of an attorney in California,

who was similarly mortally gunned down answering the door to his residence to pick up a supposed

package from the same disguised gunman. Authorities concluded that the shooter was disgruntled

over certain legal cases with similar political and legal issues to what was pending before Daniel’s

mother.

         7.     Critically, the gunman was able to find the home addresses of both of his murder

victims through the various people finder resources available on the internet,1 the same kind of

data broker services at issue in this case.



1
    https://www.cbsnews.com/news/esther-salas-son-murder-roy-den-hollander-48-hours/.
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        New Jersey Passes Daniel’s Law in 2020

        8.      In response to the shooting of Daniel, New Jersey enacted Daniel’s Law within a

few months, in November 2020 (P.L. 2020, c. 125 codified in N.J.S.A. 47:1A-1, et seq. and N.J.S.A

56:8-166.1), which prohibits online data brokers from selling, publishing, and distributing the

name and address of current and former judges, law enforcement officers, and prosecutors and

their eligible family members (i.e., “covered persons”), upon any written request by the covered

person. Law enforcement personnel are expressly covered by the statute, in full recognition that

the public service they provide is no less dangerous or important than those of Judges and

prosecutors.

        9.      Any such covered person may request that a data broker not “disclose or re-disclose

on the Internet or otherwise make available” their home addresses or unpublished home telephone

numbers. Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade,

mail, deliver, transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise,

or offer, and shall include making available or viewable within a searchable list or database,

regardless of whether a search of such list or database is actually performed.” Data brokers must

cease disclosure of this protected information within 10 business days of receiving a nondisclosure

request from a covered person.

        Congress Passes Daniel Anderl Judicial Security and Privacy Act in 2022

        10.     Similar to the actions taken by the State of New Jersey, federal judges such as U.S.

Supreme Court Chief Justice John G. Roberts Jr. proposed and supported a federal version of

Daniel’s Law. The Chief Justice was quoted stating, “[t]he law requires every judge to swear an




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oath to perform his or her work without fear or favor, but we must support judges by ensuring their

safety … [a] judicial system cannot and should not live in fear.”2

        11.    The federal bill, which had broad bipartisan support in both the House and Senate,

protected judges’ personally identifiable information from resale by data brokers. It allowed

federal judges to redact their personal information displayed on federal government internet sites.

        12.    The U.S. Senate voted 83-11 to pass the annual defense authorization bill, with the

Daniel Anderl Judicial Security and Privacy Act attached,3 and it was signed by President Biden.4

        Violence Against Police Officers and Judges Has Not Stopped

        13.    Judges, law enforcement officers, and prosecutors put their lives on the line every

day, which is clearly exhibited by numerous horrific stories of violence beyond the story of the

murder of Daniel Anderl. For example, in 2020, three shooters openly fired upon the Camden

home of two New Jersey police officers and their 10-day old infant. That the officers were

constantly involved in the community doing good afforded them no safety from the perpetrators.5

        14.    More recently, another perpetrator hunted and killed in cold blood a Maryland

Judge, after a child custody ruling.6 The killing followed that of a Wisconsin Judge in 2022, where

the perpetrator killed the retired Judge out of spite for his handling of a criminal case in 2005.7




2
  https://www.washingtonpost.com/politics/2022/12/31/supreme-court-roberts-leak-report/.
3
  https://www.uscourts.gov/news/2022/12/16/congress-passes-daniel-anderl-judicial-security-
and-privacy-act.
4
  https://www.nj.com/politics/2022/12/biden-signs-defense-policy-bill-that-remembers-3-new-
jerseyans.html.
5
  Shooters Open Fire On Home Of New Jersey Police Officers In ‘Targeted Attack,’ Chief Says
(forbes.com).
6
  Judge Andrew Wilkinson: Suspect still on the run after killing a judge at his home in a 'targeted
attack' following a child custody ruling, sheriff says | CNN.
7
  Former Judge John Roemer was killed in his Wisconsin home in a targeted attack, officials say |
CNN.
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                                         THE PARTIES

       The Individual Plaintiffs

       15.     Plaintiff JANE DOE-1, whose name has been anonymized for safety reasons, is a

decorated veteran police officer working in Northern New Jersey. Between 2021 and 2022, Officer

Doe-1 participated in a task force that targeted a major criminal organization operating in the

state. Her efforts ultimately led to the arrest and prosecution of a member of the organization’s

leadership, an individual with an extensive criminal history including threats of violence. In the

subsequent investigation, digital devices recovered from the organization’s leadership were

analyzed and photographs of Officer Doe-1’s personal residence were identified. Officer Doe-1

lives in the home with her spouse and their young child. Evidence recovered in the investigation

included night-time photography of the young child’s bedroom and playroom windows, with the

light on while the child was playing inside. Further investigation revealed that the criminal

organization’s leadership had hired a private investigator who searched online data broker websites

to obtain the officer’s home address. Having identified her home address, text messages confirmed

that they had initiated surveillance and were tracking Officer Doe-1’s movements to and from her

home, immediately prior to the task force initiating arrests.

       16.     Plaintiff JANE DOE-2, whose name has been anonymized for safety reasons, is a

veteran correctional police officer who lives in Northern New Jersey with her husband and two

young children. Earlier in her career, Officer Doe-2 was the subject of a death threat from a hostile

inmate. The inmate stated that they intended to kill Officer Doe-2, and further implied that they

would rely upon a particular private investigator to track down Officer Doe-2’s home address to

facilitate the murder. This death threat was investigated and considered credible enough to result

in a successful criminal prosecution. Part of Officer Doe-2’s current duties include working in her



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correctional facility’s law library, where inmates have access to the Internet including online data

broker websites and services. Recently Officer Doe-2 and her coworkers discovered a note left

behind by an inmate which included the full name and home address of a young female member

of the jail’s administrative staff. The most effective ways to safeguard the security and privacy of

their home addresses - for their own safety and that of their family members - is a frequent topic

of discussion and concern among the correctional police officers working at Officer Doe-2’s

facility.

        17.    Plaintiff Officer EDWIN MALDONADO joined the Plainfield, New Jersey police

department as a patrol officer in 2000. After a few months on the job, he was assigned to street

crimes, where he excelled at field work. In 2005, he became a Detective with Plainfield’s major

crimes unit and joined a Federal task force targeting the Mara Salvatrucha-13 (MS-13) gang in

New Jersey. He worked with the task force for the next two years. During that time period, he

received multiple credible death threats from MS-13 members. Detective Maldonado did not

believe he would be able to safeguard his home address while living in Plainfield and relocated his

family to a remote location from which he commuted to work. In 2009, because his relocation

effort had been successful and MS-13 could not locate his new home address, gang members

targeted Detective Maldonado’s mother instead. They intended to burn down her building with

her inside, but set fire to an adjacent building by mistake. Phone calls between MS-13 members

discussing the premeditated murder of Detective Maldonado and his family, and the premeditated

murder of Detective Maldonado’s mother, were intercepted by jail wiretaps. Later in multiple

criminal trials, evidence was entered into the record regarding these intercepted conversations and

premeditated murders, contributing to numerous successful prosecutions.




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       18.      Plaintiffs Sergeant SCOTT MALONEY (“Sergeant Maloney”) and Officer

JUSTYNA MALONEY (“Officer Maloney”) are husband and wife, both veteran police officers

currently serving with the Rahway, New Jersey Police Department. They live together in New

Jersey with their two young children. In April of 2023, Officer Maloney responded to a routine

call of a suspicious individual outside the Motor Vehicle Commission in Rahway. The individual

was an online content creator who often solicits police contact and then films himself debating

constitutional rights with the responding officers. A subset of the content creator’s audience is

vocally anti-police and videos posted to his social media channel have historically been the source

of harassment and intimidation campaigns directed at the officers involved. In this case, Officer

Maloney and several other responding officers were filmed discussing a number of legal issues

with the content creator, including whether or not the content creator was required to take his hands

out of his pockets to show that he was unarmed. Overall, the encounter was routine and ended

uneventfully.

       19.      The resulting video footage was selectively edited and posted to YouTube. Almost

immediately upon the video being posted, Officer Maloney was targeted by followers of the

channel and other individuals who viewed the video. Sergeant Maloney was quickly identified by

viewers as Officer Maloney’s husband, and became a target himself, due to their relationship as a

married couple and his own status as a police officer. Web links to data broker websites publicly

disclosing the Maloney family’s home address and unpublished home telephone numbers were

posted along with explicit death threats and calls for violence, resulting in dozens of threatening

phone calls and text messages.

       20.      One of the text messages sent to Sergeant Maloney demanded money and stated

that if Sergeant Maloney did not comply then his family would “pay in blood.” The unknown



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messenger went on to state that they knew where the Maloneys lived and sent the full name and

home address of one of the Maloneys’ nearby relatives as proof of the messenger’s ability to gather

sensitive personal information. Sergeant Maloney refused to comply with any demands. He then

received a video of three individuals in ski masks armed with handguns and assault rifles repeating

the extortion demand. In part of the video, a masked individual points a rifle at the camera and

tells Sergeant Maloney that his family is “going to get [their] heads cut off.”

        21.    Several weeks later, one of the Maloneys’ neighbors observed two suspicious

looking individuals in ski masks parked one block away from the home and alerted

police. Responding officers arrested two men - who were armed - for unlawful possession of a

firearm. Video surveillance captured by nearby houses shows the two men circling the Maloneys’

house immediately prior to their arrest. Officer Maloney and her two young children were at home

at the time.

        22.    Plaintiff Detective PATRICK COLLIGAN is a 32-year veteran of the Franklin

Township police department in Somerset, New Jersey. Since 2014, Detective Colligan has served

as the President of the New Jersey State Policemen’s Benevolent Association, representing more

than 33,000 active law enforcement officers throughout the state. During the course of his law

enforcement career, he has received numerous threats of violence targeted at him and his family

as a result of his public service. The seriousness of certain threats necessitated the installation of

a surveillance camera system and alarm system, and training for his spouse and children about

how to respond in the event of an attack on their home.

        23.    Plaintiff Officer PETER ANDREYEV is a 32-year veteran of the Point Pleasant,

New Jersey police department. Officer Andreyev currently services as the Executive Vice

President of the New Jersey State Policemen’s Benevolent Association, representing more than



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33,000 active law enforcement officers throughout the state. During the course of his law

enforcement career, he has received numerous threats of violence targeted at him and his family

as a result of his public service. Officer Andreyev has counseled many other officers who have

been the target of violent threats on ways to protect themselves and their family members from

harm. whose protected information has been discovered and has responded to specific incidents

where protected information was used by ex-inmates to threaten, harass, or intimidate fellow

officers.

        24.    Plaintiff Officer WILLIAM SULLIVAN is an 18-year veteran of the New Jersey

Department of Corrections. Since 2020, Officer Sullivan has served as the President of New Jersey

PBA Local 105, the labor union representing thousands of correctional police officers from the

New Jersey Department of Corrections, the Juvenile Justice Commission, and State

Parole. During the course of his law enforcement career, he has received numerous threats of

violence directed at him and his family as a result of his public service. Inmates incarcerated

within New Jersey’s state prisons frequently attempt to discover the protected information of

correctional officers working in their facility. These attempts and the risks posed by such

information being accessible on the Internet is a frequent topic of discussion and concern among

correctional officers and their family members. Officer Sullivan has counseled many officers

whose protected information has been discovered and has responded to specific incidents where

protected information was used by ex-inmates to threaten, harass, or intimidate fellow officers.

        Plaintiff Atlas and its Assignors

        25.    Plaintiff ATLAS DATA PRIVACY CORPORATION is a Delaware corporation,

with offices at 201 Montgomery Street, Suite 263, Jersey City, New Jersey 07302.




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       26.     As permitted under Daniel’s Law, Atlas asserts claims against Defendants as the

assignee of the claims of approximately 19,251 individuals who are all “covered persons” under

Daniel’s Law (together, the “Covered Persons”), including a significant number of individuals who

are family members of judges, law enforcement officers, and prosecutors.

       27.     The Covered Persons include individuals who reside, work or had previously

resided or worked in New Jersey, and qualify as “covered persons” as that term is defined under

Daniel’s Law, each of whom have claims against Defendants for failing to comply with Daniel’s

Law.

       28.     As set forth in more detail below, the Covered Persons (as well as the Individual

Plaintiffs) each exercised their rights under Daniel’s Law by sending Defendants a written notice

requesting that Defendants cease disclosing or re-disclosing on the Internet or otherwise making

available their protected information on one or more of Defendants’ websites, mailing lists or

through other methods of disclosure.

       29.     Defendants have not responded to these notices and, upon information and belief,

have not complied with the law by ceasing the disclosure or re-disclosure on the Internet or the

otherwise making available of protected information as required under Daniel’s Law for each of

the Covered Persons (as well as each of the Individual Plaintiffs) as required by the law.

       30.     In accordance with Daniel’s Law, each of the Covered Persons has assigned their

rights for claims thereunder against Defendants to Atlas.

       31.     Atlas provides an online platform, including an email service named AtlasMail, to

law enforcement officers, prosecutors, judges, and other covered persons. Atlas works with and

provides access to its platform to members of the New Jersey State Policemen’s Benevolent

Association, the Metropolitan Transportation Authority Police Benevolent Association, New



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Jersey PBA Local 105, and the New Jersey State Troopers Fraternal Association, among others.

The goal of these unions and associations, since the first passage of Daniel’s Law in November

2020, was to increase the safety and well-being of their members and associated households by

helping those members to understand and assert the rights provided to them by the law.

       32.     Upon signing up for Atlas, a law enforcement officer or other Covered Person is

asked a series of questions to collect required personal information and qualify their eligibility as

a Covered Person under Daniel’s Law. Once eligibility is confirmed, they are shown a page

explaining how the Atlas platform works:




       33.     AtlasMail is an email service operated by Atlas. Upon signing up with Atlas, each

law enforcement officer or other Covered Person receives their own AtlasMail account, with a

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unique inbox address (e.g. john.doe23@atlasmail.com) for their personal use. A description of

AtlasMail and more information about how the email service works are provided on a page during

the signup process:




       34.     Having provided personal information, confirmed their eligibility for Daniel’s Law,

and progressed through several pages explaining the functions of Atlas as a platform and AtlasMail

as an email service, the law enforcement officer or other Covered Person is then presented with a

page on which they can review their home addresses and unpublished home telephone numbers, a

takedown notice template, and a recommended list of data brokers to send notices to. On this page

the law enforcement officer or other Covered Person can choose whether or not to send takedown

notices. If they choose not to send takedown notices to the recommended list, they can select




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individual recipients at a later page (as shown in the example copied below). Here, each of the

Individual Plaintiffs and Covered Persons sent Defendants a takedown notice.




       35.     Any reply or response back from a data broker to the law enforcement officer or

other Covered Person is received and displayed in their AtlasMail inbox. AtlasMail is a fully

featured email service provider, and its users can reply, forward, or use their AtlasMail account as

they would any other email account:




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       36.    With this lawsuit, Atlas seeks to enforce compliance with Daniel’s Law for those

Covered Persons. This lawsuit seeks to protect their privacy without unnecessarily putting those

individuals in the spotlight. Atlas will work with the Court and Defendants to implement a

protective order to then provide Defendants with the assignments and other information for each

of the Covered Persons.

       Defendants

       37.    Defendant Blackbaud, Inc. is an entity that discloses or re-discloses on the Internet

or otherwise makes available the home addresses and/or unpublished home telephone numbers of

covered persons.




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       38.     Defendants Richard Roes 1-10 and ABC Companies 1-10 (collectively with the

defendants identified above referred to as the “Defendants”) are fictitious names of currently

unknown individuals/entities that were also involved with the violations described in this

Complaint who have not yet been identified in part due to what appears to be intentional efforts

by data brokers to conceal the specific entities involved and responsible for the disclosure of data

and information, and individuals responsible for Defendants failures to comply with the law.

       39.     Defendants offer and engage in the disclosure of data and information through one

or more websites, applications, or mailing lists, or otherwise in New Jersey, and to businesses and

individuals who operate or reside in New Jersey. Those websites include:

       blackbaud.com

       40.     In accordance with Defendants’ business model, visitors, users, or customers may

obtain a name and home address and/or a name and unpublished home telephone number

(including the name and address and/or unpublished home telephone number of the Individual

Plaintiffs and Covered Persons).

       41.     Daniel’s Law was passed to protect those who serve from the disclosure of this

protected information by such services, which disclose such information of the Individual

Plaintiffs and Covered Persons for their own commercial interests, without sufficient regard to the

risks and consequences imposed on individuals.

                                JURISDICTION AND VENUE

       42.     This Court has jurisdiction because the parties reside and/or conduct business in

New Jersey, along with the Covered Persons, and the unlawful actions complained of herein

occurred in New Jersey.




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        43.     Venue is proper pursuant to R. 4:3-2, in that Morris County is the county in which

one or more of the parties and/or Covered Persons reside and/or conduct business. In addition,

many of the events giving rise to this action occurred in this County.

                             FACTS COMMON TO ALL COUNTS

        44.     As set forth above, New Jersey enacted Daniel’s Law in November 2020 (P.L. 2020,

c. 125 codified as N.J.S.A. 47:1A-1, et seq. and N.J.S.A. 56:8-166.1).

        45.     Daniel’s Law prohibits data brokers from disclosing or re-disclosing on the Internet

or otherwise making available the home addresses or unpublished home telephone numbers of

covered persons as defined in the law, upon a written request by those individuals.

        46.     Upon notification, and no later than 10 business days after receipt, a data broker

must not disclose or re-disclose on the Internet or otherwise make available the home addresses or

unpublished home telephone numbers of the covered person.

        47.     This includes a mandate that within 10 business days of receiving a nondisclosure

request, the data broker shall not disclose the protected information of the covered person.

Disclosure is defined to mean to “solicit, sell, manufacture, give, provide, lend, trade, mail, deliver,

transfer, post, publish, distribute, circulate, disseminate, present, exhibit, advertise, or offer, and

shall include making available or viewable within a searchable list or database, regardless of

whether a search of such list or database is actually performed.”

        48.     Daniel’s Law was amended in 2023, as P.L. 2023, c. 113. The amendment was

passed unanimously by the Assembly on May 25, 2023, by the Senate on June 20, 2023, and was

thereafter signed by the Governor on July 20, 2023.

        49.     Certain provisions of the amended law, including changes to N.J.S.A. 56:8-166.1,

went into effect immediately.



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         50.     As of July 20, 2023, Daniel’s Law as codified in N.J.S.A. 56:8-166.1 provided:8

                        3.a. (1) Upon notification pursuant to paragraph (2) of this
                        subsection, and not later than 10 business days following receipt
                        thereof, a person, business, or association shall not disclose or
                        redisclose on the Internet or otherwise make available, the home
                        address or unpublished home telephone number of any covered
                        person, as defined in subsection d. of this section.
                        b. A person, business, or association that violates subsection a. of
                        this section shall be liable to the covered person, or the covered
                        person’s assignee, who may bring a civil action in the Superior
                        Court.
                        c. The court shall award:
                                (1) actual damages, but not less than liquidated damages
                                computed at the rate of $1,000 for each violation of this
                                act;
                                (2) punitive damages upon proof of willful or reckless
                                disregard of the law;
                                (3) reasonable attorney’s fees and other litigation costs
                                reasonably incurred; and
                                (4) any other preliminary and equitable relief as the court
                                determines to be appropriate.
                        d. For the purposes of this section:
                                …“Disclose” shall mean to solicit, sell, manufacture,
                                give, provide, lend, trade, mail, deliver, transfer, post,
                                publish, distribute, circulate, disseminate, present,
                                exhibit, advertise or offer, and shall include making
                                available or viewable within a searchable list or
                                database, regardless of whether a search of such list or
                                database is actually performed.”
         51.     Starting on or about December 30, 2023, each of the Individual Plaintiffs and all of

the Covered Persons (who assigned claims to Atlas) sent Defendants written nondisclosure

requests (via email) in accordance with Daniel’s Law, using AtlasMail.




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    https://pub.njleg.state.nj.us/Bills/2022/PL23/113_.PDF
                                                    19

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       52.     For example, a true and correct copy of the email directly from Plaintiff Andreyev

(with personal information redacted) is pasted here:




       53.     Defendants failed to respond to these notices and, upon information and belief,

cease the disclosure or re-disclosure on the Internet or the otherwise making available of the

protected information of the Individuals Plaintiffs and Covered Persons within the time period

required by Daniel’s Law.

       54.     All of the Covered Persons who sent their nondisclosure requests to Defendants

(not including the Individual Plaintiffs) have assigned their claims against Defendants to Atlas.

       55.     The Individual Plaintiffs and Atlas hereby assert claims against Defendants based

on their violation of Daniel’s Law and continuing refusal to comply with that law.

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                                          COUNT ONE

                                          (Daniel’s Law)

        56.    The allegations of the Complaint set forth above are included herein as if set forth

at length.

        57.    The Individual Plaintiffs and Covered Persons transmitted notice in writing to

Defendants requesting that Defendants cease disclosure of their home address and/or unpublished

home telephone number and cease its disclosure or re-disclosure on the Internet or wherever

Defendants otherwise made it available.

        58.    Defendants had an obligation under Daniel’s Law to comply with the request within

ten (10) business days.

        59.    As of the date of this filing, upon information and belief, Defendants still refuse to

comply with Daniel’s Law. Upon information and belief, the protected information (including

home addresses and/or unpublished home telephone numbers) of the Individual Plaintiffs and the

Covered Persons remains “available or viewable within a searchable list or database” or otherwise

made available.

        60.    Upon information and belief, Defendants did not cease the disclosure or re-

disclosure on the Internet or the otherwise making available of information as required under

Daniel’s Law, and their failure in doing so each constitute a separate violation under the law.

        61.    As a result of Defendants’ failures to comply with Daniel’s Law, Plaintiffs have

suffered damages, and request all available relief.

WHEREFORE, Plaintiffs request that Judgment be entered against Defendants as follows:
    A. Ordering that Defendants immediately comply with Daniel’s Law, and cease the disclosure

        of the Individuals Plaintiffs’ and the Covered Persons’ names, home addresses, and



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      unpublished home telephone numbers wherever disclosed or re-disclosed on the Internet

      or otherwise made available;

  B. Awarding actual damages, not less than liquidated damages under Daniel’s Law, at “$1,000

      for each violation”;

  C. Awarding an additional amount in punitive damages, to be determined by the Court, for

      “willful noncompliance” as allowed under Daniel’s Law;

  D. Awarding reasonable attorneys’ fees, interest (pre and post judgment) and litigation costs

      incurred;

  E. Ordering injunctive relief requiring that Defendants comply with Daniel’s Law, and

      remove the Individual Plaintiffs’ and the Covered Persons’ protected information wherever

      disclosed;

  F. Entering equitable or other permanent injunctive relief requiring Defendants to comply

      with Daniel’s law, including the appointment of a qualified independent expert to ensure

      that Defendants prospectively maintain compliance with Daniel’s Law; and

  G. Awarding such other and further relief against Defendants as the Court deems equitable

      and just.

                                                  Respectfully Submitted,
                                                  GENOVA BURNS LLC

Dated: February 7, 2024                           By: /s/ Rajiv D. Pari kh

                                                  Rajiv D. Parikh
                                                  Kathleen Barnett Einhorn
                                                  494 Broad Street
                                                  Newark, New Jersey 07102
                                                  Tel: (973) 533-0777

                                                  Attorneys for Plaintiffs



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                                                       MORGAN & MORGAN COMPLEX
                                                       LITIGATION GROUP
                                                       John A. Yanchunis
                                                       Ryan J. McGee
                                                       201 North Franklin Street, 7th Floor
                                                       Tampa, FL 33602
                                                       Tel.: (813) 223-5505
                                                       jyanchunis@ForThePeople.com
                                                       rmcgee@ForThePeople.com

                                                       (pro hac vice motions to be filed)




                            DESIGNATION OF TRIAL COUNSEL

       The Court is advised that pursuant to New Jersey Court Rules 4:5-1(c) and 4:25-4, Rajiv

D. Parikh, Esq. is hereby designated as trial counsel for Plaintiffs in this matter.



                                                        GENOVA BURNS LLC

 Dated: February 7, 2024                                By: /s/ Rajiv D. Pari kh

                                                        Rajiv D. Parikh, Esq.




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                      EXHIBIT 10




                                     JA780
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                                                                                                 FORM L1-A
                                  ANNUAL REPORT                                       Reporting For Calendar Year 20 23
                                       OF
                            GOVERNMENTAL AFFAIRS AGENT                                                ELEC Received
                                                                                                          Feb 14 2024
                                                                                                          03:36 PM

          NEW JERSEY ELECTION LAW ENFORCEMENT COMMISSION
                          P.O. Box 185, Trenton, NJ 08625-0185
                                 Phone: (609) 292-8700
                                                                                                    FOR STATE USE ONLY
                                Website: www.elec.nj.gov
                                                                                                                    Amendment

Name of Governmental Affairs Agent or Governmental Affairs Agent Firm:
Genova Burns LLC

Business
               494 Broad Street
Address

City          Newark                                                                           State NJ       Zip Code 07102
*(Area Code) Telephone Number           973-533-0777
1. Provide the following information regarding the Governmental Affairs Agent(s) on whose behalf this report is filed.

1.    Name    Angelo J. Genova

     Badge Number       1557-1                                   Occupation or Business Attorney
     Business Address 494 Broad Street
     City Newark                                                                               State NJ       Zip Code 07102
     *(Area Code) Telephone Number 973-533-0777

2.    Name    Nicholas R. Amato

     Badge Number       1557-5                                   Occupation or Business Attorney
     Business Address 494 Broad Street
     City Newark                                                                               State NJ       Zip Code 07102
     *(Area Code) Telephone Number 973-533-0777

3.    Name    Rajiv D. Parikh

     Badge Number       1557-7                                   Occupation or Business Attorney
     Business Address 494 Broad Street
     City Newark                                                                               State NJ       Zip Code 07102
     *(Area Code) Telephone Number 973-533-0777

4.    Name    Avi D. Kelin

     Badge Number       1557-8                                   Occupation or Business Attorney
     Business Address 494 Broad Street
     City Newark                                                                               State NJ       Zip Code 07102
     *(Area Code) Telephone Number 973-533-0777




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5.    Name William F. Megna

     Badge Number             1557-9                                                Occupation or Business Attorney
     Business Address 494 Broad Street
     City Newark                                                                                                                      State NJ                 Zip Code 07102
     *(Area Code) Telephone Number 973-533-0777
       *Leave this field blank if your telephone number is unlisted. Pursuant to N.J.S.A. 47:1A-1.1, an unlisted telephone number is not a public record and must not be provided on this form.




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             Case
2. Provide the       1:24-cv-04105-HB
               following                     Document
                         information concerning            27-11
                                                all Represented      Filed 06/10/24 Page 4 of 12 PageID: 888
                                                                Entities.

     NOTE: Represented Entities who designate this report to include all of their activity must file Form L-2.
                                                             RECEIPT AMOUNT
     PURPOSE: To report all fees, retainers, allowances, reimbursement of expenses, or other compensation received from Represented
              Entities for the purpose of influencing legislation, regulations, governmental processes, or communicating with the
              general public.
     NOTE:    Report only the pro rata share of each receipt which is related to influencing legislation, regulations, governmental
              processes, or communicating with the general public.


1.    Name of Represented Entity         Scientific Games Corp
                    6650 S. El Camino Road
     Business
     Address

City Las Vegas                                                          State NV      Zip Code 89118
                                                                                                                    RECEIPT AMOUNT
Type of Business Gaming Services                                                                                                      0.00
       Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
✔      Check if the Represented Entity is designating this report to indicate all of their activity.

2.    Name of Represented Entity         New Meadowlands Racetrack LLC
                    1 Racetrack Drive
     Business
     Address

City East Rutherford                                                    State NJ      Zip Code 07073
                                                                                                                    RECEIPT AMOUNT
Type of Business Racetrack Operator                                                                                                   0.00
       Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
✔      Check if the Represented Entity is designating this report to indicate all of their activity.

3.    Name of Represented Entity         14-16 Burma Road Industrial LLC dba SAK Structures LLC
                    14 Burma Road
     Business
     Address

City Jersey City                                                        State NJ      Zip Code 07305
                                                                                                                    RECEIPT AMOUNT
Type of Business Real Estate                                                                                                          0.00
       Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
✔      Check if the Represented Entity is designating this report to indicate all of their activity.

4.    Name of Represented Entity         BioReference Laboratories, Inc.
                    481 Edward H. Ross Drive
     Business
     Address

City Elmwood Park                                                       State NJ      Zip Code 07407
                                                                                                                    RECEIPT AMOUNT
Type of Business Laboratory Services                                                                                            22,490.00
       Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
       Check if the Represented Entity is designating this report to indicate all of their activity.




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5.   Name of Represented Entity          Atlantic Amateur Hockey Association
                    PO Box 291
     Business
     Address

City Ho Ho Kus                                                       State NJ      Zip Code 07423
                                                                                                                   RECEIPT AMOUNT
Type of Business Amateur Hockey Association                                                                                          0.00
      Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
      Check if the Represented Entity is designating this report to indicate all of their activity.

6.   Name of Represented Entity          Association Master Trust
                    636 Morris Turnpike, Ste. 2A
     Business
     Address

City Short Hills                                                     State NJ      Zip Code 07078
                                                                                                                   RECEIPT AMOUNT
Type of Business self-funded multiple employer welfare arrangement                                                                   0.00
      Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
✔     Check if the Represented Entity is designating this report to indicate all of their activity.

7.   Name of Represented Entity          New Jersey Restaurant and Hospitality Association
                    126 West State Street
     Business
     Address

City Trenton                                                         State NJ      Zip Code 08608
                                                                                                                   RECEIPT AMOUNT
Type of Business Trade Association for Restaurant and Hospitality Industry                                                           0.00
      Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
      Check if the Represented Entity is designating this report to indicate all of their activity.

8.   Name of Represented Entity          SB Hoboken Propco, LLC
                    175 Belgrove Drive
     Business
     Address

City Kearny                                                          State NJ      Zip Code 07032
                                                                                                                   RECEIPT AMOUNT
Type of Business Real Estate                                                                                                         0.00
      Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
✔     Check if the Represented Entity is designating this report to indicate all of their activity.

9.   Name of Represented Entity          EDP Soccer
                    8 Cornwall Court
     Business
     Address

City East Brunswick                                                  State NJ      Zip Code 08816
                                                                                                                   RECEIPT AMOUNT
Type of Business Youth Soccer                                                                                                        0.00
      Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
✔     Check if the Represented Entity is designating this report to indicate all of their activity.


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10. Name of Represented Entity           State Fair Group
                    331 Newman Springs Road
    Business
    Address

City Red Bank                                                        State NJ      Zip Code 07701
                                                                                                                   RECEIPT AMOUNT
Type of Business Operation of Amusement Park                                                                                     850.00
      Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
      Check if the Represented Entity is designating this report to indicate all of their activity.

11. Name of Represented Entity           Parkway Autonomous Inc.
                    146 Wolcott Street
    Business
    Address

City Brooklyn                                                        State NY      Zip Code 11231
                                                                                                                   RECEIPT AMOUNT
Type of Business Transportation                                                                                                      0.00
      Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
✔     Check if the Represented Entity is designating this report to indicate all of their activity.

12. Name of Represented Entity           New Jersey Democratic State Committee
                    142 W State Street
    Business
    Address

City Trenton                                                         State NJ      Zip Code 08608
                                                                                                                   RECEIPT AMOUNT
Type of Business Political Party                                                                                               6,765.00
      Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
      Check if the Represented Entity is designating this report to indicate all of their activity.

13. Name of Represented Entity           Atlas Privacy
                    2810 N Church Street, Unit 72500
    Business
    Address

City Wilmington                                                      State DE      Zip Code 19802
                                                                                                                   RECEIPT AMOUNT
Type of Business Data Privacy                                                                                                        0.00
      Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
      Check if the Represented Entity is designating this report to indicate all of their activity.

14. Name of Represented Entity           CEP Renewables
                    331 Newman Springs Road
    Business
    Address

City Red Bank                                                        State NJ      Zip Code 07701
                                                                                                                   RECEIPT AMOUNT
Type of Business Solar Developer                                                                                                     0.00
      Check if communication with the general public ("Grassroots Lobbying") was the only lobbying activity for this entity.
      Check if the Represented Entity is designating this report to indicate all of their activity.


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               Case 1:24-cv-04105-HB DocumentSCHEDULE
                                              27-11 Filed
                                                        A 06/10/24 Page 7 of 12 PageID: 891
1. Provide the following information for any Governmental Affairs Agent named in this Annual Report who served as a member of:
            any independent State authority;
            any county improvement authority;
            any municipal utilities authority;
            any inter-State or bi-State authority as a member from New Jersey; or,
            any board or commission established by statute or resolution, or by executive order of the Governor, or by the
            Legislature, or by any Agency, Department or other instrumentality of the State.


(If this question does not apply, move on to question 2.)

Name of Governmental Affairs Agent

Name of Authority, Board, or Commission

Date When Term of Service Expires



Name of Governmental Affairs Agent

Name of Authority, Board, or Commission

Date When Term of Service Expires



Name of Governmental Affairs Agent

Name of Authority, Board, or Commission

Date When Term of Service Expires



Name of Governmental Affairs Agent

Name of Authority, Board, or Commission

Date When Term of Service Expires




2. Did all Governmental Affairs Agent(s) named in this Annual Report file all Notices of Representation and Quarterly Reports
   required during the calendar year covered by this Annual Report?

          ✔     Yes If "yes," continue on to Schedule B.                 No If "no," please file the necessary reports immediately.




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                                  SCHEDULE      27-11 &Filed
                                           B - SALARY        06/10/24 Page 8 of 12 PageID: 892
                                                        COMPENSATION
PURPOSE: To report the salary and compensation paid to the Governmental Affairs Agents on whose behalf this report is filed.
         Include the reimbursement of an Agent's expenses in amounts reported.


NOTE: Only the pro rata share of each Governmental Affairs Agent's salary and compensation need to be included if the Agent
      spends only a portion of his/her time on lobbying activity.
                                 NAME OF GOVERNMENTAL AFFAIRS AGENT                                                      AMOUNT

Angelo J. Genova                                                                                              $                   12,095.00
Nicholas R. Amato                                                                                             $                           0.00
Rajiv D. Parikh                                                                                               $                     6,765.00
Avi D. Kelin                                                                                                  $                   11,245.00
William F. Megna                                                                                              $                           0.00

                                                                                   SCHEDULE B TOTAL $                             30,105.00




                                                 SCHEDULE C - SUPPORT PERSONNEL
  PURPOSE: To report the costs of support personnel who, over the course of the reporting year, individually spend 450 or more
           hours supporting the activities of the Governmental Affairs Agent(s).

                 After determining to which person(s) this applies, report the pro rata share of those costs which are attributable to
                 supporting the activities of the Governmental Affairs Agent(s) in influencing legislation, regulations, governmental
                 processes, or communicating with the general public.


                                                                                    SCHEDULE C TOTAL $                                    0.00




                                    NO SCHEDULE D FOR GOVERNMENTAL AFFAIRS AGENTS




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                                  SCHEDULE E - COMMUNICATION EXPENSES
PURPOSE: To report the costs of the preparation and distribution of materials related to influencing legislation, regulations,
         governmental processes, and conducting communications with the general public.
                                                    EXPENSE                                                               AMOUNT
Printed Materials                                                                                                $                       0.00
Postage                                                                                                                                  0.00
Film, Slides, Video, Audio                                                                                                               0.00
TV - Network                                                                                                                             0.00
TV - Cable                                                                                                                               0.00
Radio                                                                                                                                    0.00
Other Broadcast Medium                                                                                                                   0.00
Internet                                                                                                                                 0.00
Telephone, Facsimile                                                                                                                     0.00
Pro Rata Overhead Costs of Specific Events Over $100 (please identify name and date of event)




Other (please describe):




                                                                                       SCHEDULE E TOTAL $                                0.00




                                                  SCHEDULE F - TRAVEL/LODGING
PURPOSE: To report the travel and lodging costs of the Governmental Affairs Agents on whose behalf this report is filed related to
         influencing legislation, regulations, governmental processes, or communicating with the general public.

                                     NAME OF GOVERNMENTAL AFFAIRS AGENT                                                    AMOUNT
                                                                                                                 $                       0.00
                                                                                                                 $
                                                                                                                 $
                                                                                                                 $
                                                                                                                 $
                                                                                                                 $


                                                                                       SCHEDULE F TOTAL $                                0.00



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              Case 1:24-cv-04105-HB Document
                        ITEMIZATION OF        27-11
                                       BENEFITS     Filed
                                                WHICH     06/10/24
                                                      EXCEEDED   $25Page 10 ofOR
                                                                     PER DAY   12$200
                                                                                  PageID: 894
                                                                                      PER CALENDAR
SCHEDULE G-1
                                          YEAR TO STATE OFFICIALS AND THEIR IMMEDIATE FAMILY MEMBERS
  PURPOSE: To report detailed information concerning benefits passed to State officials covered by the Act, as well as the immediate
  family members of these officials. If the value of a benefit exceeded $25 per day or $200 per calendar year, report below.
             (Select one description item for each entry from the drop down list. When selecting "O - Other", enter a description in the space provided.)

  Name of Benefit Recipient
  Date                                Description                                                                            Amount $                       0.00
  Name and Address of Payee/Vendor
  Name
  Address
  City                                                                               State               Zip Code
  If benefit was reimbursed, please report the date, the description, and the amount of the reimbursement.
   Date                                Amount $
  Description

  Name of Benefit Recipient
  Date                                Description                                                                            Amount $

  Name and Address of Payee/Vendor
  Name
  Address
  City                                                                               State               Zip Code
  If benefit was reimbursed, please report the date, the description, and the amount of the reimbursement.
   Date                                Amount $
  Description

  Name of Benefit Recipient
  Date                                Description                                                                            Amount $

  Name and Address of Payee/Vendor
  Name
  Address
  City                                                                               State               Zip Code
  If benefit was reimbursed, please report the date, the description, and the amount of the reimbursement.
   Date                                Amount $
  Description

  Name of Benefit Recipient
  Date                                Description                                                                            Amount $

  Name and Address of Payee/Vendor
  Name
  Address
  City                                                                               State               Zip Code
  If benefit was reimbursed, please report the date, the description, and the amount of the reimbursement.
   Date                                Amount $
  Description


New Jersey Election Law Enforcement Commission                             Page 9 of 11                                                 Form L1-A Revised Nov. 2023

                                                                           JA789
                     Case: 25-1555               Document: 25        Page: 325          Date Filed: 04/14/2025

              Case 1:24-cv-04105-HB Document
                                     SUMMARY 27-11  Filed 06/10/24
                                               OF BENEFIT  PASSING Page 11 of 12 PageID: 895
 PURPOSE: To report the total amount of providing benefits to State officials covered by the Act and their immediate family members.

                                                         SCHEDULE G-1                  SCHEDULE G-2*                        AMOUNT


 Entertainment                                       $                          +$                  0.00        =$                        0.00

 Food and Beverage                                                              +                   0.00        =                         0.00

 Travel                                                                         +                   0.00        =                         0.00

 Lodging                                                                        +                   0.00        =                         0.00

 Honoraria                                                                      +                   0.00        =                         0.00

 Loans                                                                          +                   0.00        =                         0.00

 Gifts                                                                          +                   0.00        =                         0.00

 Other (specify)                                                                +                   0.00        =                         0.00

 Total                                               $                          +$                  0.00        =$                        0.00

                                                                                                                     SCHEDULE G-1 AND
                                                                                                                     SCHEDULE G-2 TOTAL


* Enter, by category, the value of benefit passing where the expenditure did NOT exceed the $25/day or $200/calendar year thresholds.




TOTAL AMOUNT OF REIMBURSED BENEFITS, IF ANY.
DO NOT DEDUCT THIS AMOUNT FROM BENEFIT PASSING AMOUNTS.                                                 $



                                                 SUMMARY OF LOBBYING EXPENDITURES
    EXPENDITURES


                    1. Salary and Compensation                                       Schedule B Total       $                     30,105.00

                    2. Support Personnel                                             Schedule C Total                                     0.00

                    3. Communication Expenses                                        Schedule E Total                                     0.00

                    4. Travel and Lodging                                            Schedule F Total                                     0.00

                    5. Benefit Passing                          Schedule G-1 and Schedule G-2 Total                                       0.00

                                                                       Total Lobbying Expenditures          $                     30,105.00


                        SUMMARY OF TOTAL RECEIPTS FROM REPRESENTED ENTITIES                                 $                     30,105.00


New Jersey Election Law Enforcement Commission                  Page 10 of 11                                         Form L1-A Revised Nov. 2023

                                                                JA790
                     Case: 25-1555                  Document: 25               Page: 326         Date Filed: 04/14/2025

              Case 1:24-cv-04105-HB Document 27-11 Filed 06/10/24 Page 12 of 12 PageID: 896
                                            CERTIFICATION

  This certification shall be signed by either the Governmental Affairs Agent filing this Annual Report on his/her own behalf, or by the
  Managing or Principal Partner or Chief Executive Officer of the Governmental Affairs Agent Firm.


  I, Angelo Genova
                                                    (enter name)

     hereby certify that I am duly authorized by


     Genova Burns LLC
                                                 (enter name of firm)



  to file and certify the accuracy and correctness of this Annual Report of Lobbying Activity for calendar year 2023             .
  I certify that the statements made herein are true and accurate. I am aware that if any of the foregoing statements are willfully
  false, I may be subject to punishment.




  Registration Number **********                            PIN    **********                                Verify Registration
                                                                                                               Number & PIN



                  ANGELO J GENOVA                                       February 14, 2024
                     Signature                                                            Date
  * Your name must appear on the signature line *




New Jersey Election Law Enforcement Commission                            Page 11 of 11                                Form L1-A Revised Nov. 2023

                                                                          JA791
     Case: 25-1555   Document: 25    Page: 327   Date Filed: 04/14/2025




Case 1:24-cv-04105-HB Document 27-12 Filed 06/10/24 Page 1 of 4 PageID: 897




                     EXHIBIT 11




                                    JA792
           Case: 25-1555   Document: 25        Page: 328         Date Filed: 04/14/2025




     Case 1:24-cv-04105-HB Document 27-12 Filed 06/10/24 Page 2 of 4 PageID: 898

                                     STATE OF NEW JERSEY
                                   DEPARTMENT OF THE TREASURY
                               FILING CERTIFICATE (CERTIFIED COPY)


         Corporation Name:       ATLAS DATA PRIVACY CORPORATION
         Business Id:            0451071286
         Certificate Number:     6000228249




    I, THE TREASURER OF THE STATE OF NEW JERSEY, DO HEREBY CERTIFY, THAT THE ABOVE
NAMED BUSINESS DID FILE AND RECORD IN THIS DEPARTMENT AN ORIGINAL CERTIFICATE ON
January 12, 2024 AND THAT THE ATTACHED IS A TRUE COPY OF THIS DOCUMENT AS THE SAME IS
TAKEN FROM AND COMPARED WITH THE ORIGINAL(S) FILED IN THIS OFFICE AND NOW REMAINING ON
FILE AND OF RECORD.




                                  IN TESTIMONY WHEREOF, I HAVE HEREUNTO SET MY
                                    HAND AND AFFIXED MY OFFICIAL SEAL AT
                                    TRENTON, THIS
                                    March 21, 2024 A.D.




                                  VERIFY THIS CERTIFICATE ONLINE AT

                                  https://www1.state.nj.us/TYTR_StandingCert/JSP/Verify_Cert.jsp




                                           JA793
  Case: 25-1555    Document: 25     Page: 329     Date Filed: 04/14/2025

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                                  JA794
  Case: 25-1555    Document: 25     Page: 330     Date Filed: 04/14/2025

Case 1:24-cv-04105-HB Document 27-12 Filed 06/10/24 Page 4 of 4 PageID: 900




                                  JA795
     Case: 25-1555   Document: 25    Page: 331   Date Filed: 04/14/2025




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                     EXHIBIT 13




                                    JA796
         Case: 25-1555         Document: 25           Page: 332             Date Filed: 04/14/2025

        Case 1:24-cv-04105-HB Document 27-14 Filed 06/10/24 Page 2 of 4 PageID: 910
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Document title:                   The right to privacy and to attend the Mini Convention – NJ Cops Magazine

Capture URL:                      https://njcopsmagazine.com/the-right-to-privacy-and-to-attend-the-mini-convention

Page loaded at (UTC):             Wed, 05 Jun 2024 19:44:07 GMT

Capture timestamp (UTC):          Wed, 05 Jun 2024 19:44:08 GMT

Capture tool:                     2.58.2

Collection server IP:             52.5.8.50

Browser engine:                   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                  Gecko) Chrome/121.0.6167.85 Safari/537.36

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User:                             automation@page-vaul




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                        Case: 25-1555                   Document: 25                  Page: 333                   Date Filed: 04/14/2025



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                    Case 1:24-cv-04105-HB Document 27-14 Filed 06/10/24 Page 3 of 4 PageID: 911




            The right to privacy and to attend the Mini Convention
           By                    | April 5, 2023

            President’s Message

            Another successful Mini Convention is in the books. The meeting room was set for a record 1,360 people, and many of you were still standing in
            the back. And to the guy trying to find his hotel room at 7:45 a.m. while | was heading to breakfast, it’s a marathon, not a sprint, buddy. Better
            luck next year. And to the few (thankfully) directors and chiefs who continue to want to interpret the Convention Leave Acct, it’s the LAW, nota
            contract issue. Shame on you.

            lf there has ever been a time for your officers to need a break and work on                                                 ;                   ee,
                                                           ;                                     ;                                               BX 4                               ©
            camaraderie, now is the time. They just aren't just about you and your agency. There is §                                           am            Y                         S
                                                                                                                                                                                            bd
            a reason morale is low in your place. Maybe it’s time to look in the mirror.

            We are faced yet again with a case of second-guessing journalists who seem to have
            an astounding understanding of police policy and procedure from the safety of their
            laptops. Police recently responded to a call from a person obviously in a deep
            psychiatric crisis. I'm not the only one in law enforcement to wonder why the video                 IN THIS WORLD
            wasn't released earlier to quell the rumors and doubts. Time will unwind the narrative,             THAN PEACE OF
            and time will tell us what was done right and what was done wrong.
                                                                                                                     MIND.
            We always debrief, and we can always improve, but | have a few simple questions for
            the armchair experts out there. Have you ever had a front-row seat to a person ina
                                                                                                                A MORTGAGE BUILT
            deep psychiatric emergency? In obvious tight quarters? Can you tell me how to veta
                                                                                                                   JUST FOR YOU!
            “crisis negotiator” in the middle of the crisis? Are you aware we are responsible for
            everybody brought into a scene? Are you aware a mental health crisis professional is              CALL TODAY AND START SAVING
                                                                                                                     855.MTG-HERO
            killed just about every year?

            | could go on and on, but you get the point. We don't have the luxury to go back and
            edit the story like you do. And last time | checked, we can’t respond to calls via Zoom.

            There is a terrible doxxing issue going on there, too. The time is now to sign up for protection under Daniel’s Law through Atlas Privacy. If you
            don't know about either, please speak to your State Delegate ASAP. The time to sign up is not after an event. By then it is too late. Otherwise
            you might see your photo, your house, your business and your salary on a website.

            Thank you for your attendance in Atlantic City, and thank you for your kind attention. Most importantly, continue to stay safe!


                                                                                                       CALL   TODAY   ——__
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Document title: The right to privacy and to attend the Mini Convention – NJ Cops Magazine
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Capture timestamp (UTC): Wed, 05 Jun 2024 19:44:08 GMT                                                                                                                                           Page 1 of 2

                                                                                 JA798
                       Case: 25-1555                   Document: 25                                   Page: 334                                           Date Filed: 04/14/2025
            Another successful Mini Convention is in the books. The meeting room was set for a record 1,360 people, and many of you were still standing in
            the back. Case    1:24-cv-04105-HB
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                                  guy trying to find his hotel room at 7:45 a.m.27-14
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            luck next year. And to the few (thankfully) directors and chiefs who continue to want to interpret the Convention Leave Acct, it’s the LAW, nota
            contract issue. Shame on you.
                                                                                                                                                                                TOTES                AN
            If there has ever been a time for your officers to need a break and work on                                                                                           ee %

            camaraderie, now is the time. They just aren't just about you and your agency. There is §
            a reason morale is low in your place. Maybe it's time to look in the mirror.

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            psychiatric crisis. I'm not the only one in law enforcement to wonder why the video                                                        IN THIS WORLD
            wasn't released earlier to quell the rumors and doubts. Time will unwind the narrative,                                                   THAN PEACE OF
            and time will tell us what was done right and what was done wrong.
                                                                                                                                                                 MIND.
            We always debrief, and we can always improve, but | have a few simple questions for
            the armchair experts out there. Have you ever had a                     front-row seat to a person ina
                                                                                                                                                     A MORTGAGE BUILT
            deep psychiatric emergency?     In obvious tight quarters? Can you tell me how to vet a
                                                                                                                                                        JUST FOR YOU!
            “crisis negotiator” in the middle of the crisis? Are you aware we are responsible for
            everybody brought into a scene? Are you aware a mental health crisis professional is                                               CALL TODAY AND START SAVING
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            you might see your photo, your house, your business and your salary on a website.

            Thank you for your attendance in Atlantic City, and thank you for your kind attention. Most importantly, continue to stay safe!


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Document title: The right to privacy and to attend the Mini Convention – NJ Cops Magazine
Capture URL: https://njcopsmagazine.com/the-right-to-privacy-and-to-attend-the-mini-convention
Capture timestamp (UTC): Wed, 05 Jun 2024 19:44:08 GMT                                                                                                                                                                     Page 2 of 2

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                      EXHIBIT 14




                                     JA800
                 Case: 25-1555               Document: 25               Page: 336              Date Filed: 04/14/2025

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   Atlas' Daniel's Law Service Terms

   Last Updated: February 4, 2024

   Your use of the Atlas service is conditioned upon your acceptance of these Atlas Daniel's Law Service Terms. These Terms contain
   important information regarding your rights and Atlas' rights, and we encourage you to familiarize yourself with these provisions before
   accepting. If you do not understand any part of these Terms, we encourage you to consult with legal counsel or other advisors who can
   assist you.

   To the extent that you are subject to other Atlas terms and conditions in connection with other products or services provided by Atlas,
   and those terms conflict with these Terms, these Terms will control with respect to the Daniel's Law services provided to you by Atlas.
   Your acceptance of these Terms will also constitute your acceptance of Atlas' privacy policy located at https://www.atlas.net/privacy-
   policy, as may be updated from time to time. Accordingly, please familiarize yourself with our privacy policy before accepting these
   Terms.

   The Services may also include access to services provided by third-parties with whom we have a commercial relationship. In these
   instances, and in addition to any limitations contained herein, your use of such third-party services will be governed by the applicable
   terms of service and privacy policies of such third parties and Atlas shall not be responsible for any aspect of such third-party services.

   1. Definitions

   (a) 'Terms" means these Atlas Daniel's Law Service Terms

   (b) "Account" means the account created through the Atlas registration process

   (c) "You" and "User" means the person creating the Account

   (d) "We", "Us" or "Atlas" means Atlas Data Privacy Corporation d/b/a Atlas

   (e) "Services" means Atlas Daniel's Law services and other services for which you subscribe through your Account

   (f) "Website" means the atlas.net, atlasprotect.com, atlasweb.com (or other websites) operated by Us

   2. Registration

   Registration is the process by which you create an Account and subscribe for Services. The registration process will require you to
   provide us with information about you, which may include your name, physical addresses, email addresses, telephone numbers, and
   potentially other identifying information, such as copies of your valid driver's license or other identification, depending on the particular
   Services for which you are subscribing. In order for us to appropriately provide the Services, you represent that all of the information
   that you provide to us will be current, accurate, and complete. You may not open more than one Account . You may not open an Account
   if you are less than eighteen (18) years old, and by registering for the Services, you represent and warrant that you are at least eighteen
   (18) years old. To the extent that you provide information to us about anyone other than yourself, you represent that you have the legal
   right and/or their consent to do so and that all such information will be current, accurate, and complete. If any of the information you
   have provided changes, you agree to update your Account promptly. To the extent that login credentials such as usernames or
   passwords are created by or for you, you shall be solely responsible for maintaining the confidentiality of such credentials and will
   immediately update any such credentials that you believe may have become lost or compromised and notify Atlas.

   3. The Services

   As set forth herein, and as may be further described on our website or as otherwise communicated through your Account, the Services
   consist of access to our Atlas privacy platform, email services, and other functionality we make available in support of your rights
   under Daniel's Law or, if applicable, under other laws and regulations as may be applicable based on your Account subscription.

   (a) Data Broker Scan and Monitoring




Confidential                                                                                                              ATLAS-ALL_00000001

                                                                    JA801
                Case: 25-1555                Document: 25                Page: 337              Date Filed: 04/14/2025

              Case 1:24-cv-04105-HB Document 27-15 Filed 06/10/24 Page 3 of 15 PageID: 915
   Atlas monitors the Internet to identify data brokers and other parties that disseminate personal information about individuals. To help
   you understand the extent to which your home address and telephone numbers are being published on line by third parties, Atlas may
   search for you on publicly available sites. To conduct these searches, Atlas may use some of your personally identifiable information
   that you provide, such as your name, date of birth, address, etc. to locate records of you in third-party databases. Due to the nature of
   the data broker ecosystem, individual searches are not always accurate and there can be some false positive and false negatives.
   Furthermore, some data brokers do not make their information easily accessible to the public. This is why Atlas recommends, as a
   protective measure, that you send takedown notices to the lists of parties Atlas has identified, whether or not they are currently
   displaying your personal information.

   (b) Web Form Opt-Outs

   Atlas provides standardized templates for you to use for sending your takedown notices under Daniel's Law (the "Act," as defined
   herein), and which are designed to comply with the Act's notice requirements. Atlas recommends that users exercise extreme caution
   in any communications with data brokers or other parties to whom the user has sent or will send takedown notices under the Act.

   (c) Atlas Email Platform ("AtlasMail")

   To protect your privacy and to allow you to efficiently send your takedown notices by email, Atlas will supply you with an Atlas email
   account (e.g.example@atlasmail.com) to be used for communications with third-parties. To minimize email filter rejection rates, Atlas
   may use "alias" email addresses in connection with the takedown notices you send, provided that all responses to your emails using
   such alias protection, will be routed to your AtlasMail account.

   You will be able to access your AtlasMail by logging into your Atlas account. In order to ensure your security and the effectiveness of
   our Services, we strongly recommend that you limit the use of your AtlasMail account to the sending of your takedown notices. To
   facilitate delivery of the Services, and for security purposes, we may monitor inbound and outbound email traffic to your AtlasMail
   account.

   (d) Identity Defense Services

   Your subscription to the Services may include access during the subscription term to the Identity Defense services (the "ID Services")
   provided by Intersections LLC d/b/a Pango Group and its affiliates ("Pango"). The ID Services are optional and include victim
   assistance and identity theft insurance. ID Services require enrollment, which can be done in Account, and you authorize Atlas to
   transmit your ID Services enrollment information to Pango. The ID Services are subject to the terms contained in the following
   documents www.identitydefense.com / legal/ terms-of-use/ ; www.identitydefense.com / website-terms-of use/ ; and
   www.pango.co/ privacy-policy/ as same may be updated. You acknowledge that the ID Services are provided by an independent third
   party and Atlas makes no representations or warranties, and shall have no obligations or liability, to you in connection with the ID
   Services or your access and use of the ID Services. Atlas may discontinue providing access to the ID Services at any time upon notice
   posted to your account, posted on the Atlas website, or sent to you via your primary email address listed in your Account.

   (e) Setting Expectations

   While we will perform our Services to the best of our abilities, you acknowledge that in any given instance we may not be able, and do
   not represent or guarantee that the Services will be able to, facilitate or achieve the successful identification of third parties that
   possesses and/or publicly disclose your information, including your home address and telephone numbers or enforcement of your
   legal rights. Also, there is always the risk that recipients of your takedown notices may not comply with those notices. While protecting
   your rights and security are our paramount concern, privacy enforcement is challenging, and we want to be realistic with you in setting
   expectations and underscoring that privacy protection tends to be an ongoing process rather than a one-time activity.

   (f) Atlas Other Commercial Relationships

   As a provider of privacy services, Atlas may have commercial relationships with members of the regulated community, including
   parties that are recipients of your takedown notices, to provide services to or for them in assisting them in managing and meeting their
   obligations under the Act and other privacy regulations.

   4. Daniel's Law Service




Confidential                                                                                                               ATLAS-ALL_00000002

                                                                      JA802
                Case: 25-1555                Document: 25               Page: 338              Date Filed: 04/14/2025

            Case 1:24-cv-04105-HB Document 27-15 Filed 06/10/24 Page 4 of 15 PageID: 916
   (a) Daniel's Law Overview

   In November 2020, New Jersey Governor Murphy signed the Act which amended the Open Public Records Act (OPRA) and other
   statutes protecting personal information for certain persons in public service. The Act was enacted in response to the tragic killing of
   Daniel Anderl, the son of Judge Esther Salas and Mark Anderl. Specifically, the Act is designed to expand data privacy protections for
   personal information about active and retired judges, law enforcement officers, and prosecutors, and their immediate family members.
   Commencing in July 2024, the Act will also apply to child protective investigators in the New Jersey Division of Child Protection and
   Permanency.

   The Act currently allows former, active, and retired judicial officers, prosecutors, and members of law enforcement and their immediate
   family members residing in the same household ("Covered Persons") to request removal and nondisclosure of their (i) home address
   by state, county, and local government agencies, and (ii) home address and home telephone number by private parties. With respect to
   private parties, the Act provides for a private right of action in the event of noncompliance with removal/non-disclosure requests.

   (b) Daniel's Law Definitions

   i. The "Act" or "Daniel's Law" means Daniel's Law (See, New Jersey P.L. 2023, c.113, P.L.2021, c.371, P.L. 2015, c.226).

   ii. "Covered Person" means an active, formerly active, or retired judicial officer or law enforcement officer, as those terms are defined
   by section 1 of N.J. P.L.1995, c.23 (C.47:1 A-1 .1), or prosecutor and any immediate family member residing in the same household as
   such judicial officer, law enforcement officer, or prosecutor.

   iii. "Authorized Person" means a Covered Person or any of the following persons hereby authorized to submit or revoke a request for
   the redaction or nondisclosure of a home address on behalf of a covered person:

   (1) on behalf of any federal judge, a designee of the United States Marshals Service or of the clerk of any United States District Court;

   (2) on behalf of any Covered Person who is deceased or medically or psychologically incapacitated, a person acting on behalf of the
   Covered Person as a designated trustee, as an estate executor, or pursuant to a written power of attorney or other legal instrument; and

   (3) on behalf of any immediate family member who is a minor and who is otherwise entitled to address redaction or nondisclosure
   pursuant to this act, the parent or legal guardian thereof.

   iv. "immediate family member" means a spouse, child, or parent of, or any other family member related by blood or by law to, an active,
   formerly active, or retired judicial officer or law enforcement officer, as those terms are defined by section 1 of P.L.1995, c.23 (C.47:1 A-
   1.1), or prosecutor and who resides in the same household as such judicial officer, prosecutor, or law enforcement officer.

   v. "OIP" means the New Jersey Office of Information Privacy.

   (c) Public Records Removal

   In order to have your home address removed under the Act from state, county and local government agency websites, you need to
   register with and be approved by the OIP. The OIP is a New Jersey state agency that was created to implement certain aspects of the
   Act relating to redaction and/or nondisclosure requests to State, county, and local government agencies to prevent those agencies
   from publicly disclosing protected information. The Act contains certain exceptions to the redaction and/or nondisclosure of
   information from public agency records, and individuals wishing to familiarize themselves with these and other provisions of the Act
   should consult the text of the Act, which can be accessed here: https://pub.njleg.state.nj.us/Bills/2022/S3500/3125_R4.PDF. Public
   records redaction is handled solely by the OIP and not by Atlas. You may learn more about the OIP and register with the OIP for public
   records removals through their website: https:/ danielslaw.nj .gov. Atlas allows you to designate the recipients of your takedown notices
   solely with respect to private parties.

   In connection with the Services, you acknowledge that Atlas is not affiliated with the OIP or any other New Jersey State agency and,
   instead, is a privately owned commercial service provider that provides tools for eligible individuals to enforce their privacy rights
   under the Act against other parties.

   (d) Private Party Records Removal




Confidential                                                                                                              ATLAS-ALL_00000003

                                                                    JA803
                  Case: 25-1555                Document: 25             Page: 339             Date Filed: 04/14/2025

              Case 1:24-cv-04105-HB Document 27-15 Filed 06/10/24 Page 5 of 15 PageID: 917
   (i) Overview

   The Act permits Covered Persons (and Authorized Persons acting on their behalf) to request third parties disclosing or "otherwise
   making available" their home address and/or unpublished home telephone number on the Internet or otherwise make available to
   discontinue such disclosure or availability. The Atlas platform employs commercially reasonable efforts to identify such third parties,
   allows Covered/ Authorized Person to deliver takedown notices under the Act to such third parties and provides some compliance
   monitoring related to those notices, which may vary depending on the recipient. To provide a wide scope of protection, the Atlas
   platform will allow you to send your takedown notices to entities that may not currently possess your data, thereby potentially
   prohibiting them from disclosing or otherwise making available your information in the future. Your eligibility as a "Covered Person" or
   an "Authorized Person" is based solely on your meeting of the Act's definitions of those terms. As part of the sign-up process, Atlas will
   ask you some eligibility questions regarding your law enforcement employment history and whether you have a primary or secondary
   residence in New Jersey, however Atlas' approval of your account should not be relied on as confirmation that you have met the
   eligibility criteria for protection under the Act.

   (ii) Third-Party Selection

   As noted herein, Atlas monitors the Internet to identify parties that may be publishing or selling personal information on the Internet
   and, for your convenience, creates lists of those parties as suggested recipients for your takedown notices. Due to the dynamic nature
   of this landscape and the difficulty in detecting information that is not always directly accessible, the lists compiled by Atlas
   necessarily do not capture every party that may be publishing your information. By design, Atlas has used its discretion to focus its lists
   on those parties who Atlas believes have substantial operations in the collection, publication or selling of personal information.
   However, the Atlas platform will allow you to send your takedown notices to any party for whom you have an email address, whether or
   not they appear in a list prepared by Atlas. The lists prepared by Atlas are subject to updating from time to time as parties are
   identified, and you may indicate that you wish to send your takedown notices to such additional parties as they are identified by Atlas.
   While the lists prepared by Atlas are meant to streamline your process of selecting recipients of your notices, you may at any time
   access your Account to update your notice delivery selections.

   Atlas offers several subscription tiers for its Daniel's Law services. The suggested lists that Atlas provides of third-parties to whom you
   may send your notices may vary based on your subscription tier, however, you will always be able to use AtlasMail to manually send
   takedown notices to any party.

   (iii) Takedown Notice Format

   Takedown notices will contain your name, home address and home telephone number and will identify you as a Covered Person under
   the Act. The Atlas templates are drafted so that you will send a separate takedown notice for each of your home addresses and home
   phone numbers. Below is a representative sample of the format for the address template to be used. (Separate templates are supplied
   for phone numbers and notices sent on behalf of other parties)



     Sample Takedown Notice Template - Address

     [Date]

     To Whom It May Concern:

     I am a "Covered Person" as defined by New Jersey law PL. 2023, c.113, P.L.2021, c.371 (as amended, the ':4ct'.'). Pursuant to the
     Act and Section 3 of New Jersey P.L.2015, c.226 {C.56:8-166.1} (as amended), and I hereby request that you not disclose or re-
     disclose on the Internet or otherwise make available, the following protected information:

     Name: John J Doe

     Home Address: 123 Main St. Anyto wn, NJ 12345

     Sincerely,

     JohnJ Doe




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   (iv) Sending Takedown Notices

   To protect your privacy, your takedown notices delivered through the Atlas platform will be sent through your AtlasMail. However, it is
   important to note that some recipients of takedown notices may not possess some or all of the information in your notice prior to
   receipt of your takedown notice.

   Atlas provides email addresses for the parties contained in the lists generated by Atlas, and uses its judgment in selecting the
   appropriate addresses for your takedown notices. However, Atlas cannot guarantee, and does not represent, that such parties will
   accept takedown notices delivered to such email addresses or that the email addresses selected by Atlas are correct. If a third party
   changes their email address, or in instances of failed delivery or if Atlas identifies a more suitable email address or other method of
   delivering notice to a party, then Atlas may deliver or redeliver your takedown notice to such other address or by such other method.

   The Atlas platform will schedule the delivery dates of your takedown notices based on a variety of factors, including, completion of
   pending updates, testing or maintenance of the Atlas platform, the need to confirm additional information about you or the recipients of
   your takedown notices, the desirability of batching notices for administrative purposes or to realize efficiencies in notification and
   delivery, however, the Atlas platform will also let you send individual takedown notices on an immediate basis to any third party.
   Information about current notice delivery scheduling and timing is available in your Account.

   With respect to your takedown notices, you, and not Atlas, are the sender. Other than as provided herein, Atlas shall have no
   authority to negotiate with recipients of your takedown notices or otherwise waive or settle any claims that you may have arising out
   of noncompliance with your takedown notices; however, to the extent that a claim arising under one of your takedown notices is
   assigned to Atlas or its affiliates pursuant to an Assignment Confirmation, after such assignment, Atlas or, as applicable, its affiliate
   may manage the prosecution and resolution of such claim in its sole discretion.

   (v) Updating Your Information/ Withdrawing Takedown Notices

   It is important that you update your Account with any changes of address or status.

   (1) Change of Personal Information:

   The Act does not provide specific guidance on the procedure to be followed if the personal information contained in your previously
   delivered takedown notices change. Our recommendation is that if you change your address, telephone number or name, you should
   not voluntarily withdraw takedown notices you have delivered for your old information, as this information may still be used to locate or
   communicate with you. However, immediately upon a change of address, telephone number or name, we recommend that you send
   new takedown notices covering the new information. The Atlas platform provides workflows to streamline this process and additional
   information on this process is available in your Account.

   (2) Change of Status - Immediate Family Member: If you have sent takedown notices on the basis that you are an immediate family
   member of a Covered Person and reside in the same household as they do, and thereafter you no longer reside with that Covered
   Person, the Act requires that within thirty (30) following such change in status, you send notification of such change of status to all
   parties to whom you have sent takedown notices. The Atlas platform provides functionality for sending these change of status
   notifications and information on how to do so is available in your Account.

   (3) Volunta y Withdrawals - The Atlas platform will allow you to withdraw takedown notices you have previously sent. However,
   voluntary withdrawals of takedown notices should be considered carefully, as the withdrawal may compromise your privacy. Such
   withdrawals may also affect any potential or pending claims for damages or other relief that you may have for non-compliance with the
   takedown notice(s) to be withdrawn. For this reason, you agree that without the prior written consent of Atlas for any takedown notice
   that is subject of an Assignment Confirmation, you will not voluntarily withdraw that takedown notice.

   (vi) Minors/ Authorized Persons - Individuals under 18 years old may not use the Atlas platform to send takedown notices. While Atlas
   has found that data brokers generally do not publish information on line about minors, the Act permits parents and legal guardians to
   send takedown notices as "Authorized Persons" on behalf of immediate family members under 18 year of age who reside with a
   Covered Person. The Atlas platform allows Authorized Persons to send takedown notices on behalf of minors and other qualifying
   individuals and information on how to do so is available in your Account. To the extent that you use the Atlas platform to send




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   takedown notices as an Authorized Person on behalf of another person, you represent and warrant to Atlas that you are eligible to do
   so.

   (e) Formal Enforcement Actions

   To support compliance with private party takedown notices, the Act provides a private right of action - meaning that individuals and
   their assignees have the right to bring legal actions against private parties that fail to honor their takedown notices. In the event of a
   violation, the Act provides for liquidated damages in the amount of $7,000 per violation and allows for the recovery of attorney's fees,
   among other remedies.

   (I) Actions where you are a plalntlff.

   To the extent that third parties fail to honor your takedown notices under the Act, we may facilitate introductions to counsel who may
   be able to provide you and/or your eligible family members with the opportunity to participate individually, collectively, or as putative
   class members in formal legal action(s) to enforce your and their rights and recover damages and other relief. You acknowledge that
   we may provide information about you and relating to your takedown notices to potential and actual counsel to support the
   enforcement of your rights under the Act. Such counsel would typically only receive compensation in connection with awards of
   damages or settlements received as a result of their efforts. The choice to participate in each such instance of formal legal action will
   be at your sole discretion, and if applicable, the discretion of your eligible family members. Our role in these situations is as a facilitator,
   and not as your attorneys, and we shall not be responsible for the any aspect of the conduct of such legal actions.

   Separate from any attorney's fees, in connection with damage awards or settlements recovered by you that result from takedown
   notices delivered through the Atlas platform, you agree that Atlas will be entitled to receive compensation from you in the form of
   the Service Fee, as outlined in below in Section 5 (Payment).

   (II) Assignments - Actions where Atlas or Its affiliates are the plaintiff.

   In certain circumstances Atlas may in its discretion determine that an efficient method of prosecuting takedown notice enforcement
   actions is through civil litigation whereby individual claims are aggregated and prosecuted by Atlas or its affiliates. To this end, upon a
   written notice from Atlas (which may be sent to you by email or within the Atlas application) which shall both trigger and confirm
   your legal assignment to Atlas or an affiliate of Atlas (as applicable, the "Assignee") of your right to bring civil enforcement actions
   for violation of your rights under the Act in connection with one or more of your takedown notices delivered through the Atlas
   Services (each such notice an "Assignment Confirmation"), you shall be deemed, upon your receipt of such Assignment
   Confirmation, to have irrevocably assigned to the Assignee all of your rights to bring a claim (and seek damages, other legal
   remedies, and fees, costs, and litigation expenses) for violations of your rights under the Act with respect to the takedown notices
   covered by the Assignment Confirmation and following such assignment, the Assignee will have the exclusive right to bring such
   civil enforcement actions anywhere in the world with respect to those takedown notices covered by the Assignment Confirmation. To
   the extent that the Assignee requires further written confirmation of such assignment(s), you hereby irrevocably appoint Atlas as
   your attorney-in-fact to execute any such further written assignments or confirmations on your behalf, and such appointment is
   coupled with an interest. Atlas affiliates serving as Assignees shall be deemed third-party beneficiaries of these Terms and may
   enforce them in their own right.

   Revenue Share on Recoveries Under Assignment Confirmations: (i) Settlements: For claims against third parties for non-compliance
   with your takedown notices that have been transferred to an Assignee pursuant to Assignment Confirmations and which are resolved
   through settlement, from the net amounts of settlements received by the Assignee (i.e., amounts actually collected, less third-party
   attorney's fees and associated investigation, litigation and collection costs and expenses), Atlas will cause the Assignee to remit to
   you sixty-five percent (65%) of the pro-rata portion of such amounts allocable to the takedown notices covered by your Assignment
   Confirmation, with such amounts to be paid with thirty (30) days following the Assignee's receipt of such amounts. (ii) Judgments:
   To the extent that amounts are recovered by Assignee by way of judgment, instead of settlement, for non-compliance with your
   takedown notices that have been transferred to an Assignee pursuant to Assignment Confirmations, Atlas will cause the Assignee to
   pay to you sixty-five percent (65%) of the net amounts of such judgment recoveries received by the Assignee (i.e., amounts actually
   collected less third-party attorney's fees and associated investigation, litigation, and collection costs and expenses allocable to the
   takedown notices subject to your Assignment Confirmation, with payment to be made within thirty (30) days following the Assignee's




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   receipt of such amounts. With respect to judgment recoveries, the Assignees may be eligible to recover from the defendant(s)
   reasonable attorneys' fees, costs, and litigation expenses incurred, and any amounts of attorney fees and litigation costs so
   recovered will be offset against such actual amounts of attorney's fees and litigation costs actually incurred in computing net
   amounts payable hereunder, provided that any amounts of attorney's fees and litigation costs recovered that are in excess of actual
   attorney's fees and actual litigation costs incurred will not be included in the amounts to be shared with you hereunder.

   To the extent that the Assignee reasonably requires you to sign and/or provide any tax documents or other documents or information
   in order to make payments to you, such payments may be withheld until you have delivered to Atlas such documents or information.
   The Assignee shall use its good faith discretion in prosecuting and settling claims covered by Assignment Confirmations, and in doing
   so may take into consideration a variety of factors in prosecuting and settling such claims, including but not limited to, the achievement
   of future compliance, the certainty afforded by settlement, and the challenges presented by potential legal defenses.

   To support compliance, as part of or in parallel to settlement or enforcement of claims covered by Assignment Confirmations, Atlas
   may enter into service agreements with defendants in such actions and the fees payable to Atlas under such service agreements will
   not be included in the net pro-rata amounts payable to you in connection with such actions. Atlas will use its good faith discretion to
   ensure that such service fees payable to Atlas as part of such settlements will not materially exceed its standard commercial rates for
   comparable services for similarly situated customers.

   All litigation has inherent uncertainties of outcome and, accordingly, neither Atlas nor its affiliates make any representations or
   warranties regarding their ability to achieve successful or maximum value damage awards or settlements of actions arising under
   Assignment Confirmations or that Assignment Confirmations will achieve better outcomes than other approaches for enforcement of
   claims arising under your takedown notices delivered using Atlas' Services.

   5. Payment

   Atlas is compensated for its Services through a combination of (a) Subscription Fees and (b) outcome-based Service Fees that are
   computed as a percentage of any damages awards or settlements recovered by you under the Act as a result of or in connection with
   your takedown notices delivered through the Atlas platform.

   Subscription Fees

   Subscription Fees for the Services are set forth in the registration process and/or the Website and/or your Account and vary according
   to the following Services plans:

   (a) Enterprise or Group Affiliated Plans - In some instances, you may be a member of a union or other organization whose membership
   plans include payment of all or a portion of your Subscription Fees for Atlas' Daniel's Law Services. In that instance, a separate
   Subscription Fee may not be due from you, but subscription fees may be applicable for any Atlas additional services for which you may
   subscribe.

   (b) Individual Plans - If your Subscription Fees have not been paid by a third-party, you can still use the Service in exchange for the
   Subscription Fee identified on the Atlas website or through your Account. Individual plans are offered with a variety of different features
   that are accessible in your Account and provide various levels of data broker coverage.

   (c) limited Subscription Plan - Atlas also offers a Subscription plan for the Services that does not require payment of Subscription
   Fees, but for which Service Fees remain applicable. This plan does not include coverage of the full array of data brokers identified by
   Atlas and provides limited access to other services.

   Details on the specific features that are included in your subscription plan are contained in your Account. However, under any plan, you
   may send takedown notices through AtlasMail at any time to any additional parties that you identify. Atlas reserves the right from time
   to time to modify the scope of the Services and the Subscription Fees it charges for access to the Services.

   Service Fees

   The Service Fees charged by Atlas supports our development of the platform and related services and is payable to Atlas only if there
   is a monetary recovery for violations of your rights under the Act. With respect to the amount of damages awarded and/or settlements
   that are recovered by you (and/or your eligible family member for whom you have subscribed) in connection with or as a result of the




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   Services for violations of the Act, you hereby irrevocably assign to Atlas thirty-five percent (35%) thereof (the "Service Fee") and will
   make payment to Atlas for the Service Fee within fourteen (14) days following your receipt of the recovered amounts. In support of your
   payment obligation to Atlas, you hereby irrevocably appoint Atlas as your attorney-in-fact, and such appointment is coupled with an
   interest, to instruct your attorneys or other parties in possession or control of such damages or settlement amounts, including
   settlement agents, to make payment of applicable Service Fees directly to us on your behalf and, as applicable, on behalf of such
   eligible family members, and amounts paid by them will constitute amounts paid by you and, as applicable, such eligible family
   members. We may deliver such instructions in our own name and/or your name, including through written instructions bearing auto-
   generated or electronic versions of your signature. As noted above, Assignment Confirmations have their own recovery sharing
   formula and separate Service Fees will not be due for recoveries under takedown notices for which Assignment Confirmations are in
   effect.

   Service Fee Computation: Service Fees are computed on gross amounts of recovery. By way of example, in the event that a
   takedown notice delivered by you through the Atlas Services results in a damages or settlement recovery by you in the total amount
   of $1,000, the amount of Service Fee payable by you to Atlas in connection with that recovery would be computed by applying the
   thirty-five percent (35%) Service Fee rate to the full $1,000, without taking into account of or adjusting for payments, if any, made or
   to be made by you to any other parties in connection with such recovery, resulting in a Service Fee of $350 due to Atlas.

   You acknowledge that the amount and method of computation of the Service Fees are fair and reasonable in exchange for the
   Services provided by Atlas in connection with the enforcement of your and your eligible family members' rights under the Act.

   You agree to make payment or direct payment to us for applicable fees. You will only be responsible for Service Fees to the extent that
   you receive damages awarded and/or settlements. In the event that you do not make payment to us of applicable fees or prevent
   payment to us of Service Fees, in addition to any other remedies, we may immediately suspend or terminate the provision of the
   Services to you and will provide notice of any such suspension or termination to your personal email address that you have provided
   when creating your Atlas Account.

   Attorneys representing the Covered Persons (or assignees, such as Atlas) may also be entitled to recover their reasonable attorneys'
   fees, costs, and litigation expenses from the defendant(s) and any such attorney's fees awarded by a court will not be included as part
   of your recovery for the purpose of computing the Service Fees due to Atlas.

   6. Support

   To reach our customer support team, please e-mail us at support@atlas.net. Providing our representatives with all the information they
   need to solve your problem will expedite your request for assistance. These communications may involve retained attorneys and will be
   subject to the attorney-client privilege.

   7. Restrictions

   Atlas may verify your Account prior to providing access to all of the Services, and functionality may be limited or suspended pending
   verification.

   In order to protect the integrity of the Website, the Services and our systems, you agree that you will not, and will not permit others to:

       •     Reproduce, modify, adapt, prepare derivative works based on, perform, display, publish, distribute, transmit, broadcast, sell,
             license or otherwise exploit the Services or any component thereof.

       •     Make use of the Services for anyone or any purpose other than on behalf of yourself and any eligible family members for whom
             you have enrolled in the Services.

       •     Circumvent, disable or otherwise interfere with security related features of the Services or Website or features that prevent or
             restrict use or copying of any content.

       •     Interfere with or disrupt (or attempt to interfere with or disrupt) the operation of the Website or Services.

       •     Attempt to decipher, decompile, disassemble or reverse engineer any of the software used to provide the Website or the
             Services.




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       •   Impersonate or misrepresent your affiliation with any person or entity, through pretexting or some other form of social
           engineering or otherwise commit fraud.

       •   Post, upload, or otherwise transmit through the Website or the Services any content that is unlawful, obscene, harmful,
           threatening, harassing, defamatory or hateful or that contain objects or symbols of hate, invade the privacy of any third party,
           contain nudity (including without limitation any pornography), is deceptive, threatening, abusive, inciting of unlawful action,
           defamatory, libelous, vulgar or violent or constitute hate speech or is otherwise objectionable in our opinion; that infringes the
           intellectual property rights or violates the privacy rights of any third party (including without limitation copyright, trademark,
           patent, trade secret, or other intellectual property right, or moral right or right of publicity), or otherwise violates or promotes the
           violation of the rights of any third party; that contains software viruses or any other computer code, files, or programs designed
           to interrupt, destroy or limit the functionality of any computer software, or interferes with the access of any user, host or
           network, including without limitation sending a virus, overloading, flooding or spamming the Website or the Services.

       •   Use the Website or the Services in any manner not permitted by these Terms or applicable law.

       •   Encourage or instruct any other individual to do any of the foregoing or to violate any of these Terms.

   Upon any actual, threatened, or suspected violation by you of the foregoing restrictions or any other provision of this Agreement or any
   other applicable Atlas policies, we may immediately suspend your access to all or a portion of the Services without advance notice.

   8. Disclaimer of Warranties

   Your use of the Website, Services and any other information, products, functionality or software made available through the Website or
   the Services is at your sole risk and discretion and we hereby disclaim all liability to you or any third party relating thereto. The Website,
   Services and all materials, information and products included therein, are provided on an "as is" and "as available" basis without
   warranties of any kind. We expressly disclaim all warranties of any kind, express, implied or statutory, relating to the Websites and
   Services, including without limitation the warranties of title, merchantability, fitness for a particular purpose, non-infringement of
   proprietary rights, course of dealing or course of performance.

   Not in limitation of the foregoing, we disclaim any warranties:

       •   Regarding the security, accuracy, reliability, timeliness and performance of the Website or the Services.

       •   That the Website or the Services will be error-free or that any errors will be corrected.

       •   That the Website or the Services will be of any particular quality, meet any standards or requirements, or conform to any of your
           expectations in this regard.

       •   Regarding the performance of third parties, including counsel enforcing your rights under the Act.

       •   Regarding the degree of protection afforded by the Act or Atlas' Services.

   No advice or information, whether oral or written, obtained by you from us, will create any warranty not expressly stated in these Terms.
   Some states or jurisdictions do not allow the exclusion of certain warranties. Accordingly, some of the above exclusions may not apply
   to you. Our ability to confirm the identity of users of Website or Services or monitor their behavior is necessarily limited, accordingly, we
   disclaim all liability for actions of third parties that reflect theft or any other misuse of your identity or other personal information.
   Additionally, nothing in these Terms, the Website or the Services shall be construed as legal advice from Atlas and its affiliates, and
   no attorney-client relationship is intended or shall arise out of these Terms, the Website or the Services.

   Third Parties' Software, Content and Actions. We are not responsible for:

       •   The content, services, applications or availability of third parties' websites that you access using the Website or the Services,
           including but not limited to the ID Services.

       •   The availability, performance, functionality or any consequences of your use of any third parties' components, software,
           modules built into or otherwise integrated and available through the Website or the Services, including but not limited to the ID
           Services.




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       •   Legal services provided by counsel in connection with the enforcement of your rights under the Act and/or your takedown
           notices.

       •   Acts or omissions of third parties, including but not limited to the provider(s) of the ID Services.

   9. Limitation of Liability

   IN NO EVENT WILL WE, OUR OFFICERS, DIRECTORS, EMPLOYEES, AFFILIATES, ATTORNEYS OR AGENTS, BE LIABLE TO YOU FOR ANY
   DAMAGES WHATSOEVER, INCLUDING WITHOUT LIMITATION, INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE OR CONSEQUENTIAL
   DAMAGES ARISING OUT OF OR IN CONNECTION WITH YOUR USE OF THE WEBSITE AND/OR SERVICES, SERVICES OF THIRD PARTIES
   TO WHICH WE HAVE PROVIDED ACCESS, OR PROSECUTION OF CLAIMS UNDER ASSIGNMENT CONFIRMATIONS, WHETHER THE
   DAMAGES ARE FORESEEABLE AND WHETHER OR NOT WE HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. THE
   FOREGOING LIMITATION OF LIABILITY WILL APPLY TO THE FULLEST EXTENT PERMITTED BY LAW IN THE APPLICABLE
   JURISDICTION AND IN NO EVENT WILL OUR CUMULATIVE LIABILITY TO YOU EXCEED AMOUNT OF THE SERVICE FEES ACTUALLY
   PAID BY YOU IN THE SIX (6) MONTHS PRECEDING THE EVENT GIVING RISE TO YOUR CLAIM OR, IF NO FEES APPLY, FIFTY ($50) U.S.
   DOLLARS. TO THE EXTENT THAT WE ARE PROVIDING SERVICES TO A THIRD PARTY AND AS A RESULT OF OUR ACTS OR
   OMMISSIONS IN PROVIDING THOSE SERVICES, YOU SUSTAIN A LOSS, INJURY OR OTHER VIOLATION OF RIGHTS, TO THE MAXIMUM
   EXTENT PERMITTED BY LAW, NEITHER WE NOR SUCH THIRD PARTY WILL HAVE ANY LIABIL TY TO YOU OR ANY PERSON CLAIMING
   THROUGH OR ON BEHALF OF YOU AND YOU EXPRESSLY ACKNOWLEDGE THAT SUCH THIRD PARTIES TO WHOM WE PROVIDE SUCH
   SERVICES ARE IDENTIFIED THIRD-PARTY BENEFICIARIES OF THIS LIMITATION OF LIABILITY AND MAY ENFORCE SUCH LIMITATION
   AGAINT YOU OR OTHER PERSONS CLAIMING THROUGH YOU OR ON YOUR BEHALF.

   NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THESE TERMS WE SHALL NOT BE LIABLE FOR DELAYS, INTERRUPTIONS,
   SERVICE FAILURES AND OTHER PROBLEMS INHERENT IN USE OF THE INTERNET AND ELECTRONIC COMMUNICATIONS OR OTHER
   SYSTEMS OUTSIDE OUR REASONABLE CONTROL.

   THE PROVISIONS OF THIS SECTION ALLOCATE THE RISKS UNDER THESE TERMS BETWEEN THE PARTIES, AND THE PARTIES HAVE
   RELIED ON THESE LIMITATIONS IN DETERMINING WHETHER TO ENTER INTO THESE TERMS.

   10. Indemnification

   You agree to defend, indemnify, and hold us, our parents, subsidiaries, affiliates, customers, vendors, and their respective officers,
   directors, employees, attorneys and agents, harmless from and against any claims, liabilities, damages, losses, and expenses, including
   without limitation reasonable attorney's fees and costs, arising out of or in any way connected with:

       •   Your access to or use of the Website, the Services or services provided by third parties.

       •   Your violation of these Terms.

       •   Your violation of any third-party right, including without limitation any intellectual property right, publicity, confidentiality,
           property or privacy right.

   11. External Links

   The Website or the Services may contain external links that provide links to third-party websites or resources. You acknowledge and
   agree that we are not responsible or liable for the availability or accuracy of, and we do not endorse, such websites or resources or the
   content, products, or services on or available from such websites or resources. When you follow a link, or engage with a third-party
   service, website, resource you are interacting with the third party, not with us. You acknowledge sole responsibility for and assume all
   risk arising from your use of any such websites, products, content, promotions services or resources. Your access, purchase or use of
   any website, product or service, and any information provided by you or collected as a result of such interaction, shall be governed by
   the applicable third-party privacy policy, data gathering practices, terms of use or other agreements.

   12. Modification

   We reserve the right, at our sole discretion:

       •   To modify or revise these Terms at any time by posting the amended Terms on the Website. Please check the most current




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           Terms to ensure that you are aware of all the terms governing your use of the Website and the Services.

       •   To make changes, update or discontinue the Website, Services or any format, feature or functionality thereof at any time with or
           without notifying you.

       •   To terminate or restrict access to the Website or the Services for any reason whatsoever.

   Your continued use of the Website or the Services after a change or update has been made will constitute your acceptance to the
   revised Terms. If you do not agree with the modifications, please discontinue use of the Website and the Services immediately, and
   cancel the account you have opened with us. Notwithstanding the foregoing, any modification of the Service Fee rate will require your
   express consent.

   13. Termination and Account Cancellation

   Your subscription for Services will remain effective until expiration or until terminated by you or us in accordance with these Terms.

   Termination by You. You may terminate your subscription to the Services at any time upon written notice delivered to
   support@atlas.net, provided that any such termination will not affect our right to receive Service Fees with respect to takedown notices
   that have been delivered through the Atlas platform prior to such termination date.

   Termination by Us. Without limiting other remedies, we may suspend or terminate these your subscription for Services, these Terms
   with you, or may terminate or suspend your use of the Website or the Services, and/or may remove any of your data at any time if:

       •   You violate any term of these Terms.

       •   You infringe proprietary rights, rights of privacy, or intellectual property rights of any person, business or organization.

       •   You engaged in other actions relating to or in the course of using the Website or the Services that may be illegal or cause
           liability, harm, embarrassment, harassment, abuse or disruption for you, other Users, us, any other third parties or for the
           Website or the Services.

       •   You have 'charged back' or denied any of the payments that you made for your subscription.

       •   It is required by applicable law.

       •   We cease offering the services and/or discontinued the Website or the Services.

       •   Notwithstanding the foregoing, we also reserve the right to terminate the Website, Services or cancel your account at any time
           and for any reason.

   Effect of Termination. Upon termination of your subscription for Services or these Terms, all licenses and rights to use the Website and
   the Services shall immediately terminate; and you will immediately cease any and all use of the Website and the Services. Upon such
   termination, Atlas will no longer pay for subscription or other fees for your access and use of services provided by third parties,
   including the ID Services, and your access and use of such services may terminate unless you make payment arrangements and/or
   enter into subscription agreements directly with such third-party service providers.

   Upon any termination you will no longer be able to access data or content submitted by you. We will have no obligation to maintain any
   information or content stored in our database related to your account or to forward any information to you or any third party, provided
   that we may retain such information for: (a) archival purposes, (b) as may be necessary or advisable in connection with enforcement of
   outstanding takedown notices, (c) confirmation of you and your eligible family members as Covered Persons under the Act in
   connection our agreements with third parties to provide support in connection with compliance under the Act, (d) for enforcement of
   our or our affiliates' rights, including in connection with the enforcement of Assignment Confirmations, or for other internal business
   purposes, or (e) to enable third parties to comply with and/or avoid violating your rights under the Act, whether or not they have
   received a takedown notice from you.

   Any suspension, expiration or termination of your subscription for Services and/or these Terms will not affect your obligations to us
   under these Terms, including, without limitation, payment of Service Fees in connection with takedown notices delivered through the
   Atlas platform prior to such suspension, expiration or termination, proprietary rights and ownership, indemnification and limitation of




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   liability, confidentiality, which reasonably are intended to survive such expiration, suspension or termination, nor will expiration,
   suspension or termination affect our or our affiliates' rights with respect to Assignment Confirmations delivered to you prior to such
   expiration, suspension or termination.

   In addition to any other available relief, Atlas, and as applicable it affiliates, shall be entitled to recover their reasonable attorney's fees
   in connection with any action to recover payments due from you to Atlas, or to enforce their rights under these Terms.

   14. Intellectual Property

   The Website, the Service and Atlas' original content (excluding Content provided by users), features and functionality contained within
   are and will remain the exclusive property of Atlas and its licensors. The Website and Service are protected by copyright, trademark,
   and other laws of the United States and foreign countries and may not be used without prior written consent of Atlas.

   15. Copyright Policy

   Atlas respects the intellectual property rights of others. It is our policy to respond to any claim that Content posted on the Website or
   Service infringes on the copyright or other intellectual property rights ("Infringement") of any person or entity.

   If you are a copyright owner, or authorized on behalf of one, and you believe that the copyrighted work has been copied in a way that
   constitutes copyright infringement, please submit your claim via email to support@atlas.net, with the subject line: "Copyright
   Infringement" and include in your claim a detailed description of the alleged Infringement as detailed below, under "DMCA Notice and
   Procedure for Copyright Infringement Claims."

   You may be held accountable for damages (including costs and attorneys' fees) for misrepresentation or bad-faith claims on the
   infringement of any Content found on and/or through Service on your copyright.

   16. DMCA Notice and Procedure for Copyright Infringement Claims

   You may submit a notification to Atlas pursuant to the Digital Millennium Copyright Act (DMCA) by providing our Copyright Agent with
   the following information in writing (see 17 U.S.C 512(c)(3) for further detail):

   (a) an electronic or physical signature of the person authorized to act on behalf of the owner of the copyright's interest.

   (b) a description of the copyrighted work that you claim has been infringed, including the URL (i.e., web page address) of the location
   where the copyrighted work exists or a copy of the copyrighted work.

   (c) identification of the URL or other specific location on Service where the material that you claim is infringing is located.

   (d) your address, telephone number, and email address.

   (e) a statement by you that you have a good faith belief that the disputed use is not authorized by the copyright owner, its agent, or the
   law.

   (f) a statement by you, made under penalty of perjury, that the above information in your notice is accurate and that you are the
   copyright owner or authorized to act on the copyright owner's behalf.

   You can contact Atlas' Copyright Agent via email at legal@atlas.net.

   17. Legal Actions

   Choice of Law. You agree that the laws of the State of New Jersey govern these Terms, their subject matter, the relationship between
   you and us, any action related these Terms, and any claim or dispute it may arise, without regard to the conflict of laws rules, and that
   the United Nations Convention on Contracts for the International Sale of Goods shall have no applicability.

   Location for Resolving Disputes. You further agree that any disputes or claims related to these Terms will be resolved by state courts
   located in the State of New Jersey, and you agree and submit to the exercise of personal jurisdiction of such courts for the purpose of
   litigating any such claim or action. BY AGREEING TO THESE TERMS, YOU ARE: WAIVING CLAIMS THAT YOU MIGHT OTHERWISE HAVE
   AGAINST US BASED ON THE LAWS OF OTHER JURISDICTIONS, INCLUDING YOUR OWN, IRREVOCABLY CONSENTING TO THE




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   EXCLUSIVE JURISDICTION OF, AND VENUE IN, THE STATE COURTS LOCATED IN NEW JERSEY OVER ANY DISPUTES OR CLAIMS YOU
   HAVE WITH US, AND SUBMITTING YOURSELF TO THE PERSONAL JURISDICTION OF SUCH COURTS FOR THE PURPOSE OF
   RESOLVING ANY SUCH DISPUTES OR CLAIMS.

   Class Action Waiver. IN CONNECTION WITH ANY LEGAL ACTION ARISING OUT OF OR IN CONNECTION WITH THESE TERMS, THE
   WEBSITE OR THE SERVICES, YOU HEREBY WAIVE ANY RIGHT TO ASSERT ANY CLAIMS AGAINST ATLAS OR ITS AFFILIATES AS A
   REPRESENTATIVE OR MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION, EXCEPT WHERE SUCH WAIVER IS PROHIBITED BY LAW
   OR DEEMED BY A COURT OF LAW TO BE AGAINST PUBLIC POLICY. TO THE EXTENT YOU ARE PERMITTED BY LAW OR COURT OF
   LAW TO PROCEED WITH A CLASS OR REPRESENTATIVE ACTION AGAINST ATLAS OR ITS AFFILIATES, YOU AGREE THAT: (I) YOU
   SHALL NOT BE ENTITLED TO RECOVER ATTORNEYS' FEES OR COSTS ASSOCIATED WITH PURSUING THE CLASS OR
   REPRESENTATIVE ACTION; AND (11) YOU WILL NOT SUBMIT A CLAIM OR OTHERWISE PARTICIPATE IN ANY RECOVERY SECURED
   THROUGH THE CLASS OR REPRESENTATIVE ACTION.

   18. General

   (a) No Agency. Excluding your appointment of Atlas as your attorney-in-fact for delivering your Service Fees payment instructions, no
   joint venture, partnership, employment, or agency relationship exists between you and Atlas or its affiliates as a result of these Terms
   or use of the Services. Neither Atlas nor its affiliates shall have or be deemed to have fiduciary status or duties to you with respect to
   the Services or enforcement of takedown notices under Assignment Confirmations.

   (b) Government Use. Nothing in these Terms makes us a government contractor or agent of any governmental body or agency.

   (c) Notices. Any notices or other communications permitted or required under these Terms will be in writing and given:

   By You:

       •
                 o   to legal@atlas.net

   By Us:


       •
                 o   Via email (to the address that you provide during registration), or

                 o   By posting to the Website.

   (d) Consent to Receive Communications in Electronic Form. For contractual purposes, you:

       •     Consent to receive communications from us in an electronic form via the email address you have submitted, by text and phone
             to the phone number(s) you have provided; and

       •     Agree that the Terms and all agreements, notices, disclosures, and other communications that we provide to you electronically
             satisfy any legal requirement that such communications would satisfy if it were in writing.

   (e) Assignment. You will not assign these Terms or assign any rights or delegate any obligations hereunder, in whole or in part, whether
   voluntarily or by operation of law, without our prior written consent. Any purported assignment or delegation by you without our
   appropriate prior written consent will be null and void. We may assign these Terms or any rights hereunder without your consent.

   () No Waiver. The failure by us to exercise, or delay in exercising, a legal right or remedy provided by these Terms or by law shall not
   constitute a waiver of our right or remedy.

   (g) Severabili y and Integration. These Terms constitute the entire agreement between you and us regarding the subject matter hereof
   and supersede all previous written or oral agreements regarding the subject matter hereof. If any part of these Terms is held invalid or
   unenforceable, that portion shall be construed in a manner consistent with applicable law to reflect, as nearly as possible, the original
   intentions of the parties, and the remaining portions shall remain in full force and effect.




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                     EXHIBIT 15




                                    JA815
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SenderAddress                        ToRecipients           CreatedDate                       MessageSubject
[REDACTED]38@atlasmail.com           support@homesnap.com   2023-12-28 00:38:02.9785 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]64@atlasmail.com           support@homesnap.com   2023-12-28 00:38:11.2677 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]38@atlasmail.com           support@homesnap.com   2023-12-28 00:38:12.2367 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]70@atlasmail.com           support@homesnap.com   2023-12-28 00:38:14.1288 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]33@atlasmail.com           support@homesnap.com   2023-12-28 00:38:15.2071 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]38@atlasmail.com           support@homesnap.com   2023-12-28 00:38:19.2255 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]88@atlasmail.com           support@homesnap.com   2023-12-28 00:38:22.3044 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]74@atlasmail.com           support@homesnap.com   2023-12-28 00:38:25.2435 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]33@atlasmail.com           support@homesnap.com   2023-12-28 00:38:27.9086 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]88@atlasmail.com           support@homesnap.com   2023-12-28 00:38:30.9427 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]168@atlasmail.com          support@homesnap.com   2023-12-28 00:38:33.3394 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]74@atlasmail.com           support@homesnap.com   2023-12-28 00:38:36.1692 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]168@atlasmail.com          support@homesnap.com   2023-12-28 00:38:39.2524 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]62@atlasmail.com           support@homesnap.com   2023-12-28 00:38:42.4245 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]64@atlasmail.com           support@homesnap.com   2023-12-28 00:38:45.3637 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]64@atlasmail.com           support@homesnap.com   2023-12-28 00:38:48.5101 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]62@atlasmail.com           support@homesnap.com   2023-12-28 00:39:30.5428 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]26@atlasmail.com           support@homesnap.com   2023-12-28 00:39:33.6369 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]37@atlasmail.com           support@homesnap.com   2023-12-28 00:39:36.5905 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]86@atlasmail.com           support@homesnap.com   2023-12-28 00:39:39.6162 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]62@atlasmail.com           support@homesnap.com   2023-12-28 00:39:41.8041 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]20@atlasmail.com           support@homesnap.com   2023-12-28 00:39:44.6638 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]74@atlasmail.com           support@homesnap.com   2023-12-28 00:39:47.5248 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]92@atlasmail.com           support@homesnap.com   2023-12-28 00:39:50.4679 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]55@atlasmail.com           support@homesnap.com   2023-12-28 00:39:52.7364 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]77@atlasmail.com           support@homesnap.com   2023-12-28 00:39:59.7787 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]77@atlasmail.com           support@homesnap.com   2023-12-28 00:40:02.9706 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]862@atlasmail.com          support@homesnap.com   2023-12-28 00:40:05.0034 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]92@atlasmail.com           support@homesnap.com   2023-12-28 00:40:06.0192 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]90@atlasmail.com           support@homesnap.com   2023-12-28 00:40:08.1133 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]20@atlasmail.com           support@homesnap.com   2023-12-28 00:40:08.9883 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]25@atlasmail.com           support@homesnap.com   2023-12-28 00:40:11.1929 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]92@atlasmail.com           support@homesnap.com   2023-12-28 00:40:11.9900 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]25@atlasmail.com           support@homesnap.com   2023-12-28 00:40:14.1655 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]74@atlasmail.com           support@homesnap.com   2023-12-28 00:40:15.1980 -05:00   Data Subject Request - Redaction/nondisclosure Request


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SenderAddress                        ToRecipients           CreatedDate                       MessageSubject
[REDACTED]862@atlasmail.com          support@homesnap.com   2023-12-28 00:40:17.6516 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]55@atlasmail.com           support@homesnap.com   2023-12-28 00:40:18.2767 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]862@atlasmail.com          support@homesnap.com   2023-12-28 00:40:20.3897 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]83@atlasmail.com           support@homesnap.com   2023-12-28 00:40:23.2792 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]64@atlasmail.com           support@homesnap.com   2023-12-28 00:40:26.3434 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]10@atlasmail.com           support@homesnap.com   2023-12-28 00:40:29.0783 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]75@atlasmail.com           support@homesnap.com   2023-12-28 00:40:32.1142 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]90@atlasmail.com           support@homesnap.com   2023-12-28 00:40:35.3814 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]74@atlasmail.com           support@homesnap.com   2023-12-28 00:40:37.4912 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]77@atlasmail.com           support@homesnap.com   2023-12-28 00:40:39.5250 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]26@atlasmail.com           support@homesnap.com   2023-12-28 00:40:42.5736 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]25@atlasmail.com           support@homesnap.com   2023-12-28 00:40:45.2011 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]34@atlasmail.com           support@homesnap.com   2023-12-28 00:40:47.7485 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]984@atlasmail.com          support@homesnap.com   2023-12-28 00:41:33.4060 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]54@atlasmail.com           support@homesnap.com   2023-12-28 00:41:36.0951 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]54@atlasmail.com           support@homesnap.com   2023-12-28 00:41:39.1495 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]98@atlasmail.com           support@homesnap.com   2023-12-28 00:41:42.0471 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]29@atlasmail.com           support@homesnap.com   2023-12-28 00:41:45.4946 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]22@atlasmail.com           support@homesnap.com   2023-12-28 00:41:48.5420 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]98@atlasmail.com           support@homesnap.com   2023-12-28 00:41:51.1135 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]22@atlasmail.com           support@homesnap.com   2023-12-28 00:41:59.1799 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]79@atlasmail.com           support@homesnap.com   2023-12-28 00:42:01.6659 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]29@atlasmail.com           support@homesnap.com   2023-12-28 00:42:02.0566 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]58@atlasmail.com           support@homesnap.com   2023-12-28 00:42:04.3780 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]29@atlasmail.com           support@homesnap.com   2023-12-28 00:42:04.6594 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]223@atlasmail.com          support@homesnap.com   2023-12-28 00:42:07.3328 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]26@atlasmail.com           support@homesnap.com   2023-12-28 00:42:07.3797 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]76@atlasmail.com           support@homesnap.com   2023-12-28 00:42:10.2094 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]96@atlasmail.com           support@homesnap.com   2023-12-28 00:42:10.3996 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]26@atlasmail.com           support@homesnap.com   2023-12-28 00:42:13.2752 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]9@atlasmail.com            support@homesnap.com   2023-12-28 00:42:13.2908 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]96@atlasmail.com           support@homesnap.com   2023-12-28 00:42:15.7369 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]223@atlasmail.com          support@homesnap.com   2023-12-28 00:42:16.3620 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]96@atlasmail.com           support@homesnap.com   2023-12-28 00:42:18.6437 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]76@atlasmail.com           support@homesnap.com   2023-12-28 00:42:19.5501 -05:00   Data Subject Request - Redaction/nondisclosure Request


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SenderAddress                        ToRecipients           CreatedDate                       MessageSubject
[REDACTED]26@atlasmail.com           support@homesnap.com   2023-12-28 00:42:21.4638 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]50@atlasmail.com           support@homesnap.com   2023-12-28 00:42:22.6671 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]9@atlasmail.com            support@homesnap.com   2023-12-28 00:42:24.8393 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]9@atlasmail.com            support@homesnap.com   2023-12-28 00:42:27.6847 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]76@atlasmail.com           support@homesnap.com   2023-12-28 00:42:30.8036 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]79@atlasmail.com           support@homesnap.com   2023-12-28 00:42:33.7729 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]50@atlasmail.com           support@homesnap.com   2023-12-28 00:42:36.7306 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]50@atlasmail.com           support@homesnap.com   2023-12-28 00:42:39.7624 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]50@atlasmail.com           support@homesnap.com   2023-12-28 00:42:42.9901 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]76@atlasmail.com           support@homesnap.com   2023-12-28 00:43:34.0622 -05:00   Data Subject Request - Redaction/nondisclosure Request
l[REDACTED]36@atlasmail.com          support@homesnap.com   2023-12-28 00:43:36.9790 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]36@atlasmail.com           support@homesnap.com   2023-12-28 00:43:40.0275 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]45@atlasmail.com           support@homesnap.com   2023-12-28 00:43:42.1080 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]554@atlasmail.com          support@homesnap.com   2023-12-28 00:43:45.0843 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]92@atlasmail.com           support@homesnap.com   2023-12-28 00:43:48.1630 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]70@atlasmail.com           support@homesnap.com   2023-12-28 00:43:54.2191 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]41@atlasmail.com           support@homesnap.com   2023-12-28 00:43:55.2530 -05:00   Data Subject Request - Redaction/nondisclosure Request




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[REDACTED]70@atlasmail.com           support@homesnap.com   2023-12-28 00:43:57.3315 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]39@atlasmail.com           support@homesnap.com   2023-12-28 00:43:58.2848 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]554@atlasmail.com          support@homesnap.com   2023-12-28 00:44:00.3800 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]92@atlasmail.com           support@homesnap.com   2023-12-28 00:44:01.3490 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]554@atlasmail.com          support@homesnap.com   2023-12-28 00:44:03.2924 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]24@atlasmail.com           support@homesnap.com   2023-12-28 00:44:04.4489 -05:00   Data Subject Request - Redaction/nondisclosure Request




                                                                                                                                                       Date Filed: 04/14/2025
[REDACTED]36@atlasmail.com           support@homesnap.com   2023-12-28 00:44:06.3818 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]70@atlasmail.com           support@homesnap.com   2023-12-28 00:44:07.4132 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]36@atlasmail.com           support@homesnap.com   2023-12-28 00:44:09.4448 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]168@atlasmail.com          support@homesnap.com   2023-12-28 00:44:10.4461 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]92@atlasmail.com           support@homesnap.com   2023-12-28 00:44:12.4847 -05:00   Data Subject Request - Redaction/nondisclosure Request
[REDACTED]94@atlasmail.com           support@homesnap.com   2023-12-28 00:44:13.6568 -05:00   Data Subject Request - Redaction/nondisclosure Request




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                         CERTIFICATE OF SERVICE


      I, Angelo A. Stio III, hereby certify that on this 14th day of April 2025, the

Joint Brief for Appellants and Joint Appendix (one volume of which was filed

under seal) were filed electronically using the Court’s CM/ECF system, and thus

will be served electronically on any and/all Filing User(s) involved in this case. I

further certify that a copy of documents filed under seal were served upon all

counsel of record via electronic mail to the following addresses:


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